     Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 1 of 150 Page ID #:1


ProSe7                                        Discrimination



                                      UNITED STATES DISTRICT COURT I                                                         I NOV 1 6 2022
                                                                          for the
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                                                  ~~~District of~k[~n ► C~1.                                            CEO+i<:,;~ :::uikiCT OF CAIVF~~P<+11A


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                                                                                    Case No.                                                               SK ~ ~;
                                                                                                     (to be filled in by the Clerk's Office)
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                              Plairtti,f,/~'s)
(Write the full name of each plaintifJ`'who is filing this complaint.                                                  Yes ~No
                                                                                    Jury Trial: (check one)
If the nnmes of all the plaintiffs cannot,fit in the space above,
please write "see attached" in the space arul attach an addidorta!
page with the full list of names.)
                                  -v-                                       )




                             Defendants)
(Write the full name of each defendant who is being sued If the
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names.)



                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.         The Parties to This Complaint
           A.         The Plaintiffs)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                               Name                                 ~~~-~i
                                                                         r ~G IN l.0 OUl~.S
                               Street Address                             ~ c~ S~ (o ~.y ~, ~
                                                                        --~
                               City and County                             ~?r`' ~~ i-S , ~ CZJ-~ ~'~-J a.~ C~                                 C C`/13~+cY1~~i '~
                               State and Zip Code                         C ~,~Z`~~ n = R       (,~ ~ ~ ~-
                               Telephone Number                            ~~5 ~~ ~ 3 g _ ~ ~~t
                                                                                              i
                               E-mail Address
                                                                                               ~J-                                   -
           B.         1'he Defendants)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known). Attach additional pages if needed.

                                                                                                                                                   Page 1 of 6
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Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination


                    Defendant No. 1
                              Name                             ~.c             ~        t            ~          ~
                              Job or Tide (i}'loiown)          .~... • G            I       •Z~
                              Street Address                                       ~                      ~
                              City and County                  'V              '_J           r                Gam.   •~            ~
                              State and Zip Code
                              Telephone Number                             ~.
                              E-mail Address (ifknown)         ~     /~,   A   rr       ~         ~Y ~~



                    Defendant No.2
                              Name
                              Job or Title (i}'known)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (i}'known)


                    Defendant No.3
                               Name
                               Job or Tide (i}'~own)
                              Street Address
                              City and County
                              State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)


                    Defendant No.4
                               Name
                               Job or Title_(if'known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)



                                                                                                                     Page 2 of 6
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Pro 5e 7(Rev. 12/l6) Complaint for Employment Discrimination


          C.        Place of Employment

                    The address at which I sought employment or was employed by the defendants)is

                              Name                                   nU.~Pl"11
                              Street Address                      1 `J(o(7         SsrP~--~~T-~(rte                  ~~ez~~~
                              City and County
                              State and Zip Code                                   , ~~'
                                                                                   .                   ~U
                              Telephone Number


II.       Basis for Jurisdiction

          Tfiis action is brought for discrimination in employment pursuant to(heck all rhat apply):

                                Title VII of the Civil Rights Act of 1964,as codified,42 U.S.C. §§ 2000e to 2000e-17(race,
                                color, gender, religion, national origin).

                               (Note: In order to bring suit infederal district coup under Title VII, you mustfast obtain a
                                Notice ofRight to Sue letterfrom the Equal Employment Opportunity Commission.)

                                 Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

                               (Note: In order to bring suit infederal district court under the Age Discrimination in
                               Employment Act, you mustfirstfile a charge with the Equal Employment Opportunity
                                Commission.)

                                 Americans with Disabilities Act of 1990, as codified,42 U.S.C. §§ 12112 to 12117.

                               (Note: In order to bring suit infederal district court under the Americans with Disabilities
                                Act, you mustfirst obtain a Notice ofRight to Sue letterfrom the Equal Employment
                                Opportunity Commission.)

                                Other federal law (specify thefederal law):

                                  ~s~rl C~-'3~— ~~l ~             -~c~CZ..~Y~}i~=Eifl   ~~ ~L'~c,~~~rn~'~'Y-~'C~~.c.✓1 ~u'"r
                                 Relevant state law (specify, ifknown):

                               ~~~~ P~~ (fir
                                Relevant city or county law (speci,(y, dfknown):




                                                                                                                        Page 3 of 6
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Pro Se 7(Rev. 12/16)Complaint for Employment Discrimination



III.     Statement of Claim

         Write a short and plain statement of the claim. Do not make legal azguments. State as briefly as possible the
         facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
         involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
         the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
         write a short and plain statement of each claim in a separate pazagraph. Attach additional pages if needed.

          A.        The discriminatory conduct of which I complain in this action includes (check at! rear apply):


                                        Failure to hue me.
                                        Termination of my employment.
                                        Failure to promote me.
                                        Failure to accommodate my disability.
                                        Unequal terms and conditions of my employment.
                                        Retaliation.
                                        Other acts (sped,fy~:
                                      (Note: Only those grounds raised in the chargefiled with the Equal Employment
                                       Opportunity Commission can be considered by thefederal district court under the
                                      federal employment discrimination statutes.)


       B.           It is my best recollection that the alleged discriminatory acts occurred on dates)

                         ~ 03                                         ~         ~~-                    10 a
                                                                    ~-- pecs                 ~-------
        C.          I believe that defendants)(~he~k oRe):
                                         is/are still committing these acts against me.
                                        is/aze not still committing these acts against me.


        D.          Defendants)discriminated against me based on my (check atl rhar apply and explain):
                                         race                   .~~~ ~.F,~C-T~,,A,~}, p~-ry~,`~-~°~~a-rl
                                        color                    ,~` 4L(~
                                                                       ~
                                         gender/sex                 ~"~s~~~~
                           ❑             religion
                           ❑             national origin
                                         age (year of birth)                  (only when asserting a claim ofage discrimination.)
                                         disability or perceived disability (specify disabiliry)

                                          V
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        E.          The facts of my case are as follows. Attach additional pages if needed.




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     Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 6 of 150 Page ID #:6




                                         V.CAUSES OF ACTION



                                 FIRST CAUSE OF ACTION
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                              SECOND CAUSE OF ACTION
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     Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 8 of 150 Page ID #:8




                                        THIRD CAUSE OF ACTION

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 1                                   FOURTH CAUSE OF ACTION
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 1                                       VI. REQUEST FOR RELIEF
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Pro Se 7(Rev. L2/16) Complaint for Employment Discrimination




                   (Note: As additional supportfor thefacts ofyour claim, you may attach to this complaint a copy of
                    your chargefiled with the Equal Employment Opportunity Commission, or the chargefiled with the
                    relevant state or city human rights division.)


IV.     Exhaustion of Federal Administrative Remedies

        A.          It is my best recollection that I filed a chazge with the Equal Employment Opportunity Commission or
                    my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                    On (date)




        B.          The Equal Employment Opportunity Commission (check one):
                           ❑             has not issued a Notice of Right to Sue letter.
                                         issued a Notice of Right to Sue letter, which I received on (dare)   (~'~ (''-~ ~pa~
                                       (Note: Attach a copy ofthe Notice ofRight to Sue letterfrom the Equal Employment
                                        Opportunity Commission to this complaint.)


        C.          Only litigants alleging age discrimination must answer this question.

                    Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                    regazding the defendant's alleged discriminatory conduct(~he~k o►~):


                           ❑             60 days or more have elapsed.
                           ❑             less than 60 days have elapsed.


V.      Relief

        State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
        arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
        amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
        or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
        money damages.




                                                                                                                       Page 5 of 6
                                                                ~~'
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Pro Se 7(Rev. 12/16) Complaint for Employment Discrimination




VI.     Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below,I certify to the best of my knowledge,information,
        and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
        unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by e~sting law or by a
        nonfrivolous argument for extending, modifying, or reversing e~sting law;(3)the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
        opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
        requirements of Rule 11.



        A.          For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.


                    Date of signing:            ~ ~,    I-~    (~'~'


                    Signature of Plaintiff                     ` ~~
                    Printed Name of Plaintiff                          -~~   -~       ~            '~


        B.          For Attorneys


                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Baz Number
                    Name of Law Firm
                    Street Address
                    State and Zip Code
                    Telephone Number
                    E-mail Address




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                                                                                                                     Page 6 of 6
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 EEOC Form   ibi-s ~ouzozz~          U.S.EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                                                l
                                       NOTICE OF RIGHT TO SUEISSUED ONREQUEST~
 To: Dominique Woods                                                              From: Los Angeles District Office
     19576 Day St                                                                       255 East Temple St, 4th Floor
     Perris, CA 92570                                                                   Los Angeles, CA 90012
       On behalf of persons) aggrieved whose identity is CONFIDENTIAL(29 CFR §1601.7(a))
 EEOC Charge No.                                      EEOC Representative                                                  Telephone No.
37A-2022-00379                                        Karrie Maeda,                                                        2137853002
                                                      Slate, Local cue Tribal Program Msnage.-

                                                                                           (See also the additional information enclosed with thisform.)
NOTICE TO THE PERSON AGGRIEVED:
Title VII of the Civil Rights Act of 1964,the Americans with Disabilities Act(ADA),or the Genetic Information Nondiscrimination
Act(GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost.(The time limit for filing suit based on a claim under
state law may be different.)
       More than 180 days have passed since the filing of this charge.
       The EEOC is terminating its processing of this charge.



Equa!Pay Act(EPA): You already have the right to sue under the EPA ding an EEOC charge is not required.) EPA suits must be brought
infederal or state court within 2 years(3 yearsfor willful violations) ofthe alleged EPA underpayment. This means that backpay duefor
any violations that occurred more than 2 years(3 years) before youfile suit may not be collectible.




                                                  On behalf ofthe Commission

                                                  Digitally Signed By:Christine Park-Gonzalez
                                                  08/09/2022
 Enclosures(s)                                    Christine Park-Gonzalez
                                                  Acting District Director


 cc:   Gary D. Nelson Associates
       Laura Tovar
       333 Bush Street, Floor 34
       San Francisco, CA 94104
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 14 of 150 Page ID #:14




    Today's Date:

    To Whom it May Concern,

    This letter is confirming that,~~h'1~~'1►UA,(1 WUOW~ worked on a temporary assignment through Nelson,

    but it has ended, and they are no loner currently employed through our agency. The company and

    dates of employment are below.


    Assignment Location, Company Name= ~~~uU Siz~'YGl I~IG~I~~1 Q ,~~~~Yr~~GIG ~~~ CCtlU~~-n~
                                                                                          I~
                                                             (p - Ja "ate.?
    Dates of Employment while at Company q ' 1 ' .~U~(~ _

    If there are any questions, contact information is below.

    Thank you,




    Nelson Representative Name:

    Contact Number:

    Branch Location: j~'E   ~E ~~       f ~,~~/~~,~d~ ,n y~
                                                       ~+''f
     Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 15 of 150 Page ID #:15
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rv          v
            ~~°     DEPARTMENT OF FAIR EMPLOYMENT 8~ HOUSING                                                                     KEVIN KISH, DIRECTOR
 ~ ~V               2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
sJ~ f~L             (800) 884-1684 (Voice) I (800) 700-2320(TTY) ~ California's Relay Service at 711
'°~..,~,,,,..~~     http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov




        October 5, 2021

                                                                                                          Via [First Class Mail][Email]
                                                                                                       dominiquewoods316@yahoo.com

        Dominique Woods
        1 9576 Day ST
        Perris, California 92570

        RE:         Notice of Intake Form Closure
                    Case Number: 202107-14135812
                    Case Name: Woods / Gary D Nelson Associates

        Dear Dominique Woods:

        The Department of Fair Employment and Housing (DFEH) has closed the above-referenced
        i ntake inquiry for the following reason(s): Rejected Intake


        ❑
        x         We lack the information to proceed forward with a complaint for investigation. During your
                  i ntake interview you were offered the opportunity to secure a complaint for filing purposes
                  only, which upon its closure we would issue the Notice of Case Closure and Right to Sue.
                  As explained, this option would allow you to later file a complaint in civil court. You
                  declined this option.

        D         Be advised a complaint must be filed within three (3) years of the last act of
                  discrimination.

       If you would like to appeal the decision to close your case, you may submit a written request to
       the DFEH, Attn: Stephanie Watts, at 2218 Kausen Drive, Suite 100, Elk Grove, CA 95758 or
       via email Stephanie.watts@dfeh.ca.gov.


       Sincerely,



       Birgitta Croil
       Associate Governmental Program Analyst
       213-337-4514
       birgitta.croil@dfeh.ca.gov




       Notice of Intake Closure -Employment
  Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 16 of 150 Page ID #:16

                               OUTLINE FOR INTAKE NOTES
                                           G V L1.1.11 1 CYY
                                                                              __     . . __


             9127/21 12 PM                                                   8

             Bir itta Croil                                                                   Inventa Clerk
             202107-14135812                                                                  9/9/2020
             Dominique Woods                                                                   18 hr
                                                                          --- -------- - -
             951-238-1591                                                                     6/312021

                                                  JOB ABANDONMENT.             Breach of
                                                  NO CALL/ NO SHOW FOR 3 DAYS contract,
                                                                              3 days no call no
                                                                              show, not cailinq
                                                                              attendance line
-:           cioiY~iniquewoods316@vahoo.com                                   5/25/2021

             19576 Dav ST                                                                     No
             Perris, California 92570




             GARY D NELSON                                                                    no
             ASSOCIATES

             909-714-5357                                                                     no


             156 SIERRA RIDGE DR
             RIVERSIDE, California 92507


sue




                                                         Not Applicable
     Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 17 of 150 Page ID #:17




                                                      perceived disability   accepted

S/29/21 Saturday: cp did not work cp was still sick
Cp emailed a request for a reasonable accommodation until she could see her medical doctor.
Cp only had a current medical note from the dentist
   • Dentist took cp off work for 5/28/21 and S/29/21 excused
Cp only spoke with the medical doctor and will provide an updated note.
Cp had no medical note taking cp off work

6/1/21 unexcused absent- no medical note/ no call no show
6/2/21 unexcused absent- no medical note/ no call no show
6/3/21 unexcused absent- no medical note/ no call no show
       Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 18 of 150 Page ID #:18




■'
Cp never went to the doctor for unexcused time off work. Cp said she was trying to get an appointment and the
doctor would not provided a medical note util cp had an in person medical visit.




 5/25/21 - 6/3/21 Excused absences 2 and Unexcused absences 5 - no call / no show
Rp terminated cp for not providing a medical note for having unexcused absences - no call /no show
Cp did not go to urgent care or emergency room to seek treatment




DUE TO THE DEFAMATION OF THESE ACTIONS. I HAVE BEEN IN DISPARE OF WORNGFUL TERMINATION DUE TO
UNLAWFUL PRACTICES PROVIDED TO ME. INCLUDING VILOATION OF IMPORTANT LAWS THAT PROHIBT SUCH
ACTIONS. I HAD REQUESTED A REVIEW OF MY PERRSONNEL FILE. FOR IMPORTANT INFORMATION AND CLUES TO
THE MANAGERS MOTIVATION OF THE DICISION TO TERMINATE ME. I WAS NOT ALLOWED ACCESS.




   •     S/29/21 Sat: Excused absent -Dentist took off work
   •     Cp emailed a request for a reasonable accommodation until she could see her medical doctor.
   •     Cp only had a current medical note from the dentist for 2 days, no medical note taking cp off work
   •     Cp stated drs apt was on 6/3/21, but never had the medical appt

Requested or used Family Care or Medical Leave (CFRA) -did not qualify /worked less than 1 year
                                                                    '=19
            Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page  ~iof~~
                                                                           150 Page ID #:19
                                                                                                      L~u'~~t~l Cif


                      rejected did not meet the basis to proceed




       S/25/21 — 6/3/21 Excused absences 2 and Unexcused absences 5 — no call / no show
       Rp terminated cp for not providing a medical Hate for having unexcused absences — no call /no show
       Cp did not yo to urgent care or emergency room to seek treatment


       Absent Timeline:
       5/25/21 I~st date in the office
       Cp said she was in pain and asked to take time off to see the doctor - left early 2 hours
       S/26/21 Unexcused absent: medical appt - doctor cancelled - did not work
       5/27/21 Unexcused absent: cp did not work because still sick and had pain waiting for new medical apt
       S/28/21 Fri: Excused absent -Dentist took off work
           •    Rp emailed cp requesting a medical note to return to work            ~~~~,,:,
           •    Cp emailed Dentist took cp off work for 5/28/21 and S/29/21
       5/29/21 Sat: Excused absent —Dentist took off work
       Cp emailed a request for a reasonable accommodation until she could see her medical doctor.
       Cp only had a current medical note from the dentist
       Cp only spoke with the medical doctor and will provide an updated note.
       C~ had no medical note taking cp off work
          • Dentist took cp off work for 5/28/21 and 5/29/21
       5/30/21 Not Scheduled to work
       5/31j21 Not Scheduled to work                                                                         -~
  y    6/~1 Unexcused absent -waiting to see medical doctor and no medical note                 Flo call/no show'\'
QQ~`~v Cp was schedule to work but did not report to work. Cp had not seen the medical doctor and was still in pain.~~
  c~                                                                                                                    ~'-
       told cp she needed a medical Hat to return back to works
       6/2/21 Unexcused absent —waiting to see medical,doctor and no medical note No call / no shwa ~                   ~~
        Cp was schedule to work but did not report to work. Rp said cp did not call in ~_' r~,' ;:" ~~ ~=~~~{~ ><~ ~~+~~~' 1'
        /3/21     Unexcused absent —waiting to see medica~orand no medical note                 No call / no show
      ' Cp was scheduled to work but was off work.
                                                                                                 ~~
        Rp texted cp at 7:30 am confirm assignment,
       cp medical appt was at 1 PM, and was not working because of doctors appt        `~\~'~~                    ~ ~ ~.
                                                                                                                         /
      ~~Rp called back terminated for no call no show.
                                                                                                   ~~~.       ~~ o ~~ ~,v
                                                         ~.~ '~,.
                                                                                            ~3~~~            ~~~~~~~
                                                                                                                '
                                                                                                                ~ ~ ,~,
    Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 20 of 150 Page ID #:20


6/3/2021
Cp medical doctor refused to give cp a medical not until seen in person.
Cp never seen doctor and did not obtain a medical note.




                                                                   cp does not qualify did not work for 1 year
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 21 of 150 Page ID #:21
       Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 22 of 150 Page ID #:22
    d~✓f~~•~wtiB1^   STATE OF CALIFORNIA I Business Consumer Services and Housino Agency                                GAVIN NEWSOM GOVERNOR
                                                                                                                            KEVIN KISH, DIRECTOR
~fv~     ~~~         DEPARTMENT OF FAIR EMPLOYMENT &HOUSING
~
,
  Vet' ,~V
 ;~~"'
,.,~~G̀.
        -Ly          2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
                     (800)884-1684 (Voice) I (800) 700-2320(TTY) ~ California's Relay Service at 711
'a.,,,tl,,,r         http://www.dfeh.ca.gov I EmaiC contact.center@dfeh.ca.gov


     November 10, 2021
                                                                                                         Via [First Class Mail][E-Mail]
                                                                                                       dominiquewoods316@yahoo.com

     Dominique Woods
     19576 Day ST
     Perris, California 92570

     RE: Request to Approve Complaint
         Case Number: 202107-14135812
         EEOC Number: 37A-2022-00379-C
         Case Name: Woods / GARY D NELSON ASSOCIATES

     Dear Dominique Woods

    The enclosed draft complaint is the result of your interview with me. Please read the proposed
    complaint carefully. If you agree with the language, please sign and return the complaint via email.
    If you do not approve of the language on the complaint, do not sign it; instead, contact me to discuss
    your concerns. My mailing address is:

    Department of Fair Employment and Housing
    2218 Kausen Dr. Suite 100
    Elk Grove, CA 95758

     You may also return the complaint to me by email at birgitta.croil@dfeh.ca.gov or by fax to 1-888-519-
     5917.

    Please return the signed complaint or contact me with your concerns as soon as possible as we
    cannot begin our investigation until we have received your signed complaint. The law requires that a
    complaint be filed within three (3) years from the date of the discriminatory act.

    If you do not return the signed complaint or contact me within ten (10) calendar days from the date
    of this letter, your case will be closed.

    Please note that the information you provided is subjected to the Departments privacy policy and the
    California Public Records Act, Government Code section 6250 et seq.

     Thank you for your cooperation.

    Sincerely,



    Birgitta Croil
    Associate Governmental Program Analyst
    213-337-4514
    ~,irgitta.croil@dfeh.ca.gov
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 23 of 150 Page ID #:23
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                     COMPLAINT OF DISCRIMINATION UNDER THE PROVISfONS OF THE
 V R~? Q y °
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a ~l
   v                     CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT




CASE NUMBER                                                                           EEOCNUMBER
202107-14135812                                                                    37A-2022-00379-C


COMPLAINANT                                   ADDRESS                                           PHONE
Dominique Woods                              19576 Day ST                                (951) 238-1591
                                        Perris, California 92570
                                                                   TYPE OF DISCRIMINATION AND LAW
                                                                                Government Code 12940


 NAMED IS THE EMPLOYER, PERSON, AGENCY, ORGANIZATION OR GOVERNMENT ENTITY WHO DISCRIMINATED AGAINST ME


RESPONDENTS)                                  ADDRESS                                           PHONE
GARY D NELSON ASSOCIATES               1560 SIERRA RIDGE DR                              (909) 714-5357
                                     RIVERSIDE, California 92507




                                                                                   NO. OF EMPLOYEES




                                                                                    FORM REV Pending
                                                                                          Page 1 of 3
 Case 5:22-cv-02036-SSS-SHK                   Document 1 Filed 11/16/22 Page 24 of 150 Page IDEmolovment
            STATE OF CALIFORNIA ~ Business. Consumer Services and Housing Agency
   Oft~p EH~IOYNFM'
                                                                                                #:24

 ~~~'R ~~ ~ ~`J~        COMPLAINT OF DISCRIMINATION UNDER THE PROVISIONS OF THE
 ,~~~ ~~r,ya                CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT
    ~,.''~


CASE NUMBER                                                                                    EEOC NUMBER
202107-14135812                                                                            37A-2022-00379-C


                                                    - Allegation 1 -
  ALLEGE THAT I EXPERIENCED
 Discrimination
 ON OR BEFORE
 June 3, 2021
 BECAUSE OF MY ACTUAL OR PERCEIVED
 Disability (physical or mental)
 AS A RESULT, I WAS SUBJECTED TO
 Denied reasonable accommodation for a disability
PARTICULARS
   believe I was denied the good faith interactive process and denied reasonable accommodation in that I was
denied an alternate accommodation of time off because I did not qualify for Family Medical Leave Act
(CFRA/FMLA) based on my perceived disability. On May 25, 2021, I left work 2 hours early to see the doctor due
 to being in extreme pain. From May 26, 2021, to June 3, 2021, I remained off work waiting for a medical doctors'
 appointment. On May 29, 2021, I emailed my supervisor requesting a reasonable accommodation until I can see
 m y doctor and received no response. Instead, my employer said I was a no show no call. As such, I do not
 believe that the employer engaged in good faith in the interactive process.


                                                  - Allegation 2 -
  ALLEGE THAT I EXPERIENCED
Retaliation
ON OR BEFORE
June 3, 2021
BECAUSE OF MY ACTUAL OR PERCENED
Requested or used adisability-related accommodation
AS A RESULT, I WAS SUBJECTED TO
Terminated
PARTICULARS
On June 3, 2021, I was terminated in retaliation for requesting a reasonable accommodation of time off due to not
qualifying for CFRA/FMLA. On May 25, 2021, I left work 2 hours early to see the doctor due to being in extreme
pain. From May 26, 2021, to June 3, 2021, I remained off work waiting for a medical doctors' appointment. On
May 28, 2021, I verbally requested a reasonable accommodation. May 29, 2021, I emailed my supervisor
requesting a reasonable accommodation because I did not meet the requirements for FMLA. On June 3, 2021,
my supervisor texted me around 7:30 a.m. to confirm my work assignment and I informed my supervisor of my
medical appointment at 1:00 p.m. Later this same day, my supervisor called me and said I was terminated for no
call no show. Therefore, requesting a reasonable accommodation was used in pretext for retaliatory
discrimination.




                                                                                             FORM REV Pending
                                                                                                   Page 2 of 3
 Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 25 of 150 Page ID #:25
          ~.,,         STATE OF CALIFORNIA I Business. Consumer Services and HousinaAaenw                   Emolgyment
                 ti~

i Sf ~~, Q ~ o                   COMPLAINT OF DISCRIMINATION UNDER THE PROVISIONS OF THE
  >!,     ~11~                       CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT
         ~~



CASE NUMBER                                                                                      EEOC NUMBER
202107-14135812                                                                              37A-2022-00379-C


SIGNED UNDER PENALTY OF PERJURY
By submitting this complaint I am declaring under penalty of perjury under the laws of the State of California that
the foregoing is true and correct of my own knowledge, except as to matters stated on my information and belief,
and as to those matters I believe them to be true.

SIGNATURE OF COMPLAINANT OR COMPLAINANT'S LEGAL REPRESENTATIVE:                                DATE:



 a-,~~~                                                                                         Nov 10, 2021




                                                                                              FORM REV Pending
                                                                                                    Page3of3
          Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 26 of 150 Page ID #:26
                  EQUAL EMPLOYMENT OPPORTUNITY COMR~IISSION                                 PERSON FILING CHARGE
                                                                               ~j           Dominique Woods

                                                                                            THIS PERSON CHECK ONE)
                                                                                            X Claims to be aggrieved
                             Dominique Woods                                                   Is filing on behalf ofother persons)
                                                                                            DATE OF ALLEGED VIOLATION
                                            ~.s                                             Earliest                  Most Recent

                   GARY D NELSON ASSOCIATES                                                                                          .rune 3, 202



                                                                                            PLACE OF ALLEGED VIOLATION
                                                                                            California, County of Riverside
                                                                                            EEOC CHARGE NUMBER
                                                                                            37A-2022-00379-C
                                                                                            FEPA CHARGE NUMBER (if known)
                                                                                            202107-14135812
     NOTICE OF CHARGE OF DISCRINIINATION IN JURISDICTIONS WHERE AN FEP AGENCY WILL INITIALLY PROCESS
                                                   (See EEOC Rules and Regulations"foi addifiona/information)

   YOU ARE HEREBY NOTIFIED THAT A CHARGE OF EMPLOYMENT DISCRIMINATION UNDER

     8       Title VII of the Civil Rights Act of 1964

     ❑       The Age Discrimination in Employment Act of 1967(AREA)

     ❑       The Americans with Disabilities Act of 1990(ADA)

   HAS BEEN RECEIVED BY

     ❑       The EEOC and sent for initial processing to
                                                                                                   (FEP Agency)

     8       The CALIFORNIA DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING and sent to the EEOC for dual filing purposes.

   While EEOC hasjurisdiction(upon the expiration of any deferral requirement if this is a Title VII chazge)to investigate ttus charge, EEOC may refrain from beginning a~
   investigation and await the issuance of the Agency's final findings and orders. These final findings and orders will be given weight by EEOC in making its own
   determination as to whether or not reasonable cause exists to believe that the allegarions made in the chazge aze true.

   You aze therefore encouraged to cooperate fully with the Agency. All facts and evidence provided by you to the Agency in the course of its proceedings will be considered
   by the Commission when it reviews the Agency's final findings and orders.[n many instances the Commission will take no further action, thereby avoiding the necessity of
   an investigation by both the Agency and the Commission. This likelihood is increased by your active cooperation with the Agency.

     0       As a party to the charge, you may request that EEOC review the final decision and order of the above named Agency. For such a request to be honored, you must
             notify the Commission in writing within 15 days of your receipt of the Agency's final decision and order. If the Agency tern►inates its proceedings without
             issuing a final finding and order, you will be contacted further by the Commission. Regardless of whether the Agency or the Commission processes the charge,
             the Recordkeeping and Non-Refaliarion provision of Title VII and the AREA as explained on the reverse side of this form apply.

   For further correspondence on this matter, please use the charge numbers) shown.

     ❑       Aa Equal Pay Act investigation(29 U.S.C. 209(d)) will be conducted by the Commission concurrently with the Agency's investigation of the charge.

     0       Enclosure: Copy of the Charge


   BASIS OF DISCRIMINATION:

     ❑ RACE                 ❑COLOR                ❑SEX          ❑RELIGION             ❑NATIONAL ORIGIN               ❑AGE               ❑ OTI~R

     0 DISABILITY           0RETALIATION

   CIRCUMSTANCES OF ALLEGED VIOLATION:
      See attached complaint.

   DATE                                            TYPED NAME/TTI'LE OF AUTHORIZED EEOC OFFICIAL                                           SIGNATURE
                                                                                                                                        /~
   November 15, 2021                                                William R. Tamayo

EEOC FORM t31-A
      Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 27 of 150 Page ID #:27

 d,.+""`Oj+,,~+   STATF OF CAI F~RNIA 19~e_inec_e_ Gone_umer Servic-<_ and Houeina A~Pnr_v

                                                                                                       KEVIN KISH, DIRECTOR
  ~         ~~~   DEPARTMENT OF FAIR EMPLOYMENT 8c HOUSING
'V~
  2 ~ ~~`         221jKausen D(ve, Sjit(100)I Elk Grov(I CA i 95758          Y
 ~J~~-G~'         (800 884-1684 Voice 1 800 700-2320 TTY California's Rela Service at 711
 'w.;,~,,,o.~'    http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


         November 15, 2021

                                                                                             Via Certified Mail

        Agent of Service:
        Cogency Global Inc.(C2003899)
        Agent for Service for: Gary D Nelson Associates
        1 325 J Street, Suite 1550
        Sacramento, CA 95814


        Respondent(s):
        Gary D Nelson Associates
        1560 Sierra Ridge Drive
        Riverside, CA 92507


         RE:      Notice of Filing of Discrimination Complaint -Response Requested
                  Case Number: 202107-14135812
                  EEOC Number: 37A-2022-00379-C
                  Case Name: Woods / Gary D Nelson Associates

        To All Listed Respondent(s):

       Enclosed is a copy of a complaint filed with the Department of Fair Employment and Housing
       (DEER). The enclosed complaint, which was filed under Government Code section 12960,
       alleges unlawful discrimination and names you as a Respondent or Co-Respondent.

        The DFEH independently investigates and assesses the facts and legal issues in each case.
        The DFEH uses the facts obtained through its investigation to determine if there is reasonable
        cause to believe that a law the department enforces has been violated.

        Government Code Section 12940, subdivision (h), prohibits any retaliatory action against a
        person because he or she has filed a complaint, has opposed any practices forbidden under the
        Fair Employment and Housing Act, or has assisted in any proceeding before the DFEH.

        California Government Code section 12946 requires that all employment records (or union
        membership and referral records) be retained for a minimum of two (2) years. When a
        discrimination complaint has been served, the records must be kept until the DFEH closes its
        inquiry and until any resulting lawsuit or appeal has been terminated.

       This complaint has also been filed with the U. S. Equal Employment Opportunity Commission
       (EEOC). You need not reply to the EEOC unless that agency specifically requests a response.

        You must submit a response to the questions below and to the supplemental questions
        attached within thirty (30) calendar days of the date of this letter.
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  Notice of Filing of Discrimination Complaint -Response Requested
  November 15, 2021
  Page 2 of 5

      1. State the legal name of your business and any other names) under which you do or
         have done business in California.

     2. State your business address. Please note that you are required to notify the DFEH in
         writing of any change of address and the effective date of such change while the
        complaint is under investigation and throughout any administrative adjudication.
        (California Code of Regulations, title 2, section 11013).

     3. State type of legal business entity (i.e., corporation, partnership, limited partnership, sole
        proprietorship, etc.).

     4. Does your company have a current contracts)for the provisions of goods, services or
        public works with the State of California or receive federal funds? If so, name the
        awarding agency.

     5. State the number of employees your business employs.

     6. Provide your response to the allegations of the complaint including the facts that support
        your denials) or affirmative defenses(s); the names, addresses, email addresses and
        telephone numbers)for any witnesses who have knowledge of your denials(s) or
        affirmative defenses(s); and any physical or electronic documents, recordings or images
        related to your denials(s) or affirmative defenses(s).

  You can respond to this letter by:

          Using our online California Civil Rights System (CCRS). This is a three-step process:
              ■   Create an account for yourself at https://ccrs.dfeh.ca.gov. All you need is a valid
                  email address and a phone number.
              ■   Email your assigned investigator(named below) or contact us at
                  contact.center@dfeh.ca.gov and make reference to the Case #: 202107-
                  14135812 to request that your account be associated to the complaint.
              ■   Log into your account. You will see the DFEH case number in your list of Open
                  Cases. Select Files, click on Upload New File and select the files you wish to
                  upload.
     • Email. Send your response to your assigned investigator(named below) and to
       contact.center@dfeh.ca.gov. Include a copy of this letter and make reference to Case #:
       202107-14135812.

     • US mail. Send your response to: DFEH Enforcement Division, 2218 Kausen Drive, Suite
       100, Elk Grove, CA 95758. Include a copy of this letter and make reference to Case #:
       202107-14135812.

  In appropriate cases, your assigned investigator may assist you in reaching an agreement to
  resolve this complaint. If you are interested in discussing a possible settlement of this complaint,
  please contact your investigator. Settlement discussions are confidential. However, discussions
  of facts or legal issues with you will not be considered part of a settlement discussion unless the
  DFEH specifies in advance that a discussion is for this purpose.
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  Notice of Filing of Discrimination Complaint -Response Requested
  November 15, 2021
  Page 3 of 5


  Also, please be advised that the Department offers free mediation services. In appropriate
  cases, if you and the complainant agree to mediate and the Department approves, the
  complaint will be assigned to a mediator, who will contact you to schedule the mediation
  conference. All settlement discussions during the mediation process are confidential and not
  subject to disclosure. If you are interested in formal mediation, please contact the assigned
  investigator.



 Sincerely,


 3i~v'~itta~ Cv'o-i,L
 Birgitta Croil
 Associate Governmental Program Analyst
 213-337-4514
 birgitta.croil .dfeh.ca.gov

  Enclosures

  CERTIFIED MAIL:
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 30 of 150 Page ID #:30

  Notice of Filing of Discrimination Complaint -Response Requested
  November 15, 2021
  Page 4 of 5

                                 SUPPLEMENTAL QUESTIONS

  Complainant: Dominique Woods

  Respondent: Gary D Nelson Associates

  File Date: November 10, 2021


      1. Identify the person or persons designated to represent the company in this matter.
         Provide telephone contact number, email address, and mailing address for your
         representative(s).

     2. Provide a statement of the employer's position with regard to the allegations contained in
        the complaint "see complaint memo."

     3. Provide copies of documents that support the employer's position regarding the
        allegations contained in the complaint.

     4. Provide copies of the Complainants entire personnel file.

     5. Provide copies of personnel files for employees who have file a complaint of harassment
        in the last three years and discrimination in the last two years.

     6. Please provide a copy of Employee Handbook.

     7. Provide copies of all policies and procedures regarding reasonable accommodation for
        employees with disabilities.

     8. Describe all efforts taken to reasonably accommodate the Complainant's medical
        limitations/restrictions during the period of his/her employment.

     9. Provide copies of all medical documents submitted by or on behalf of the complainant
        d uring the period of his/her employment.

      10. Explain your company's procedure for determining an individual's ability to perform the
         job in question. Provide a copy of any written policy or procedure relevant to such
          determination.

      1 1. Provide a copy of any written evaluation prepared by respondent or respondents
           representative describing or concerning Complainant's abilities to perform the duties of
           the job in question.

      12. Describe your company's policies, procedures, and practices regarding leaves for
          employees medically unable to work. Provide copies of any written policies and
          procedures regarding such leaves.

      1 3. List the names of all persons involved in making the specific decisions to which the
           Complainant objects. State each person's job title and responsibility as it related to the
           issues raised by the complaint.
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 31 of 150 Page ID #:31

  Notice of Filing of Discrimination Complaint -Response Requested
  November 15, 2021
  Page 5 of 5

      14. State the reasons) Complainant was (see bullets below), and provide all documentation
          to support your response. Submit a copy of the policy which governed Complainants
          denial.

             a. Terminated

     15. List the names of all persons) involved in the decision to deny Complainant. State each
         person's job title and responsibility as it relates to the decision made and the issues
         raised by the Complainant in her charge of discrimination/retaliation.

     16. Describe your company's practices regarding discipline and practice of retaliation for a
         work environment free of discrimination and or retaliation. Provide copies of any written
         policies.

             a. State how the policy was applied to Complainant.

     1 7. List all employees, to include complainant, who were supervised by the same person as
          Complainant during the past two years. Identify each person's job classification and
          provide the current home address, telephone number and work number.

     18. Identify every individual who, to your knowledge, has information relevant to the
         allegations. For each, such individual, provide the following:

             a. Name, position and perceived Disability

             b. Last known address and telephone number.
   Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 32 of 150 Page ID #:32
 d.."'~~"`+.,~   STATE.QF~AL EORNIA~ Business Consumer Services and Housing~Aarncy                       _              GAV N,dE10I3Q~S,QY RNOR

V ~t~ p J~       DEPARTMENT OF FAIR EMPLOYMENT 8c HOUSING                                                                   KE~iN Kisr+, oiRecroR
 ,V —       ~~   2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
~_~a~J 'Lr'      (800) 884-1684 (Voice) I (800) 700-2320 (TTY) ~ California's Relay Service at 711
   ~~J~~.•~      http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



         December 14, 2021
                                                                                                     Via [First Class Mail][Email]:


        Gary D. Nelson Associates
        1560 Sierra Ridge Dr
        Riverside, California 92507


        RE:      Overdue Response to Discrimination Complaint
                 Case Number: 202107-14135812
                 EEOC Number: 37A-2022-00379-C
                 Case Name: Woods /Gary D. Nelson Associates


        Dear Attorney Laura Tovar:

       Our records indicate that the above-referenced complaint was received by you by
       certified mail on November 18, 2021. Service of this complaint was in conformance
       with the Fair Employment and Housing Act(FEHA). According to a review of the case
       file, we requested information from you in order to be able to determine the merits of the
       complaint. Your Response Extension is due on January 20, 2022.

       Please be advised that under Government Code section 12963.1, a subpoena and/or
       interrogatories may be issued to produce documents, answer questions, or compel the
       attendance of parties before the Department of Fair Employment and Housing (DFEH).

       Perhaps it would be helpful to point out that the posture of this agency, is that of an
       objective fact-finder. An equitable determination on the merits of the case can be made
       only with your assistance and cooperation.

       Enclosed, for your reference, please find a copy of the original complaint and the Notice
       of Filing including Supplemental Questions. It is essential that the information
       requested be submitted to the DFEH, 2218 Kausen Drive, Suite 100, Elk Grove, CA
       95758, no later January 20, 2022, in order to avoid the legal actions described above.

       Sincerely,



       Birgitta Croil
       Associate Governmental Program Analyst
       213-337-4514
       birgitta.croil@dfeh.ca.gov
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 33 of 150 Page ID #:33

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     ._ :_ ~Y~`I'E~iS, ll~~o
10/05/2020




To Whorn It May Concern:


Dominique Woods is currently under my medical care and is cleared to return back to work.


She may return to work on 10/06/2020.


If you require additional information please contact our office.




 ~O~'M ~Nr1~      Moreno Valley Family Health Center
                  2?_675 Alessandro Boulevard
                ~ Moreno Valley, CA 92553
.s.           ,~~ Phone'(951)571-235Q
  ~     ~~ ~+5• Fax'(957} 571-2370
   ~'S'YS'f~




Woods, Dominique 000000121014 03/16/1985 10/05/2020 09:10 AM Page: 1/1
         Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 34 of 150 Page ID #:34

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                                                                                                       Spine '1'raun7a
      8278 River Gesl Drive, Riverside, CA 92507
      (951)413-0200    FAX: (9511653-5680



Work/School Status Note
Patient name: Dominique Woods
Date of visit: 01/05(2021

Natient was seen in our office today Ul/US/2021. Patient may return to work part time, If you have any question
                                                                                                                please
call.




Woods, Dominique    0000000272£32 D04:03/16/1985 01/05/2021 01.45 PM Page: 1/1                                     C
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 35 of 150 Page ID #:35




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    Dominique Woods                                                          DOB: 03/1611985
    PD BOX 125                                                               Phone:(951)238-1591
    Perris, CA 92572-



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    Referrals: Physical Medicine and Rehabilitation. Evaluate and treat

    CA 92553-

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    Insurance: Managed Cage 18 Wrap
    Policy#: 94247749A

    O            P
  ~r
   22675 Alessandro BLVD
   Morena Valley,
   Phone:(951)571-2350
   Fax   (951)571-2370

    PCP:




    Primary /Billing Diagnosis: Disaf~ility examination (202.71)

   Other Assessmenu at TIm                  f


   Currently Pregnant: ro

   Appointment timeframe: ROUTINE

   Current Medications:
     Medication                                            Dose
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                                                            6 hours as needed
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         Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 36 of 150 Page ID #:36




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                                                                   1 8bU Colorado Bh~d. Suite 200, Los Angeles. GA 90U~1

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 Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 37 of 150 Page ID #:37



Apple Urgent Care, II1C 1207 E. Florida Ave, Hemet, CA 92543-7186                                         Office Form Note
DOMINIQUE WOODS
MRty : DOMINIQUEWOODS316@GMAIL.COM
Birthday :1985-03-16                                                Phone :9514504899
Visited on: 2021 PAay 19 11:27(Age at visit: 36 years)                                         Last edited b~n 2021-05-19


Form                                 Excuse Form

                                     To whom it may concern,

                                       am contacting you regarding my patient DOMINIQUE ~IUCQC3I~S, ~+ct~o is currently under my
                                      medical care as of 5/19/2 21. She is excused from work ~-om 5/19/2021'Ery 5l24/2Q21.




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Printed on: 2021 May 19 11:28                                                                                       Paae 1 of 1
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 38 of 150 Page ID #:38
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     _. ,-     S~SrTEI~S, I~T~.
10/05/2020




To Whom It May Concern:


Dominique Woods is currently under my medical care and is cleared to return back to work.


She may return to work on 10/06/2020.


If you require additional information please contact our once.




  o`~''M L ~Ii~ Moreno Valley Family Health Center
~              ~ 22675 Alessandro Boulevard
x                Moreno Valley, CA 92553
              z" Phone: (951) 571-2350
                 Fax: (S5 ~) 57"-2370
  ~Ty~Ys't~~`~




Woods, Dominique 000000121014 03/16/1985 10/05/2020 09:10 AM Page: 1/1                      ~~
         Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 39 of 150 Page ID #:39
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       6276 River Crest Drive. Riverside. CA 92507
       (951 kt13-0200    FAX: (951)653-5680



Work/School Status Note

Patient name: Dominique Woods
Date of visit: 11/03/2020                                             Treating provider:

To whom it may concern:
Ms. Woods is to be off worrk for two months.
She will follow-up with me on Tuesday, January 5th, 2021.




Woods, Dominique 000000027282 D0B~03/16/1985 11/03/2020 01:15 PM Page: 1/1                                             ~, . ,
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    2021 COVID-19 Supplemental Paid Sick Leave
                                       Effective March 29, 2021
Covered Employees in the public or private sectors who work for employers with more than 25 employees
are entitled to up to 80 hours of COVID-19 related sick leave from January 1, 2021 through September 30,
2021, immediately upon an oral or written request to their employer. If an employee took leave for the
reasons below prior to March 29, 2021, the employee should make an oral or written request to the
employer for payment.
A covered employee may take leave if the employee is unable to work or teleworkfor~of thefollowing
reasons:
    o Caring for Yourself: The employee is subject to quarantine or isolation period related to COVID-19 as
       defined by an order or guidelines of the California Department of Public Health, the federal Centers
       for Disease Control and Prevention, or a local health officer with jurisdiction over the workplace, has
       been advised by a healthcare provider to quarantine, or is experiencing COVID-19 symptoms and
       seeking a medical diagnosis.
    o Caring for a Family Member: The covered employee is caring for a family member who is subject to
       a COVID-19 quarantine or isolation period or has been advised by a healthcare provided to
       q uarantine due to COVID-19, or is caring for a child whose school or place of care is closed or
       u navailable due to COVID-19 on the premises.
    o Vaccine-Related: The covered employee is attending a vaccine appointment or cannot work or
       telework due to vaccine-related symptoms.
Paid Leave for Covered Employees
   0 80 hours for those considered full-time employees. Full-time firefighters may be entitled to more
       than 80 hours, caps below apply.
           • For part-time employees with a regular weekly schedule, the number of hours the employee
               is normally scheduled to work over two weeks.
           • For part-time employees with variable schedules, 14 times the average number of hours
               worked per day over the past 6 months.
    o   Rate of Pay for COVID-19 Supplemental Paid Sick Leave: Non-exempt employees must be paid the
        highest of the following for each hour of leave:
          • Regular rate of pay for the workweek in which leave is taken
          • State minimum wage
          • Local minimum wage
          • Average hourly pay for preceding 90 days (not including overtime pay)
    o   Exempt employees must be paid the same rate of pay as wages calculated for other paid leave time.
Not to exceed $511 per day and $5,110 in total for 2021 COVID-19 Supplemental Paid Sick leave.
Retaliation or discrimination against a covered employee requesting or using COVID-19 supplemental
paid sick leave is strictly prohibited. A covered employee who experiences such retaliation or
discrimination can file a claim with the Labor Commissioner's Office. Locate the office by looking at the
                                                                           using the alphabetical listing of
    ----- -- nn our webs (http://www.dir.ca.gov/dlse/DistrictOffices.htm)
of offices
cities, locations, and communities or by calling 1-833-526-4636.
This poster must be displayed where employees can easily read it. If employees do not frequent a physical
workplace, it may be disseminated to employees electronically.

             Copyright OO 2021 State of California, Department of Industrial Relations. Permission granted to display, perform,
             reproduce and distribute exclusively for nonprofit and educational purposes, and may not be used for any
             commercial purpose. All other rights reserved.
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                                                                                 Littler Mendelson, P.C.

 Littler                                                                         333 Bush Street
                                                                                 34th Floor
                                                                                 San Francisco, CA 94104




                                                                                 Laura Tovar
                                                                                 415.677.3121 direct
                                                                                 415.433.1940 main
                                                                                 415.655.1187 fax
                                                                                 Itovar@littler.com



  January 20, 2022



  VIA EMAIL TO:(1) BIRGITTA.CROIL@DFEH.CA.GOV AND (2) CONTACT.CENTER@DFEH.CA.GOV

  Birgitta Croil
  Associate Governmental Program Analyst Investigator
  Department of Fair Employment &Housing
  2218 Kausen Drive, Suite 100
  Elk Grove, CA 95758

  Re:       Dominique Woods v. Gary D. Nelson Associates
            DFEH Case No. 202107-14135812; EEOC Case No. 37A-2022-00379-C

  Dear Investigator Croil:

 This letter responds to the complaint filed with the DFEH by Dominique Woods ("Ms. Woods" or
 "Claimant")on November 10, 2021. Thank you again for extending the time for Gary D. Nelson Associates,
 I nc.("Nelson") to submit this response to the above-refenced charge.l

  Ms. Woods' Complaint is tainted with factual inaccuracies and conveniently omits relevant information.
  This letter will provide the full sequence of events for you.

  First, please know Nelson is a family-run staffing firm,founded by Gary Nelson. Nelson endeavors to find
  temporary job assignments for its pool of workers.

  Nelson prohibits all forms of discrimination —including discrimination based on a person's disability—in
  accordance with applicable law. Nelson has clear policies prohibiting discrimination with clear instructions
  on how to report any such concerns. A copy of these relevant policies is attached as Exhibit A.




  1 This letter summarizes Nelson's current understanding of the facts. It is not intended to set forth all facts possibly
  related to the Complaint and does not constitute an affidavit or binding statement of Nelson's legal position, nor is
  it intended to be used as evidence of any kind in any administrative, court, or arbitration proceeding. Nelson in no
  way waives its right to present new or additional information at a later date,for substance or clarification. Moreover,
  by responding to this Complaint, Nelson does not waive, and hereby preserves, any and all substantive and
  procedural defenses that may exist to the Complaint and Ms. Woods' allegations. Nelson further requests that any
  efforts to contact its managers or employees be directed through me as legal counsel.



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  Birgitta Croil
  January 20, 2022
  Page 2




  Dominique Woods applied for temp work through Nelson. See Ms. Woods' employment application at
  Exhibit B.

  On September 1, 2020, Nelson offered —and Ms. Woods accepted —temporary employment as an
  inventory associate(more commonly known as a "Packer")to work with its client, Coupang, at Coupang's
  warehouse in Riverside, California.

  Coupang is often described as "the Amazon of South Korea." Indeed, Coupang's very large warehouse in
  Riverside is filled with a wide variety of products to be picked, packed, and shipped to South Korea. The
  warehouse operates 24 hours a day and 7 days a week. It is a busy place.

  Like Amazon, Coupang delivers products to customers quickly. Accordingly, Coupang relies heavily on its
  workers to come to work and complete their assignments on a timely basis. Failing to do so requires
  Coupang to scramble to find a replacement to get the work done. What is especially troubling to Coupang
  is when workers provide no advance notice—they just do not show up for their assigned shift(known as
  a "no call/no show"). This puts a huge strain on the other workers and the business. To this end, Coupang
  has implemented a clear attendance policy which in part requires employees to call a hotline in advance
  of any absence. The policy provides:

                 "As a temporary employee, you are expected to be punctual and regular
                 in attendance. Our client depends on every single individual scheduled in
                 order to meet their production needs. A poor attendance record based
                 on habitual unexcused absences or tardiness may result in disciplinary
                 action, up to and including, termination of your assignment."

  The policy further provides:

                 "No Call/No Show: Employees must report their absence or tardiness
                 each day; failure to do so prior to 2 hours before the scheduled shift start
                 time is considered a no/call no show (even if a call is made after the 2-
                 hourmark). Any employee who fails to call in and does not report to work
                 on 2 occasions is considered to be VOLUNTARILY ending their
                 assignment.

                  REPORTING REQUIREMENTS: Employees must call the attendance line 2
                  hours before the scheduled shift start time, or this will be considered a
                  no show/no call."

  A complete copy of this policy is attached as Exhibit C.

  This policy is disseminated to all employees at the time of hire. Ms. Woods acknowledged receipt of this
  policy on September 2, 2020. See Exhibit C. Coupang relies on Nelson to enforce this policy.




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  Birgitta Croil
  January 20, 2022
  Page 3




  Ms. Woods, however, had attendance issues throughout her short tenure and almost from the very start.
  But Nelson was patient. Nelson reminded Ms. Woods of the policy requirements—especially the advance
  notice requirements—and gave her many chances. She was very familiar with the policy.

  Eventually, however, enough was enough as Nelson decided to end Ms. Woods' assignment after she
  accumulated four "no call/no shows" as well as other questionable conduct between May 25 to June 3,
  2021. A ful l chronology is outlined as follows:

     •      Tuesday, Mav 25: Ms. Woods was scheduled to work but left early citing "personal reasons."

     •      Wednesday, Mav 26: Ms. Woods was scheduled to work, but called off because she said she was
            waiting for "clearance."Z

     •      Thursday, May 27: Ms. Woods was scheduled to work, but called off because she still did not have
            a doctor's note.

     •      Friday, May 28: Ms. Woods was scheduled to work, but called off because she still did not have a
            doctor's note.

     •      Saturday, May 29: Ms. Woods was scheduled to work but failed to call the attendance line,
            resulting in a no call/no show.

     •      Tuesday, June 1: Ms. Woods was scheduled to work but failed to call the attendance line, resulting
            i n a no call/no show.

     •      Wednesday, June 2: Ms. Woods was scheduled to work but failed to call the attendance line,
            resulting in a no call/no show.

     •      Thursday, June 3: Ms. Woods was scheduled to work but failed to call the attendance l ine,
            resulting in a no call/no show.

  P ursuant to Coupang's attendance policy (see Exhibit C), wherein two no call/no shows warrants
  termination, Nelson ended Ms. Woods' assignment with Coupang on June 3, 2021, after four no call/no
  shows. Four no call/no shows were twice the limit set forth in Coupang's policy and, if anything, shows
  Nelson was extra patient/lenient with Ms. Woods. Nelson's hope here was that Ms. Woods would comply
  with the policy and do a good job. Nelson was not looking for a reason to end her assignment, just the
  opposite, but once Ms. Woods got to four no call/no shows, Nelson could not look the other way any
  longer.



  z Coupang implemented a Covid-19 safety protocol at the outset of the pandemic. Under this protocol, and in an
  abundance of caution, an employee who calls out sick must submit a doctor's note or negative Covid-19 test before
  returning to work.




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 Birgitta Croil
 January 20, 2022
 Page 4




  What is also missing from Ms. Woods' Complaint is the fact she made no request for medical leave or a
  request for a reasonable accommodation due to a "disability" at any point during her assignment, or the
  days leading up to the end of her assignment. Indeed, Ms. Woods' Complaint is based on a "perceived"
  disability which implies she in fact does not even have a "disability."

 As explained above, Nelson really had no choice but to end Ms. Woods' assignment based on her failure
 to follow the Coupang attendance policy—a policy she knew well. And there is simply nothing to suggest
 a discriminatory motive as she never once indicated she suffered from a disability, much less, requested
 a medical leave or a reasonable accommodation. Indeed, even her Complaint does not identify or allege
 she has a "disability" as a matter of law.

  Conclusion

  Ms. Woods'"disability" discrimination claim is a red herring. Indeed, she did not have a "disability" nor
  did she ever request a medical leave.

 The truth is Ms. Woods' assignment ended because she violated the attendance policy again, and again,
 and again. She was given second, third and more chances to comply, but she failed to do so. Eventually,
 enough was enough. There are consequences for her actions, and she has no basis—factually or legally—
 to blame anyone but herself.

  Accordingly, Nelson respectfully requests that the DFEH dismiss Ms. Woods'claims.

  Sincerely,




  Laura Tovar

  LT/
  Enclosures

  4879-1583 629.2 / 014358-1 144




    littler.com
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                                                                                                 Pay and Benefit Guide


                                                                       federal laws. This policy applies to all aspects of
                                                                       employment, including, but not limited to, hiring, job
                                                                       assignment, compensation, promotion, benefits,
                                                                       training, discipline and termination. Reasonable
                                                                       accommodation is available for qualified individuals
                                                                       with disabilities, upon request.

                                                                       4. ANTI-HARASSMENT/DISCRIMINATION POLICY

                                                                       Nelson is committed to providing a work environment
                                                                       free of sexual or any form of unlawful harassment or
                                                                       discrimination. Harassment or discrimination against
                                                                       individuals on the basis of race, age, color, religious
                                                                       creed, national origin, ancestry, sex, sexual
                                                                       orientation, gender, gender identity or expression,
                                                                       physical or mental disability, medical condition,
                                                                       genetic information, marital status, military or veteran
                                                                       status or any other classification protected by state,
                                                                       federal or local laws is illegal and prohibited by
                                                                       Company policy. Such prohibited conduct by or
                                                                       towards any coworker, supervisor, manager, contract
                                                                       worker, customer, vendor or anyone else who does
                                                                       business with the Company will not be tolerated. Any
                                                                       employee or contract worker who violates this policy
                                                                       will be subject to disciplinary action, up to and
                                                                       including termination of his/her employment or
                                                                       engagement. To the extent a customer, vendor or
                                                                       other person with whom the Company does business
                                                                       engages in conduct in violation of this policy, the
                                                                       Company will take appropriate corrective action.
      2. EMPLOYMENT AT WILL

      Employment with the Company is at-will. This means               Prohibited Conduct
      employment with Company is not for any specified
                                                                       Sexual or other unlawful harassment includes any
      period and may be terminated by you or the
                                                                       verbal, physical or visual conduct based on sex, race,
      Company at anytime, with or without cause or
                                                                       age, national origin, disability or any other legally
      advance notice. In connection with this policy, Nelson
                                                                       protected basis if:
      reserves the right to modify or alter your position, in
      its sole discretion, with or without cause or advance               (i)       submission to such conduct is made
      notice, through actions other than termination,                               either explicitly or implicitly a term or
      including, transfer, reclassification or reassignment.                        condition of an individual's employment
      In addition, the Company reserves the right to                                or engagement;
      exercise its managerial discretion in imposing any                  (ii)      submission to or rejection of such
      form of discipline it deems appropriate.                                      conduct by an individual is used as a
                                                                                    basis for decisions concerning that
       3. EQUAL EMPLOYMENT OPPORTUNITY                                              individual's employment or engagement;
                                                                                    or
       It is the policy of the Company to provide equal                   (iii)     it creates a hostile or offensive work
       employment opportunities to all employees and                                environment.
       employment applicants without regard to unlawful                Sexual harassment includes unwelcome sexual
       considerations of race, religious creed, color, national        advances, requests for sexual favors and lewd,
       origin, ancestry, sex, sexual orientation, gender,              vulgar or obscene remarks,jokes, posters or
       gender identity or expression, age, physical or mental          cartoons, and any unwelcome touching, pinching or
       disability, medical condition, genetic information,
                                                                       other physical contact. Other forms of unlawful
       marital status, military or veteran status, or any other
                                                                       harassment may include racial epithets, slurs and
       classification protected by applicable local, state or
                                                                       derogatory remarks, stereotypes, jokes, posters or
          Case ID:
DocuSign Envelope 5:22-cv-02036-SSS-SHK           Document
                    OA2E83CD-451 B-48D3-852A-EBEF620789 FF         1 Filed 11/16/22 Page 47 of 150 Page ID #:47

                                                                                                 Pay and Benefit Guide
                        '_L


       cartoons based on race, national origin, age,                    Retaliation Prohibited
       disability, marital status or other legally protected            Employees and contract workers are also protected
       categories.                                                      by law from retaliation for opposing or reporting
                                                                        unlawful harassment or discrimination or for
       Complaint Procedure                                              otherwise participating in processes connected with
                                                                        an investigation, proceeding or hearing conducted by
       Employees or contract workers who feel that they
                                                                        the Company or a government agency with respect to
       have been harassed or discriminated against, or who              such complaints. The Company will take disciplinary
       witness any harassment or discrimination by an                   action up to and including the immediate termination
       employee, contract worker, customer, vendor or                   of any employee who retaliates against another
       anyone else who does business with the Company,                  employee or contract worker for engaging in any of
       should immediately report such conduct to a                      these protected activities. Contract workers will be
       supervisor (preferably your own), or Human                       subject to termination of their engagement with the
       Resources. Your complaint should be specific and                 Company for engaging in retaliation.
       should include the names of the individuals involved
       and any witnesses. Supervisors and managers who
       are aware of any inappropriate conduct or who
       receive reports of inappropriate conduct must report
       such conduct to Human Resources.

       After a report is received, the Company will conduct a
       timely, thorough and objective investigation and
       attempt to resolve the situation. The investigation will
       provide all parties with the opportunity to explain their
       version of events, and the Company will reach a
       reasonable conclusion based on the evidence
       collected. The investigation will be completed and a
       determination made as soon as practicable. The
       Company expects that all employees will fully
       cooperate with any investigation conducted by the
       Company. The Company will endeavor to protect the
       privacy and confidentiality of all parties involved, to
       the extent possible consistent with a thorough
       i nvestigation.

       Disciplinary action may be taken when an
       investigation reveals conduct on the part of an
       employee that does not rise to the level of unlawful
       harassment, but is nevertheless inappropriate.

       To the extent that an employee is not satisfied with
       Company's handling of a harassment or
       discrimination complaint, he or she may also contact
       the appropriate state or federal enforcement agency
       for legal relief. In California, the Department of Fair
       Employment and Housing can be contacted by
       consulting the government agency listings in the
       telephone book or at www.dfeh.ca.gov. The
       Department of Fair Employment and Housing will, in
       appropriate cases, prepare and investigate
       complaints of harassment or discrimination and may
       award damages or other remedies to individuals
       actually injured as a result of such conduct.
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 48 of 150 Page ID #:48
                                                                   DocuSign Envelope ID: OA2E83CD~51 B~BD3-852A-EBEF620789FF
                                                                                   NEI.S                                                                                                                                   Employee Application
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 49 of 150 Page ID #:49




                                                                                                                                                                                                                                       8/31/2020
                                                                                                                                                                                                                              Date:
                                                                                           Woods                 Dominique                    N
                                                                                   Name:                                                                                  Alias:
                                                                                           Last                      First                        Middle Initial                     Last                     First                         Middle Initial
                                                                                              19576 DAY ST                                                PERRIS                                                                         92570
                                                                                   Address:                                                       City:                                               State: CA                   ZIP:
                                                                                   Address 2:                                                         (Apartment Number, etc)
                                                                                   Home Phone: 9512381591                              Cell Phone:        9514504899                          Emergency Phone:
                                                                                                     DOMINIQUEWOOD5316@YAHOO.COM
                                                                                   Email Address:
                                                                                   CHECK ALL OPTIONS THAT APPLY
                                                                                   Type of employment you are seeking?        ❑Temporary          ❑Temporary-to-Hire       ❑Direct Hire     ~7Part-Time           Full-Time
                                                                                   Positions Desired:
                                                                                   Currently Employed?      ❑Yes    {~7No     How may we contact you? ❑Home Phone ❑Cell Phone ❑Text Message ❑Email
                                                                                   Professional License & Certification(s):    ❑CPA        ❑Teacher          ❑Engineer     ❑Other:                              State:             License No.:
                                                                                                                      INDEED
                                                                                   How did you hear about Nelson?                                                                    Fluent languages, if job-related:
                                                                                                                              Write in specific source                                                                   Indicate if you speak, write, or both
                                                       DocuSign Envelope ID: OA2E83CD~51 B~BD3-852A-EBEFB20789FF
                                                                                                                                                                                                                               Employee Application
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 50 of 150 Page ID #:50




                                                                                              Check Highest Grade Completed: High School                      1'~.~ 2❑ 3❑ 4C~                         College          1 C~ 2❑ 3❑ 40 5❑ 6❑
                                                                                   Z            _        __NAME(     OF SCHOOLS)                      _~                  LOCATION                                   MAJOR                            DEGRE
                                                                                   ~   VAL VERDE                                                         I PERRIS, CA                                  ~ GENERAL STUDIES                 DIPLOMA
                                                                                   H
                                                                                   Q                                                                                                                                                      -                        __ _
                                                                                   U   MORENO VALLEY COLLEGE                                                 MORENO VALLEY                                     ADMINISTRATIVE JUST       N/A
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                                                                                        FROM        TO               COMPANY NAMFJCITY                        POSITION                    SUPERVISOR NAME/ NUMBER                         REASON FOR LEAVING
                                                                                       0618     1019           OCCASSION'S STAFFING                 WAREHOUSE WORKER                     MIKE                             DOCTOR'S ORDERS
                                                                                       0916     1116           ggRON HR STAFFING                    WAREHOUSE WORKER                     LETTI                            ASSIGNMENT ENDED
                                                                                   ~   OS1C     I O716         gppLE ONE STAFFING                   WAREHOUSE WORKER                     JOHN                             ASSIGNMENT ENDED
                                                                                   0
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                                                                                   W                                            •        ••-             .          •-       ~                   ••    •                        ~
                                                                                        FROM        TO               TEMPORARY SERVICE                                   POSITION                                             COMPANY ASSIGNED TO
                                                                                   }    —
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                                                                   DocuSign Envelope ID: OA2E83CD~516~BD3-852A-EBEFB20789FF
                                                                                   NELSON                                                                                                                                 Employee Application
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 51 of 150 Page ID #:51




                                                                                         If under 18 years of age, can you after employment, submit a work permit or proof of graduation from high school or the equivalent?               Yes       ❑No
                                                                                         Are you able to perform the essential duties of the jobs)for which you are applying, with or without reasonable accommodation?                    Yes       ❑No
                                                                                                                                                                                                 REFERENCE PHONE NUMBER           RELATIONSHIP TO REFERENCE
                                                                                         1~y~~~.l~L•[y:~~iP.l                    THE PRE55 ENTERPRIS          ',. WORKER                      9517227960                       FORMER SUPERVISOR
                                                                                   !n
                                                                                   W     MARIA MELARA                            GAIN                          EMPLOYMENT COUN.               9519402158                       employment counselor
                                                                                   U
                                                                                   Z
                                                                                   W
                                                                                   ~     DARLENE FERRO                            EDUCATION                    MANAGER                        9516578197                       I INSPIRATION
                                                                                   W
                                                                                   LL.
                                                                                   W
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                                                                                                                                                Employee Application



                                      PLEASE READ CAREFULLY                                          understand and agree to the following:
           Nelson does not discriminate with regard to sex, gender, national origin, age,
           religion, race, color, creed, marital status, ancestry, physical or mental disability,   1. I certify that all employment information that I have provided is true.
           medical condition, veteran status, sexual orientation, gender identity or                2. I voluntarily consent and agree to the following: a) I authorize the prior
           expression, or any other consideration protected by federal, state, or local laws.       employers I have listed to disclose to Nelson information related to my employment
                                                                                                    history and qualifications for the position for which I am applying, without giving me
                                                                                                    notice of such disclosure;
                                                                                                    3. I understand and acknowledge that I am not an employee of Nelson unless and
                                                                                                    until I accept a temporary assignment with Nelson. If and when I become an
                                                                                                    employee, I will be employed by Nelson and receive my wages from Nelson.
                                                                                                    4. I further understand and agree that, except for my at-will employment status, if
                                                                                                    hired, my wages, hours, working conditions, job assignment(s), and compensation
                                                                                                    rates) will be subject to change by Nelson.
                                                                                                    5. I understand that if I am employed by Nelson, any false statement,
                                                                                                    misrepresentation, or omission of facts on this application or on any supporting
                                                                                                    documents, regardless of when discovered to be false or omitted, may result in my
                                                                                                    immediate dismissal.
                                                                                                    6. I understand that any offer of employment by Nelson is conditioned on my
                                                                                                    passing a background check and drug screening depending on myjob placement.
                                                                                                    Nelson complies with the Fair Credit Reporting Act(FCRA)and the Investigative
                                                                                                    Consumer Reporting Agencies Act(ICRAA)and all applicable federal and state
                                                                                                    laws governing the implementation of an employee background check and drug
                                                                                                    screening. i authorize Nelson to disclose copies of my employment records and
                                                                                                    background information, including reference, credit (if applicable) and criminal
                                                                                                    checks to Nelson's clients. I release and hold harmless Nelson, Nelson's
                                                                                                    employees and Nelson's clients from any and all claims involving the receipt,
                                                                                                    release and use of my employment records, and background information, including
                                                                                                    reference, credit (if applicable) and criminal checks.
                                                                                                    7. I understand that any offer of employment at Nelson is contingent upon my right
                                                                                                    to work in the United States.

           My signature below certifies that I agree to be bound by the terms and conditions stated in this application, which contains all the understandings between Nelson and
           me concerning the topics addressed herein, and supersedes any prior inconsistent understandings between Nelson and me on such issues.

                                   Woods                                         Dominique
           Name (print):
                                         Last                                            First                               M.I.
                                   DocuSigned 6y:


           Signature:                                                                                      Date: 831/2020
                                   sErtaGEe~;asa-a
                                                                                                                                                                                             Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 52 of 150 Page ID #:52
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 53 of 150 Page ID #:53
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   Dear Staffing Associate,

   The following is meant to serve as a guideline for attendance, as well as provide other
   pertinent information such as who to contact for absences.

   As a temporary employee, you are expected to be punctual and regular in attendance. Our
   client depends on every single individual scheduled in order to meet their production needs.
   A poor attendance record based on habitual unexcused absences or tardiness may result
   in disciplinary action, up to and including, termination of your assignment.



   DEFINITIONS

   •   Tardy/Early Departure: Tardiness occurs when an employee arrives later than 5 minutes
       past their scheduled start time and is not ready to begin working at his/her workstation at their
       scheduled time. More than 2 instances per week of tardiness of more than 1 minute, but less
       than 5 minutes will also result in a tardy.

       Early departure occurs when an employee leaves work (without pre-approval) with less than
       2 hours remaining in their shift ~includinq Overtime hours when scheduled). This is not to be
       confused with a client mandated shift duration change.

   •   Absence: Absences occur when an employee is not present to work on a day when
       scheduled. This would include leaving work (without pre-approval) with more than 2 hours
       remaining in an employee's scheduled shift. Additions► details are in the section "How Do
       Get Points" below.

   o   No Call/No Show: Employees must report their absence or tardiness each day; failure to do
       so prior to 2 hours before the scheduled shift start time is considered a no call/no show (even
       if a call is made after the 2-hour mark}. Any employee who fails to call in and does not report
       to work on 2 occasions is considered to be VOLUNTARILY ending their assignment.


   EXCEPTIONS: Jury duty or any other subpoenaed court appearance, time off to vote, lack of work,
   and any paid sick leave or other time off which is protected under, or pursuant to, federal, state or
   local law, will not be used as the basis for any kind of disciplinary action and will be excluded from
   the point accrual system described herein ("Excepted Absences"). Any absence for illness that
   is not protected under, or pursuant to federal, state, or local law will also be included within
   Excepted Absences as long as timely, reasonable medical documentation is provided.


   Pre-approved time off requests, for absences other than Excepted Absences, will not
   accrue points as long as they have been requested with at least a 7 day WRITTEN notice
   and have been APPROVED by their manager.
   PROBATIONARY PERIOD: New employees are NOT allowed to reach 1.0 point in the first week
   or ,2_0 points in their first 30 days on assignment, which could result in up to and including
   t ermination of employment.

   REPORTING REQUIREMENTS: Employees must call the attendance line 2 hours before the
   scheduled shift start time, or this will be considered a no show/no call
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 55 of 150 Page ID #:55
        Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 56 of 150 Page ID #:56


    Coupang Attendance Policy




             WHO DO I CONTACT: The Attendance Line a — (8661-804-6245
                                                                                              calls outside of
             NOTE. Only calls made to the attendance line will be counted. Texts, emails, and
             this line are not counted as a proper absence communic ation.

             HOW DO I GET POINTS?

             0.5 Points             Late Arrival Tard

             0.5 Points             Earl De arture less than 2 hours remainin

              1.0 Points            Entire Da Absence/Earl De arture more than 2 hours remainin

              Z.0 Points            No Call/No Show 2"d No Call/No Show =Termination

              2.0 Points            Entire Da Absence/Earl De arture Holida

              4.0 Points            No Call/No Show on Holida



             HOW MANY POINTS EQUAL WHICH PERFORMANCE MANAGEMENT STEP?
             4.0 Points Verbal Warning                                     6.0 Points Written Warning
             10.0 Points Final Written Warning                             12.0 Points *Termination

             *Please read this document in its entirety; there are situations such as during an
             employee's probation period where lower points may result in termination.
             HOW OFTEN DO THE POINTS RESET?
             Points will expire or "fall off', on the last day of the 12th month from when the point
             occurred. For example, a point occurred on 4/4/18 and 4/15/2018 will expire on
             4/30/2019 and so forth. Points that expire will be credited back to the associate's file.
             TIME REPORTING GUIDELINES: It is the responsibility of the employee to properly
             utilize the time clocks. Failure to clock in and out each shift and/or for lunch may result
             in disciplinary action.
             By signing below, you acknowledge that you reviewed and understand the
             Attendance Policy and agree to adhere to this policy:


              i

            Signature           ~                       I~ ull Name   j                     Date




                                                                                                                 m Nelson
2                       Version2 08/15/2019 Approved
 Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 57 of 150 Page ID #:57
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                    $T6IE OF CALIFORNIA ~BLLSIf1B59COIISL~IOLSBLYIO@5_.a[1dHOLS1~A4CRCY=___           __ __.   _- _ _ _ -_ _   GAVIN NEWSOM GOVERNOR
       "
  d~.+`^ ^~y~,
  ~         ~•~                      ~                                                                                             KEVIN KISH, DIRECTOR
            ~       DEPARTMENT OF FAIR EMPLOYMENT &HOUSING
~ V ~~~ ~Q          2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
  ~J~L~~            (800) 884-1684 (Voice) I (800)700-2320(TTY) ~ California's Relay Service at 711
  ' ~.,,~,,,,!      http:/hvww.dfeh.ca.gov I Email: contad.center@dfeh.ca.gov


         April 12, 2022

                                                                                                                       Via First Class Mail


         Dominique Wceds
         19576 Day St.
         Perris, CA 92570

         RE:        150 Day Notice
                    Cw~e tiuriib~r: 2u2i u7- i4 i 358'f 2
                    EEOC Number: 37A-2022-00379-C
                    Case Name: Woods / Gary D Nelson Associates

         Dear Dominique Woods:

         Your complaint has been on file for 150 days and the Fair Employment and Housing Act
         requires that we notify you of your right to request a Right to Sue notice which will authorize you
         to file a private lawsuit in ~ California Superior Court on your own behalf. This letter is your
         notification of your right to request a Right to Sue notice.

         If you request a Right to Sue, DFEH will discontinue its investigation and close your complaint.
         If you choose to exercise this option, you must:

                 1. Notify DFEH in writing of your request; and
                 2. File your lawsuit within one year from receipt of the Right to Sue notice.

         I n all corresporulence, please include your matter reference number 202107-14135812 and mail
         it to DFEH, 2218 Kausen Drive, Suite 100, Elk Grove, CA 95758. Or, you may use the online
         system at www.dfeh.ca.gov to upload correspondence, check the status of your complaint or
         send a message to your investigator. Tc gain access to the online system, please contact me.

         If you do not request a Right to Sue notice, DFEH will continue to investigate your
         complaint and you do not need to respond to this letter. A Right to Sue notice will then be
         issued upon conclusion of our investigation, or one year after your complaint was filed,
         whichever comes first.

         Sincerely,

         Sha~.v vu~ L(wty
         ~hawna Umi
         Consultant III Specialist
         916-215-1386
         Shawna.umi(a~dfeh.ca.gov
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 58 of 150 Page ID #:58



   '""'"~~.       STATEAF CALIFORNW ~. Business, Consumer Services and Housing Agency             _ -     - __   _   - _ ,_ ~AVIN,NEWSQId.~OVERNOR
                                                                                                                              KEVIN KISH, DIRECTOR
       ^          DEPARTMENT OF FAIR EMPLOYMENT &HOUSING
 ~S'   L~1        2218 Kausen Dnve, Suite 100 I Elk Grove I CA 195758
                 (800)884-1684(Voice) I (800)700-2320(TTY) ~ California's Relay Service at 711                                            r
                  http:/lwww.dfeh.ca.gov IEmail: contact.center@dfeh.ca.gov



        April 27, 2022
                                                                                                                    Via Emai
                                                                                                 dominiquewoods316@yahoo.com

       Dominique Woods
       19576 Day ST
       Perris, California 92570

       RE: Notice of Case Closure and Right to Sue
           Case Number: 202107-14135812
           EEOC Number: 37A-2022-00379-C
           Case Name: Woods / GARY D NELSON ASSOCIATES

       Dear Dominique Woods:

       The Department of Fair Employment and Housing (DFEH) has closed your case for the
       following reason: Complainant Elected Court Action

       This is your Right to Sue Notice. According to Government Code section 12965, subdivision
       (b), a civil action may be brought under the provisions of the Fair Employment and Housing Act
       against the person, employer, labor organization or employment agency named in the above-
       referenced complaint. This is also applicable to DFEH complaints that are filed under, and
       allege a violation of, Government Code section 12948, which incorporates Civil Code sections
       51, 51.7, and 54. The civil action must be filed within one year from the date of this letter.
        However, if your civil complaint alleges a violation of Civil Code section 51, 51.7, or 54, you
       should consult an attorney about the applicable statutes of limitation.

       Please note that if a settlement agreement has been signed resolving the complaint, you may
       have waived the right to file a private lawsuit. Should you decide to bring a civil action on your
       own behalf in court in the State of California under the provisions of the California Fair
       Employment and Housing Act(FEHA)against the person, employer, labor organization or
       employment agency named in your complaint, below are resources for this.

       Finding an Attorney
       To proceed in Superior Court, you should contact an attorney. If you do not already have an
       attorney, the organizations listed below may be able to assist you:

                 The State Bar of California has a Lawyer Referral Services Program which can be ac-
                 cessed through its Web site at                     or by calling (866)442-2529 (within
                 California) or (415)538-2250 (outside California).


              • Your county may have a lawyer referral service. Check the Yellow Pages of your tele-
                phone book under "Attorneys."


       Filing in Small Claims Court
          • The Department of Consumer Affairs(DCA) has a publication titled "The Small Claims
               Court: A Guide to Its Practical Use" online at of "The Small Claims Court: A Guide to Its
               Practical Use" online at
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 59 of 150 Page ID #:59


   Notice of Case Closure Settled or Withdrawn —Employment
   April 27, 2022
   Page 2 of 2
      • You may also                    of "The Smali Claims Court: A Guide to Its Practical
        Use" online, by calling the DCA Publication Hotline at(866)320-8652, or by writing to
        them at: DCA, Office of Publications, Design and Editing; 1625 North Market Blvd., Suite
        N-112; Sacramento; CA; 95834.


      • The State Bar of California has information on "Using the Small Claims Court" under the
        "Public Services" section of its Web site located at



   Sincerely,
   ~1i~.«~ ~Y,(,r;
   Shawna Umi
   Associate Governmental Program Analyst
   shawna.umi@dfeh.ca.gov
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 60 of 150 Page ID #:60



           STATE OF CALIFORNIA I Business Consumer Services and Housing Aoencv                                GAVIN NEWSOM GOVERNOR
                                                                                                                  KEVIN KISH, DIRECTOR
 r+ p      DEPARTMENT OF FAIR EMPLOYMENT &HOUSING
           2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
           (800)884-1684(Voice) I (800)700-2320(TTY)~ California's Relay Service at 711
            http:/Iwww.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



    April 27, 2022

                                                                                             Via [First Class Mail][Email]
                                                                                          dominiquewoods316@yahoo.com

    Dominique Woods
    19576 Day ST
    Perris, California 92570

    RE:    Request to Withdraw Complaint
           Case Number: 202107-14135812
           EEOC Number: 37A-2022-00379-C
           Case Name: Woods / GARY D NELSON ASSOCIATES

    Dear Dominique Woods:

   You have indicated that you wish to withdraw the above-referenced complaint. Please e-sign,
   complete and return the enclosed form within ten (10)calendar days. If you do not return the
   signed form, we will assume that you no longer wish to withdraw your complaint and we will
   continue with the investigation. If you do change your mind about withdrawing your complaint,
   please contact me to let me know.


   Sincerely,



    Shawna Umi
    Associate Governmental Program Analyst
    213-337-4492
    shawna.umi@dfeh.ca.gov




                                                                                                             DFEH ENF 41 ES
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 61 of 150 Page ID #:61




               STATE OF CALIFORNIA I Business. Consumer Services and Housing Acencv             GOVERNOR GAVIN NEWSOM

     /~        DEPARTMENT OF FAIR EMPLOYMENT &HOUSING                                                DIRECTOR KEVINKISH

~~    L-J      2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
              (800)884-1684(Voice) I (800)700-2320(TTY) ~ California's Relay Service at 711
               http:l/www.dfeh.ca.gov 1 email: contact.center@dfeh.ca.gov




                                                          Request to Withdraw

      I, Dominique Woods, hereby request to withdraw the complaint of discrimination, Case
      Number: 202107-14135812, filed with the Department of Fair Employment and Housing
     (DEER). I understand that if my case is filed with the U.S. Equal Employment
     Opportunity Commission (EEOC)or U.S. Department of Housing Urban Development
     (HUD), this request will also apply to my federal complaint. I have not been coerced into
      making this request, nor do I make it based on fear of retaliation.

     My request is based on the following reason. Please check the appropriate box below.

                      Intend to file private lawsuit(Employment cases only).

                    Resolved with my employer, landlord, and/or all other parties named on my
            complaint. Briefly describe the terms and conditions below.




                      Discontinue investigation for other reasons. Briefly describe the reason below.




     Complainant Name: Dominique Woods

     Signature of Complainant(or designated Legal

     Representative): o.,~-~

     Date: Apr 27,2022




                                                                                              DFEH ENF 41 ES
         Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 62 of 150 Page ID #:62




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J W
                                                                                   Matter Book Report: Wednesday, July 6, 2022
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 63 of 150 Page ID #:63




                                                                                          Matter Type: Employment                                 iVlatter Owner: Shawna Umi
                                                                                   Investigator Name: Shaw~a Umi                                   Matter Status: Closed
                                                                                        Matter Submit 07/15/2021                                  Closed Reason: Complainant Elected Court Action
                                                                                                 Date:
                                                                                      Matter File Date     11/10/2021                                Closed Date: 04/27/2022
                                                                                    Matter Reference: Woods / GARY D NELSON ASSOCIATES
                                                                                                      202107-14135812
                                                                                   Related Parties
                                                                                   Name                         Phone                                                       Relationship                         Primary
                                                                                   Dominique Woods              (951)564-8756            dominiquewoods316@yahoo.com        Complainant                          ~
                                                                                   GARY D NELSON ASSOCIATES     (909) 714-5357           jwashington@nelsonjobs.com         Respondent                           ~
                                                                                   Laura Tovar ,Attorney        (415) 677-3121           Itovar@littler.com                 Respondent's Representative
                                                                                   Intake Fa°
                                                                                          First Date of Harm: 6/3/2021 12:00:00 AM
                                                                                        Most Recent Date of 7/14/2021 12:00:00 AM
                                                                                                      Harm
                                                                                                                                                                                                          (7j6/2~22)    Page 1
                                                                                                                                                                                                                     DFEH DRD 227
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 64 of 150 Page ID #:64




                                                                                    AM AN AT-WILL EMPLOYEE. I WAS FIRED FOR JOB ABANDONMENT. NO CALL/ NO SHOW FOR 3 DAYS. AS OF JUNE 03,
                                                                                   2021.
                                                                                    BELIEVE THIS IS A FABRICATED INVALID REASON FOR TERMINATION. THE REASON FOR TERMINATION WOULD BE
                                                                                   DISCRIMINATION OF MY DISABILITY AND MY CIVIL RIGHTS OF A PROCTECED CLASS TO SEEK TREATMENT AND DIAGNOSIS
                                                                                   WITHOUT BEING PENALIZED LEGALLY. I ALSO BELIEVE THAT COVID 19 SAFETY REGULATIONS REGARDING ANY SYMTONS
                                                                                   AND COVID TEST APPOINTMENTS AND VACCINES APPOINTMENT HAD A PART IN THE DECISION OF RETALIATION FOR MY
                                                                                   EXCUSED MEDICAL AND HEALTH ALSO PHYSICAL DISABILITY PROTECTED LEAVE OF ABSENCES. BECAUSE I SAUGHT
                                                                                   TREATMENT FOR MY DISABILITY. I WAS PENALIZED UNLAWFULLY WITH VIOLATIONS OF CALIFORNIA'S STATE AND
                                                                                   FEDERAL LAWS INCLUDING CODE OF REGULATIONS AND LABOR CODES.
                                                                                               ~~
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 65 of 150 Page ID #:65




                                                                                                                 DISCRIMANTION AND RETALIATION REASONS ON THE BASIS OF ASSIGNMENT TERMINATION WHILE ON PROTECED
                                                                                                                M EDICAL LEAVE TO TREAT AND OR DIAGNOSE PHYSICAL CONDITION OF MY DISABILITY. THE REASON SAID TO BE FOR
                                                                                                                THE TERMINATION WAS UNCLEAR AND FABRICATED 3 DIFFERENT TIMES. ALTHOUGH I AM AT WILL EMPLOYEE. IT IS
                                                                                                                U NLAWFUL TO DENY MY CIVIL RIGHTS AS PROTECTED CLASS INDIVIDUAL OF AN AMERICAN WITH A DISABILITY.
                                                                                                                ALTHOUGH MY ATTEMPS TO COMMUNICATE WITH THE COMPANY REGARDING DISPUTE RESOLUTION IS NOT GETIG
                                                                                                                THROUGH. I HAD REQUESTED A REVIEW OF MY PERRSONNEL FILE. FOR IMPORTANT INFORMATION AND CLUES TO THE
                                                                                                                MANAGERS MOTIVATION OF THE DICISION TO TERMINATE ME. I WAS NOT ALLOWED ACCESS.
                                                                                                                 DUE TO THE DEFAMATION OF THESE ACTIONS. I HAVE BEEN IN DISPARE OF WORNGFUL TERMINATION DUE TO
                                                                                                                U NLAWFUL PRACTICES PROVIDED TO ME. INCLUDING VILOATION OF IMPORTANT LAWS THAT PROHIBT SUCH ACTIONS.
                                                                                             Harm Ongoing: Yes
                                                                                             Discrimination: True
                                                                                       Discrimination Act of Terminated;Denied hire or promotion;Denied any employment benefit or privilege;Denied reasonable accommodation
                                                                                                      Harm: for a disability;Denied work opportunities or assignments;Denied Family Care or Medical Leave (CFRA)
                                                                                        Discrimination Basis:   Disability (physical or mental);Medical condition (cancer or genetic characteristic);Pregnancy, childbirth, breast feeding,
                                                                                                                a nd/or related medical conditions;Association with a member of a protected class;Family Care or Medical Leave (CFRA)
                                                                                                Harassment:     False
                                                                                          Harassment Basis:
                                                                                                 Retaliation: True
                                                                                   Type of Protected Activity   Requested orused adisability-related accommodation;Requested or used Family Care or Medical Leave (CFRA)
                                                                                                                                                                                                                       (7/6J2022)    Page 7
                                                                                                                                                                                                                                  DFEH DRD 227
                                                                                     Retaliation Act of Harm: Terminated;Denied hire or promotion;Denied any employment benefit or privilege;Denied reasonable accommodation
                                                                                                              for a disability;Other;Denied work opportunities or assignments;Denied Family Care or Medical Leave (CFRA)
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 66 of 150 Page ID #:66




                                                                                    Legacy —Unlawful Action
                                                                                                 Legacy -Basis
                                                                                                Legacy -Harms
                                                                                       Legacy —Harm (Other)
                                                                                   Agent for Service                Address                             Phone                                      Respondent's Agent for Service
                                                                                   Cogency Global Inc. (C2003899)   1325 J Street, Suite 1550                                                      GARY D NELSON ASSOCIATES
                                                                                                                    Sacramento, CA 95814
                                                                                   Ev~~~
                                                                                   Activity Date    Subject              Created By       Assigned To   Description
                                                                                                    Call                 Shawna Umi       Shawna Umi    Response review completed with CP.
                                                                                   04/27/2022
                                                                                                    Other                Shawna Umi       Shawna Umi    Request to withdraw received and uploaded.
                                                                                   04/27/2022
                                                                                                    Email                Shawna Umi       Shawna Umi    Request to Withdraw emailed to CP per her request to obtain aright-to-sue.
                                                                                   04/27/2022
                                                                                                    Email                Shawna Umi       Shawna Um.    RFI email sent to RP Rep Laura Tovar to set up telephone interviews wit                 and
                                                                                   04/27/2022                                                           _, HR
                                                                                                    Email                Shawna Umi       Shawna Umi    Notice of Case Closure emailed to CP.
                                                                                   04/27/2022
                                                                                                     Email               Shawna Umi       Shawna Umi    Received email from CP requesting aright-to-sue.
                                                                                   04/27/2022
                                                                                                     Email               Shawna Umi       Shawna Umi    CP scheduled on 4/27/2022 for response review.
                                                                                   04/22/2022
                                                                                                     Call                Shawna Umi       Shawna Umi    Returned CP's call regarding status of case, no answer left detailed voicemail message as well as sent
                                                                                   04/21/2022                                                           her an email.
                                                                                                                                                                                                                                       (7/6J2022)        Page 8
                                                                                                                                                                                                                                                      DFEH DRD 227
             Email                 Shawna Umi       Shawna Umi       Email sent to CP to schedule response interview.
04/21/2022

             Call                  Shawna Umi       Shawna Umi       Called CP to conduct response review interview, however, no answer left message.
04/21/2022

             called cp and VM      Birgitta Croil   Birgitta Croil
04/20/2022
             to contact new
             Investigator
             listen to cp VM       Birgitta Croil   Birgitta Croil
04/20/2022
             about status
             Prep mail/150         Clarisa Grano    Clarisa Grano
04/12/2022

             Case review           Shawna Umi       Shawna Umi
03/09/2022
             completed and ICO
             completed
             uploaded response     Birgitta Croil   Birgitta Croil
01/21/2022

             called rp rep Laura   Birgitta Croil   Birgitta Croil
01/20/2022
             Tovar -reminder
             response is due
             today
             read cp email         Birgitta Croil   Birgitta Croil   From: Dominique Woods <dominiquewoods316@yahoo.com>
01/20/2022                                                           Sent: Tuesday, January 18, 2022 12:55 PM
             about status
                                                                     To: Croil, Birgitta@DEER <Birgitta.Croil@dfeh.ca.gov>
                                                                     Subject: Dominique Woods inquiry of updated response from respondent

                                                                     [EXTERNAL] This email originated from outside DFEH. Do not click links or open attachments unless you
                                                                      recognize the sender and know the content is safe.
                                                                      Hello and good afternoon,
                                                                        hope all is well. I remember asking about the date the response was due from the respondent and you
                                                                      had stated it was due January 18th and I was just wondering if they had responded yet or if there was an
                                                                      update of information regarding the investigation process?
                                                                      Again I wish to express my sincere gratitude for you taking my case. If any other infoRnation is needed
                                                                      please contact me.
                                                                     Thank you and good journey.

             t/c from rp rep       Birgitta Croil   Birgitta Croil   Rp rep client is reviewing the document and will email later today.
01/20/2022
             Laura -response
             will be submitted
             byt the end of the
             day.
                       Comment     DoNotReply       DoNotReply       Good afternoon Investigator Croil,
01/20/2022
                                   @DEER            @DEER
                                                                                                                                                                                 Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 67 of 150 Page ID #:67




                                                                                                                                                    (7J6/2022j       Page 9
                                                                                                                                                                 DFEH DRD Z27
                                                                                   Attached please find Gary D. Nelson Associate's position statement regarding the above-referenced
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 68 of 150 Page ID #:68




                                                                                   matter.
                                                                                   Please let us know if you have anyadditional questions.
                                                                                   Best,
                                                                                   Laura
                                                                                   **Laura Tovar"
                                                                                   Attorney at Law
                                                                                   415.677.3121 direct, 415.278.1272 mobile, 415.655.1187 fax
                                                                                   LTovar@littler.com
                                                                                   ![Littler](https://support.dfeh.ca.gov/attachments/token/PjdL2b35bvemfMDXife95ezG0!?name=image001.
                                                                                    png)
                                                                                   !(Littler](https://support.dfeh.ca.gov/attachments/token/AlkiZwLj6SwGY5TuMIsWXBq 1 A/?name=image002
                                                                                    •P~9)
                                                                                   Labor &Employment Law Solutions ~ Local Everywhere
                                                                                   333 Bush Street, 34th Floor, San Francisco, CA 94104
                                                                                   This email may contain confidential and privileged material for the sole use of the intended recipient(s).
                                                                                   Any review, use, distribution or disclosure by others is strictly prohibited. If you are not the intended
                                                                                   recipient(or authorized to receive for the recipient), please contact the sender by reply email and delete
                                                                                   all copies of this message.
                                                                                   Littler Mendelson, P.C. is part of the international legal practice Littler Global, which operates worldwide
                                                                                   through a number of separate legal entities. Please visit www.littler.com for more information.
                                                                                   CONFIDENTIALITY NOTICE: This communication with its contents may contain confidential and/or
                                                                                   legally privileged information. It is solely for the use of the intended recipient(s). Unauthorized
                                                                                   interception, review, use or disclosure is prohibited and may violate applicable laws including the
                                                                                   Electronic Communications Privacy Act. If you are not the intended recipient, please contact the sender
                                                                                   and destroy all conies of the communication.
             File Review -         Birgitta Croil   Birgitta Croil
01/04/2022
             transferred
             read cp email         Birgitta Croil   Birgitta Croil   From: Dominique Woods <dominiquewoods316@yahoo.com>
12/15/2021                                                           Sent: Wednesday, December 15, 2021 2:58 PM
                                                                     To: Croil, Birgitta@DEER <Birgitta.Croil@dfeh.ca.gov>
                                                                     Subject: Regarding declined mediation from respondent

                                                                     [EXTERNAL] This email originated from outside DFEH. Do not click links or open attachments unless you
                                                                     recognize the sender and know the content is safe.
                                                                      Hello Miss Birgitta,
                                                                       received an email stating that the respondents decided to decline the mediation process I was
                                                                      wondering if that means that they have 21 days to comply with the process of the investigation?
                                                                     Sent from Yahoo Mail on Android


12/15/2021


             returned cp call      Birgitta Croil   Birgitta Croil
12/15/2021
             a bout when the
             response is due
             emailed rp rep        Birgitta Croil   Birgitta Croil   From: Croil, Birgitta@DEER
12/14/2021                                                           Sent: Tuesday, December 14, 2021
             ODR
                                                                     To: Tovar, Laura <LTovar@littler.com>
                                                                     Cc: Fish, John C. <JFish@littler.com>
                                                                     Subject: RE: Dominique Woods v. Gary D. Nelson Associates, Case No. 202107-14135712 -Request for
                                                                     Extension to Respond


12/09/2021

             file review - USPS    Birgitta Croil   Birgitta Croil
11/17/2021
             delivery

11/15/2021

             filed, eeoc,          Birgitta Croil   Birgitta Croil
11/12/2021
             supplemental
             questions, afs
             cplt language, case   Birgitta Croil   Birgitta Croil
11/10/2021
             outline, adobe
             called cp and left    Birgitta Croil   Birgitta Croil
11/10/2021
             message to sign
             cplt
                                                                                                                                                                             Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 69 of 150 Page ID #:69
11/09/2021




11/08/2021


             C/P call in         Gerardo          Gerardo Rojas        C/P called in regarding an appeal and then asked to speak with the analyst because she is passed the 10
11/05/2021                                                             days.
                                 Rojas

             emailed NOIC        Birgitta Croil   Birgitta Croil       From: Croil, Birgitta@DEER
10/05/2021                                                             Sent: Tuesday, October 5, 2021 3:23 PM
                                                                       To: dominiquewoods316@yahoo.com
                                                                       Subject: Notice of Intake Form Closure -Rejected Intake 202107-14135812 Dominique Woods /Gary D
                                                                       Nelson Associates


                                                                       Hello Dominique Woods

                                                                        have attached your Notice of Intake Form Closure.

             Interview           Birgitta Croil   Birgitta Croil
10/05/2021




                 DfEH MATTER 202107-          Umi,                 3              Attached is the Notice of Case Closure/right-to-sue for the above case.
04/27/2022
                 14135812 Woods/Gary D.       Shawna@DEER
                 Nelson Associates NOTICE
                 OF CASE CLOSURE/RIGHT-
                 TO-SUE                                                          Sincerely,

                                                                                 Shawna Umi, FEH Consultant III (Specialist)

                                                                                  Department of Fair Employment and Housing

                                                                                  Enforcement Division-Riverside

                                                                                 State of California Business, Consumer Services, and Housing Agency

                                                                                 2218 Kausen Drive Suite 100, Elk Grove, California 95758
                                                                                                                                                                                 Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 70 of 150 Page ID #:70
                                                                                                                                          Phone: 916.215.1386
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 71 of 150 Page ID #:71




                                                                                                                                          E mail: shawna.umi@dfeh.ca.gov <mailto:shawna.umi@dfeh.ca.gov>
                                                                                                                                          CALIFORNIA'S CIVIL RIGHTS AGENCY
                                                                                                DOMINIQUE WOODS           Dominique   1   [EXTERNAL] This email originated from outside DFEH. Do not click links or open attachments
                                                                                   04/27/2022
                                                                                                REQUEST FOR               Woods           unless you recognize the sender and know the content is safe.
                                                                                                A UTHORIZATION FOR
                                                                                                RIG HT TO SUE                             <https://ca-dfeh.my.salesforce.com/apex/AFSC_UrlCheck?id=05a1v8z0000000jJDAAY>
                                                                                                NOTIFICATION
                                                                                                                                          HELLO AND GOOD AFTERNOON,
                                                                                                                                           HAVE DECIDED TO PERSUE MY LEGAL OPTIONS. I WOULD LIKE TO REQUEST A COPY OR
                                                                                                                                          PRINT OUT OF THE EMPLOYER'S RESPONCE AS WELL AS THE AUTHORIZATION
                                                                                                                                          N OTIFICATION OF RIGHT TO SUE NOTIFICATION LETTER.
                                                                                                                                          THANK YOU FOR ALL OF YOUR ASSISTANCE. I FEEL THE STATUE OF LIMITATIONS IS COMING
                                                                                                                                          UP IN JUNE 2022. I JUST WANTED TO ASK FOR HELP TO UNDERSTAND WHY I WAS TREATED
                                                                                                                                          THAT WAY. TO WHICH THE REASON GIVEN IS FABRICATED DUE TO MY EVIDENCE PROVING
                                                                                                                                          THE ACKNOWLEDGMENT OF THE HEALTH CONDITION INCLUDED WITH MY WORK CAPACITY
                                                                                                                                          LIMIT.
                                                                                                                                          PLEASE CONTACT ME WITH ANY INFORMATION NEEDED OR INQUIRED FOR CASE CLOSURE.
                                                                                                                                          THANK YOU AGAIN AND GOOD JOURNEY.
                                                                                                                                          <https://ca-dfeh.my.salesforce.com/apex/AFSC_UrlCheck?id=05a1v8z0000000jWXAAY>
                                                                                                                                                  Yahoo Mail Stationery <https://ca-
                                                                                                                                          dfeh.my.salesforce.com/apex/AFSC_UrlCheck?id=05a1v8z0000000jWYAAY>
                                                                                                Re: DFEH MATTER 202107-   Dominique   1   [EXTERNAL] This email originated from outside DFEH. Do not click links or open attachments
                                                                                   04/27/2022
                                                                                                14135812 Woods/Gary D.    Woods           unless you recognize the sender and know the content is safe.
                                                                                                Nelson Associates
                                                                                                                                           <https://ca-dfeh.my.salesforce.com/apex/AFSC_UrlCheck?id=05a1v8z0000000j1DAAY>
                                                                                                                                          <https://ca-dfeh.my.salesforce.com/apex/AFSC_UrlCheck?id=05a1v8z0000000jJEAAY>
                                                                                                                                                  Yahoo Mail Stationery <https://ca-
                                                                                                                                          dfeh.my.salesforce.com/apex/AFSC UrlCheck?id=05a1v8z0000000jJFAAY>
                                                                                                                                                                                                          (7%6%2022)      Page 13
                                                                                                                                                                                                                        DFEH DRD 227
                                                                                   On Wednesday, April 27, 2022, 08:12:29 AM POT, Umi, Shawna@DFEH
                                                                                   <shawna.umi@dfeh.ca.gov> wrote:
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                                                                                   Good morning Dominique,
                                                                                   Thank you for taking the time to speak with me this morning. Please provide the voicemail
                                                                                   m essage from Jimmy and any email correspondence you may have as well pertaining to this
                                                                                   case.
                                                                                   Kind regards,
                                                                                   Shawna Umi, FEH Consultant II I (Specialist)
                                                                                   Department of Fair Employment and Housing
                                                                                   Enforcement Division-Riverside
                                                                                   State of California Business, Consumer Services, and Housing Agency
                                                                                   2218 Kausen Drive Suite 100, Elk Grove, California 95758
                                                                                   Phone: 916.215.1386
                                                                                   E mail: shawna.umi@dfeh.ca.gov <mailto:shawna.umi@dfeh.ca.gov>
                                                                                   CALIFORNIA'S CIVIL RIGHTS AGENCY
                                                                                   CONFIDENTIALITY NOTICE: This communication with its contents may contain confidential
                                                                                   and/or legally privileged information. It is solely for the use of the intended recipient(s).
                                                                                   U nauthorized interception, review, use or disclosure is prohibited and may violate
                                                                                                                                                        Jj6/2022)       Page 14
                                                                                                                                                                      DFEH DRD 227
                                                                                                                                                applicable laws including the Electronic Communications Privacy Act. If you are not the
                                                                                                                                                i ntended recipient, please contact the sender and destroy all copies of the communication.
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                                                                                                150 Day Notice — DFEH        Grano,         3   Please mail out the attached letter to the address below,
                                                                                   04/12/2022
                                                                                                Case No. 202107-             Clarisa@DEER
                                                                                                14135812 Woods / Gary D                         Dominique Woods
                                                                                                Nelson Associates                               19576 Day St.
                                                                                                                                                Perris, CA 92570
                                                                                                                                                Thank you,
                                                                                                                                                Clarisa Grano
                                                                                                                                                Office Technician
                                                                                                                                                Department of Fair Employment and Housing
                                                                                                                                                State of California ~ Business, Consumer Services and Housing Agency
                                                                                                                                                2218 Kausen Drive, Suite 100
                                                                                                                                                Elk Grove, California 95758
                                                                                                                                                1-916-708-5004
                                                                                                                                                Fax:(888)519-5917
                                                                                                                                                CONFIDENTIALITY NOTICE: This communication with its contents may contain confidential
                                                                                                                                                and/or legally privileged information. It is solely for the use of the intended recipient(s).
                                                                                                                                                U nauthorized interception, review, use or disclosure is prohibited and may violate
                                                                                                                                                a pplicable laws including the Electronic Communications Privacy Act. If you are not the
                                                                                                                                                i ntended recipient, please contact the sender and destroy all copies of the communication.
                                                                                                NOF - DFEH Case No.          Holmes,        3   Please mail a copy of the NOF, complaint (minus the cover page) and EEOC 131 to the
                                                                                   11/15/2021
                                                                                                202107-14135812 Woods        Brant@DEER         following AFS:
                                                                                                / Gary D Nelson Associates
                                                                                                                                                Cogency Global lnc.(C2003899)
                                                                                                                                                Agent for Service for: Gary D Nelson Associates
                                                                                                                                                1325 J Street, Suite 1550
                                                                                                                                                Sacramento, CA 95814
                                                                                                                                                Certified Mail:
                                                                                                                                                                                                                  (7/6/2022)        Page 15
                                                                                                                                                                                                                                 DFEH DRD 227
                                                                                                                                              Thank you,
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 74 of 150 Page ID #:74




                                                                                                                                              Brant Holmes
                                                                                                                                              Office Technician
                                                                                                                                              Department of Fair Employment and Housing
                                                                                                                                              State of California ~ Business, Consumer Services and Housing Agency
                                                                                                                                              2218 Kausen Drive, Suite 100
                                                                                                                                              Elk Grove, California 95758
                                                                                                                                              916-201-5470
                                                                                                                                              Fax:(888)519-5917
                                                                                                                                              CONFIDENTIALITY NOTICE: This communication with its contents may contain confidential
                                                                                                                                              and/or legally privileged information. It is solely for the use of the intended recipient(s).
                                                                                                                                              U nauthorized interception, review, use or disclosure is prohibited and may violate
                                                                                                                                              applicable laws including the Electronic Communications Privacy Act. If you are not the
                                                                                                                                              intended recipient, please contact the sender and destroy all copies of the communication.
                                                                                                OFEH Appeals Unit         DFEH, Appeals   1   Dear Dominique Woods,
                                                                                   11/08/2021
                                                                                                Response -Woods/Gary D.
                                                                                                Nelson Associates(DFEH
                                                                                                No. 202107-14135812)
                                                                                                                                              DFEH No. 202107-14135812
                                                                                                                                              Case name: Woods/Gary D. Nelson Associates
                                                                                                                                              The DFEH Appeals Unit is in receipt of your 11/08/2021, 3:27 a.m. email requesting an
                                                                                                                                              appeal. DFEH system records indicate the above-referenced case was rejected at intake on
                                                                                                                                              10/05/2021. Your appeal request for the above-referenced case has been forwarded to Ms.
                                                                                                                                              Stephanie Watts. Please forward further information for the above-referenced case to Ms.
                                                                                                                                              Watts directly at Stephanie.Watts@dfeh.ca.gov <mailto:Stephanie.Watts@dfeh.ca.gov> .
                                                                                                                                              Thank you,
                                                                                                                                                                                                                 (7/6/2022)       Page 16
                                                                                                                                                                                                                               DFEH DRD 227
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                                                                                   Lisa Madrigal
                                                                                   Lisa Madrigal ~ Associate Governmental Program Analyst
                                                                                   California Department of Fair Employment and Housing
                                                                                   2218 Kausen Drive ~ Suite 100 ~ Elk Grove ~ California ~ 95758
                                                                                   Telephone (Main Line): 1.800.884.1684 ~ Email: Lisa.Madrigal@dfeh.ca.gov
                                                                                   <mailto:Lisa.Madrigal@dfeh.ca.gov>
                                                                                   CALIFORNIA'S CIVIL RIGHTS AGENCY
                                                                                   From: Dominique Woods <dominiquewoods316@yahoo.com>
                                                                                   Sent: Monday, November 8, 2021 3:26 AM
                                                                                   To: DFEH, Appeals <Appeals@dfeh.ca.gov>
                                                                                   Subject: DOMINIQUE WOODS CASE NUMBER 202107-14135812 REQUEST TO APPEAL
                                                                                   REJECTION DECISION.
                                                                                   [EXTERNAL] This email originated from outside DFEH. Do not click links or open attachments
                                                                                   unless you recognize the sender and know the content is safe.
                                                                                    <https://ca-dfeh.my.salesforce.com/apex/AFSC_UrlCheck?id=05a1vt0000001UPElAAO>
                                                                                   DOMINIQUE WOODS
                                                                                   19576 DAY ST
                                                                                                                                                    (7/6/2022)     Page 17
                                                                                                                                                                 DFEN DRD 227
                                                                                   PERRIS, CA,92570
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 76 of 150 Page ID #:76




                                                                                   dominiquewoods316@yahoo.com <mailto:dominiquewoods316@yahoo.com>
                                                                                   (951)238-1591 HOME TELEPHONE NUMBER
                                                                                   CASE# 202107-14135812
                                                                                   TO WHOM THIS MAY CONCERN,
                                                                                   PLEASE EXCEPT THIS DELAYED REQUEST TO APPEAL THE DICISION OF REJECTION FOR MY
                                                                                   CASE. THERE WAS NO INFORMATION ON THE INTAKE NOTES ON HOW TO APPEAL. ALSO
                                                                                   BELIEVED I WOULD RECEIVE THE INFORMATION IN THE MAIL.
                                                                                     BELIEVE MY CASE SHOULD REMAIN OPEN DUE TO SOME OF THE INFORMATION ON THE
                                                                                   I NTAKE WAS INCORRECT AND OR MISSING SPECIFIC EVIDENCE I BELIEVE WILL ASSIT ME IN
                                                                                   MY DEFENCE. ALSO CALIFORNIA LAWS THAT HAVE BEEN MISAPPLIED TO MY CASE DUE TO
                                                                                   OUR CURRENT WORLD PANDEMIC OF COVID-19 VIRUS.
                                                                                   FIRST I DO BELIEVE I AM A MEMBER OF A PROTECTED CLASS DUE TO MY DISABILITY AND
                                                                                   U NDERLYNING HEALTH CONDITIONS THAT PUTS ME AT HIGH RISK WITH A SEVERE ILLNESS
                                                                                   TO COVID-19 VIRUS ACCORDING TO THE CDC.
                                                                                    PLEASE VIEW EVIDENCE OF HISTORY OF MEDICAL CONDITIONS.)
                                                                                   DATES ENTERED AS ABSENCES NO CALL NO SHOW WERE INCORRECT. I DID HAVE
                                                                                   PERMISSION FROM THE START ON MAY 25, 2021 TO ENGAGE INTO A PROTECTED ACTIVITY.
                                                                                   NOW UNLESS IT'S OK FOR AN EMPLOYER TO RESCIND THE ACCOMADTION. I FEEL THAT
                                                                                   SHOULD NOT COUNT TOWARDS UNEXCUSED. ALSO I DID CALL SEVERAL TIMES THAT WAS
                                                                                   N OT ENTERED TO THE INTAKE OR NOTED. THE WITNESS I SUBMITTED WAS JIMMY B FROM
                                                                                   H UMAN RESOURCES, WHO WAS MY REP DURING THIS WHOLE PROCESS. I GAVE HER HIS
                                                                                   I NFORMATION ALREADY.
                                                                                                                                              (~/6/zo22~     Page 18
                                                                                                                                                           DFEH DRD 227
                                                                                    TOLD HER I DID GO TO PHYSICAL THERAPY FOR THE DATES OF ABSENCE. ALTHOUGH THE
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                                                                                   NOTE WAS NO LONGER NEEDED. I ASKED HER IF I COULD STILL GET THEM FOR HER. I GUSES
                                                                                   IT WAS NOT AN OPTION. MY DOCTORS NOTE WAS FOR 06/21/2021 FOR TREATMENT FOR
                                                                                   THE ABSENCE OF MAY 25,2021. THIS WAS MISAPPLIED REQUIREMENT THAT SHOULD HAVE
                                                                                   N OTED IN THE INTAKE.(PLEASE SEE EVIDENCE ATTACHMENTS)
                                                                                    WAS FIRED ON ONE OF THE DAYS THE INTAKE STATED UNEXCUSED ABSENCE NO CALL NO
                                                                                   SHOW WHICH IS INCORRECT DUE TO MY CONVERSATIONS IN THE MORNING WITH A REP
                                                                                   THAT GRANTED APPROVAL TO CONTINUE WITH APPOINTMENT. NO ONE MENTION
                                                                                   ANYTHING ABOUT MY EMAILED DOCTOR NOTES NOT BEING SUFFICIENT AND 3 HOURS
                                                                                   LATER WITH A DIFFERENT REP WHO FIRED ME. REGARDLESS OF MY EFFORTS TO EXPLAIN
                                                                                   WAS IN COMPLIANCE BY COMMUNICATING WITH HUMAN RESOURCES JUST AS BEFORE.
                                                                                   ( PLEASE SEE INTAKE NOTES FOR EVIDENCE.)
                                                                                   THE EMPLOYER HAD PRIOR KNOWLEDGE OF THE KNOWN DISABILITY DUE TO SEVERAL
                                                                                   G RANTED APPROVALS FOR A REQUEST FOR A REASONABLE ACCOMADTIONS.
                                                                                   (PLEASE SEE EVIDENCE ATTACHMENTS)
                                                                                   THE INTAKER DISREGARDED MY EVIDENCE OF PHYSICAL THERAPY DOCUMENT I EMAILED
                                                                                   TO NELSON ON MAY 29,2021. DATED 01/26/2021 (PLEASE SEE EVIDENCE ATTACHMENTS)
                                                                                   O N THE INTAKE NOTES STATING I NEVER WENT TO THE HOSPITALS OR CLINICS. THATS
                                                                                   BECAUSE I NEED TO SEE A SPECIALIST IN THE FIELD OF MY DISABILITY. NOT JUST ANY
                                                                                   DOCTOR.
                                                                                   MY DOCTOR WAS NOT QUALIFIED TO APPROVE ME TO RETURN TO WORK OR TAKE ME OFF
                                                                                   D UE TO HIS POSITION AS A PRIMARY DOCTOR. NOT A SPINE DOCTOR OR THERAPIST.
                                                                                                                                              (7/6/2U22j     Page 19
                                                                                                                                                           DFEH DRD 227
                                                                                   THERE WAS NO WARNING OR REPRIMANDS OR INTERACTIVE PROCESS TO ASSIST ME.
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                                                                                    THOUGH IT WAS REQUIRED FOR AN EMPLOYER TO INFORM AN EMPLOYEE WHEN
                                                                                   DOCUMENTS ARN'T SUFFIENT ENOUGH AND TO DISCUSS OTHER POSSIBLE ALTERNATIVE
                                                                                   REMEDIES.
                                                                                    WAS DENIED THE OPPORTUNITY TO SHOW MY EVIDENCE TO DEFEND MYSELF. WHY?
                                                                                   DON'T KNOW.
                                                                                   THE MISCONDUCT PRECIEVED BY THE EMPLOYER WAS MERELY A GOOD FAITH ERROR IN
                                                                                   J UDGEMENT BYT NOT CALLING THE ATTENDENCE LINE. I WAS UNDER THE IMPRESSION OF
                                                                                   A N IMPLIED AGREEMENT AS BEFORE FOR ALL THE OTHER REQUEST. OTHERWISE A LEGALLY
                                                                                   TUE LEAVE OF ABSENCE BY CALIFORNIA STATE LAWS.
                                                                                   ACCORDING TO DFEH AND EEOC AND THE CDC AND OTHER STATE AND GOVERNMENT
                                                                                   AUTHORITIES. THERE WAS ENFORCEMENT GUIDLINES FOR EMPLOYERS IMPLIMENT
                                                                                   PROCEDURES TO BE IN COMPLIANCE WITH NONDISCRIMINATORY LAWS. INCLUDING
                                                                                   RECOMMEDATIONS TO WAIVE SUCH REQUIREMENTS DUE TO THE CURRENT WORLD
                                                                                   E MERGENCY COVID-19 VIRUS EFFECTING ARE WAY OF LIFE BY SOCIAL DISTANCING,
                                                                                   CALIFORNIA SHUT DOWN OF BUISNE55, CAPAITY LIMITS FOR FACILITIES AND OTHER
                                                                                   N ECESSARY SAFETY GUIDELINES. I BELIEVE IF THE IMPLIMENTATION TO WARE A MASK IS
                                                                                   REQUIRED . SO SHOULD THE IMPLIMENTATION TO EXTENDED CERTAIN REQUIREMENTS
                                                                                   U NTIL NEEDED DUE TO THE IMPRACTICABILITY OF DOCTORS BEING BUSY TREATING COVID-
                                                                                   19 PATIENTS AND THEIR SAFTY AS WELL.
                                                                                   THE COMPANY WAS AWARE OF MY DISABILITY FROM 09/2020. AS SEEN IN MY EVIDENCE
                                                                                   FOR WORK CAPCITY LIMITS. ALSO THE DOCUMENT THAT STATED I WOULD NEED PHYSICAL
                                                                                   THERAPY AND MEDS AS A TREAMENT FOR MY DISABILITY.
                                                                                   (PLEASE SEE EVIDENCE ATTACHED DOCUMENTS)
                                                                                                                                           (7/6/2022)     Page 20
                                                                                                                                                        DFEH DRD 227
                                                                                   IN CLOSING I BELIEVED THE LAWS ARE TO HELP PROTECT EMPLOYEES FROM
                                                                                   DISCRIMINATION. ALTHOUGH I FEEL I WAS DISREGARDED AGIN AS WITH NELSON.
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                                                                                    BELIEVED THE DUTY TO ACCOMADATE AN EMPLOYEE WITH THERE DISABILITY IS AN
                                                                                   ONGOING DUTY.
                                                                                    ALSO BELIEVE IF THERE WAS AN UNLAWFUL EMPLOYMENT PRACTICE FOUND OR
                                                                                   ACKNOWLEDGE. DFEH WOULD USE THE WINDOW TO DELIVER JUSTICE. WHY IS MY CASE
                                                                                   DIFFERENT FROM WHAT YOU SAY WHO YOU PROTECT?
                                                                                    DO HAVE OTHER EVIDENCE BUT IT WILL NOT LET ME SEND ALL OF THE DOCUMENTS.
                                                                                   SO I WILL INCLUDE THE MAIN ONES.
                                                                                   THANK YOU AND PLEASE CONTACT IF ANY INQUIRES.
                                                                                   XXX-XX-XXXX                 DOMINIQUE WOODS
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Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 82 of 150 Page ID #:82




                                                                                                1 Day Reminder -You have    DoNotReply         3   Hello Dominique Woods,
                                                                                   10/04/2021
                                                                                                a DFEH Intake                                      This is a friendly reminder that you currently have a scheduled telephonic intake interview
                                                                                                Appointment tomorrow,                              for DFEH Case 202107-14135812 on October 5, 2021 between the hours of 10AM-11AM.
                                                                                                on October S, 2021                                 If you have questions before your appointment, please contact the department's
                                                                                                                                                   Communications Center for support at 800-884-1684 (voice) and 800-700-2320(TTY).
                                                                                                                                                   Thank you,California Department of Fair Employment and Housing
                                                                                                S Day Reminder -            DoNotReply         3   Hello Dominique Woods,
                                                                                   09/30/2021
                                                                                                U pcoming DFEH Intake                              This is a friendly reminder that you currently have a scheduled telephonic intake interview
                                                                                                Appointment on October                             for DFEH Case 202107-14135812 on October 5, 2021 between the hours of 10AM-11AM.
                                                                                                5, 2021                                            If you have questions before your appointment, please contact the department's
                                                                                                                                                   Communications Center for support at 800-884-1684 (voice) and 800-700-2320(TTY).
                                                                                                                                                   You can reschedule appointments up to 5 days before the appointment date.
                                                                                                                                                   Thank you,California Department of Fair Employment and Housing
                                                                                                Confirmation of Submittal   Cal Civil Rights   3   Matter ID: 202107-14135812
                                                                                   07/15/2021
                                                                                                                            System
                                                                                                                                                   Thank you for contacting the California Department of Fair Employment and Housing (DEER
                                                                                                                                                   or Department). This correspondence confirms that you have submitted an Intake Form.
                                                                                                                                                   You will be contacted on your scheduled appointment date and time
                                                                                                                                                   10/5/2021 10AM-11AM to conduct a telephone intake interview. Please allow
                                                                                                                                                   a pproximately one hour for the interview. The information discussed during the interview
                                                                                                                                                   will assist the Department representative in determining whether a complaint will be
                                                                                                                                                   accepted for investigation.
                                                                                                                                                   The Department's authority only extends to violations of the Fair Employment and Housing
                                                                                                                                                   Act, Unruh Civil Rights Act, Ralph Civil Rights Act and Disabled Persons Act. Other labor and
                                                                                                                                                   employment laws are enforced by other agencies. If the Department is unable to assist you,
                                                                                                                                                   we will attempt to refer you to other agencies that may be able to address your concerns.
                                                                                                                                                   The information provided to the Department is subject to the Department's privacy policy
                                                                                                                                                   and the California Public Records Act, Government Code section 6250 et seq.
                                                                                                                                                   Sincerely,
                                                                                                                                                   Department of Fair Employment and Housing
                                                                                                                                                                                                                     (7/6/2022)       Page 24
                                                                                                                                                                                                                                    DFEH DRD 227
Expenses
Record #   Expense Date   Expense Type   Expense Amount   Description
                                                                                                    Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 83 of 150 Page ID #:83




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Letter of Assignment

        Rachel Te'O (rteo@nelsonstaffing.com)
        dominiquewoods316@yahoo.com
        coupang@nelsonjobs.com
        Tuesday. June 8, 2021, 11:13 AM PDT


Hello Dominique.



Please see attached for the Letter of Length of assignment.



~;~ _ . ..




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               NELSON
               Gary D Nelson Associates.    Inc
                                                                            Period Beg/End:
                                                                                                        Page 001 of 001
                                                                                                        05/16/2021 - 05/22/2021
                                                                            Advice Date:                05/27/2021
               19080 Lomita Ave
                                                                            Advice Number:              0000873861
               Sonoma. CA 95476
                                                                            Batch Number:               000000004093
               1-866-466-3576
      Federal Filing Status: 5
      State Filing Status: S
      Exemptions                                                             Woods.Dominique
      Fed: 0    State: 0                                                     19576 DAY ST
      Basis of Pay: Hourly                                                   PERRIS,  CA 92570
      SSN




Assignment/Client:Coupan~lobal LLC                                         Tax Deductions            This Period       Year -to-Date
Assignment/Client   Address:1560 Sierra Ridge
Assignment/City/State/Zip:Riverside/CA/92507                               CA                                 2.68               22.86
Work Week: 05/16/2021-05/22/2021                                           FDRL                               5.24               79.26
Earnings       Rate          Hours  Gross 4Jages     Year -to-Date         FICA                              18.22              238.23
 egu ar   ay                                                               MEDI                               4.27               55.72
Subtotal:                    16.33       293.94                            SDICA                              3.53               46.11

                                                                           Other Deductions          This Period       Year-to-Date ''
Y7D Earnings   YTD Rts YTD Hours      YTD Gross      YTD Expenses
                                                                           Garnishment                        0.00               38.71

Regular Pay    18.0000     166.58          2998.44            0.00         Leave Accruals          This Period        Balance    Avail
Overtime       27.0000       0.37             9.99            0.00
Referral Bon    0.0000       1.00           150.00            0.00         CA Sick                            0.54                7.76
Other - Emer   18.0000      38.00           684.00            0.00         Sick Time                          0.00                0.00
Subtotal:                  205.95          3842.43
                                                                           Deposits                                             Amount

                                                                              Aline Payc *****7870                                 260

                                                                           YTD Sunm~ary   Totals:      Net     Hours      Tax Gross

                                                                                              3361 .54          205.95      3842.43

                                                                           This Period       Hours       Net Pay          Grass Pay

                                                                                             16.33           260.00             293.94




               NELSON
            Gary D Nelson Associates.        Inc
                                                                                          Advice     Number:                0000873861
            19080 Lomita Ave                                                               =
            Sonoma,     CA 95476                                                          ~~e       Date:                    05/27/2021
            1-866-466-3576




Deposited to the account of                          -       -       Amount Number             Transit         ABA                Amount
Woods,Dominique                                   = _ amine ~~                                                                    S260.00
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 86 of 150 Page ID #:86




                                                                                  Littler Mendelson, P.C.
                                                                                  333 Bush Street
                                                                                  34th Flaor
                                                                                  San Francisco, CA 94104




                                                                                  Laure Tovar
                                                                                  415.677.3121 direct
                                                                                  415.433.1940 main
                                                                                  415.655.1187 fax
                                                                                  Itovar@ I ittier.co m



   January 20, 2022




   VIA EMAIL TO:(1) BIRGITTA.CROIL@DFEH.CA.GOV AND (2) CONTACT.CENTER@DFEH.CA.GOV

   Birgitta Croil
   Associate Governmental Program Analyst Investigator
   Department of Fair Employment &Housing
   2218 Kausen Drive, Suite 100
   Elk Grove, CA 95758

   Re:        Dominique Woods v. Gary D. Nelson Associates
              DFEH Case No. 202107-14135812; EEOC Case No. 37A-2022-00379-C

   Dear Investigator Croil:

   This letter responds to the complaint filed with the DFEH by Dominique Woods ("Ms. Woods" or
   "Claimant") on November 10, 2021. Thank you again for extending the time for Gary D. Nelson Associates,
   Inc.("Nelson") to submit this response to the above-refenced charge.l

   Ms. Woods' Complaint is tainted with factual inaccuracies and conveniently omits relevant information.
   This letter will provide the full sequence of events for you.

   First, please know Nelson is a family-run staffing firm,founded by Gary Nelson. Nelson endeavors to find
   temporary job assignments for its pool of workers.

   Nelson prohibits all forms of discrimination —including discrimination based on a person's disability—in
   accordance with applicable law. Nelson has clear policies prohibiting discrimination with clear instructions
   on how to report any such concerns. A copy of these relevant policies is attached as Exhibit A.




  'This letter summarizes Nelson's current understanding of the facts. It is not intended to set forth all facts possibly
   related to the Complaint and does not constitute an affidavit or binding statement of Nelson's legal position, nor is
   it intended to be used as evidence of any kind in any administrative, court, or arbitration proceeding. Nelson in no
   way waives its right to present new or additional information at a later date,for substance or clarification. Moreover,
   by responding to this Complaint, Nelson does not waive, and hereby preserves, any and all substantive and
   procedural defenses that may exist to the Complaint and Ms. Woods' allegations. Nelson further requests that any
  efforts to contact its managers or employees be directed through me as legal counsel.



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                                                                                                    ~:,




   Birgitta Croil
   January 20, 2022
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   Dominique Woods applied for temp work through Nelson. See Ms. Woods' employment application at
   Exhibit B.

   On September 1, 2020, Nelson offered —and Ms. Woods accepted —temporary employment as an
   i nventory associate(more commonly known as a "Packer")to work with its client, Coupang, at Coupang's
   warehouse in Riverside, California.

   Coupang is often described as "the Amazon of South Korea." Indeed, Coupang's very large warehouse in
   Riverside is filled with a wide variety of products to be picked, packed, and shipped to South Korea. The
   warehouse operates 24 hours a day and 7 days a week. It is a busy place.

   Like Amazon, Coupang delivers products to customers quickly. Accordingly, Coupang relies heavily on its
   workers to come to work and complete their assignments on a timely basis. Failing to do so requires
   Coupang to scramble to find a replacement to get the work done. What is especially troubling to Coupang
   is when workers provide no advance notice—they just do not show up for their assigned shift(known as
   a "no call/no show"j. This puts a huge strain on the other workers and the business. To this end, Coupang
   has implemented a clear attendance policy which in part requires employees to call a hotline in advance
   of any absence. The policy provides:

                    "As a temporary employee, you are expected to be punctual and regular
                    i n attendance. Our client depends on every single individual scheduled in
                    order to meet their production needs. A poor attendance record based
                    on habitual unexcused absences or tardiness may result in disciplinary
                    action, up to and including, termination of your assignment."

   The policy further provides:

                    "No Call/No Show: Employees must report their absence or tardiness
                    each day;failure to do so prior to 2 hours before the scheduled shift start
                    time is considered a no/call no show (even if a call is made after the 2-
                    hourmark). Any employee who fails to call in and does not report to work
                    on 2 occasions is considered to be VOLUNTARILY ending their
                    assignment.

                    REPORTING REQUIREMENTS: Employees must call the attendance line 2
                    hours before the scheduled shift start time, or this will be considered a
                    no show/no call."

   A complete copy of this policy is attached as Exhibit C.

   This policy is disseminated to all employees at the time of hire. Ms. Woods acknowledged receipt of this
   policy on September 2, 2020. See Exhibit C. Coupang relies on ~Jelson to enforce this policy.




    IiNln..~.....
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   Birgitta Croil
   January 20, 2022
   Page 3




   Ms. Woods, however, had attendance issues throughout her short tenure and almost from the very start.
   But Nelson was patient. Nelson reminded Ms. Woods of the policy requirements—especially the advance
   notice requirements—and gave her many chances. She was very familiar with the policy.

   Eventually, however, enough was enough as Nelson decided to end Ms. Woods' assignment after she
   accumulated four "no call/no shows" as well as other questionable conduct between May 25 to June 3,
   2021. A full chronology is outlined as follows:

       •     Tuesday, Mav 25: Ms. Woods was scheduled to work but left early citing "personal reasons."

       •     Wednesday, Mav 26: Ms. Woods was scheduled to work, but called off because she said she was
             waiting for "clearance."z

      •      Thursday, Mav 27: Ms. Woods was scheduled to work, but called off because she still did not have
             a doctor's note.

      •      Friday, Mav 28: Ms. Woods was scheduled to work, but called off because she still did not have a
             doctor's note.

      •      Saturday, Mav 29: Ms. Woods was scheduled to work but failed to call the attendance line,
             resulting in a no call/no show.

      •      Tuesday,June 1: Ms. Woods was scheduled to work but failed to call the attendance line, resulting
             in a no call/no show.

      •      Wednesday, June 2: Ms. Woods was scheduled to work but failed to call the attendance line,
             resulting in a no call/no show.

      •      Thursday, June 3: Ms. Woods was scheduled to work but failed to call the attendance line,
             resulting in a no call/no show.

   Pursuant to Coupang's attendance policy (see Exhibit C), wherein two no call/no shows warrants
   termination, Nelson ended Ms. Woods' assignment with Coupang on June 3, 2021, after four no call/no
   shows. Four no call/no shows were twice the limit set forth in Coupang's policy and, if anything, shows
   Nelson was extra patient/lenient with Ms. Woods. Nelson's hope here was that Ms. Woods would comply
   with the policy and do a good job. Nelson was not looking for a reason to end her assignment, just the
   opposite, but once Ms. Woods got to four no call/no shows, Nelson could not look the other way any
   longer.


   z Coupang implemented a Covid-19 safety protocol at the outset of the pandemic. Under this protocol, and in an
   abundance of caution, an employee who calls out sick must submit a doctor's note or negative Covid-19 test before
   returning to work.




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   Birgitta Croil
   January 20, 2022
   Page 4




   What is also missing from Ms. Woods' Complaint is the fact she made no request for medical leave or a
   request for a reasonable accommodation due to a "disability" at any point during her assignment, or the
   days leading up to the end of her assignment. Indeed, Ms. Woods' Complaint is based on a "perceived"
   disability which implies she in fact does not even have a "disability."

   As explained above, Nelson really had no choice but to end Ms. Woods' assignment based on her failure
   to follow the Coupang attendance policy—a policy she knew well. And there is simply nothing to suggest
   a discriminatory motive as she never once indicated she suffered from a disability, much less, requested
   a medical leave or a reasonable accommodation. Indeed, even her Complaint does not identify or allege
   she has a "disability" as a matter of law.

   Conclusion

   Ms. Woods' "disability" discrimination claim is a red herring. Indeed, she did not have a "disability" nor
   did she ever request a medical leave.

   The truth is Ms. Woods' assignment ended because she violated the attendance policy again, and again,
   and again. She was given second, third and more chances to comply, but she failed to do so. Eventually,
   enough was enough. There are consequences for her actions, and she has no basis—factually or legally—
   to blame anyone but herself.

   Accordingly, Nelson respectfully requests that the DFEH dismiss Ms. Woods' claims.

   Sincerely,




   Laura Tovar

   LT/
   Enclosures

   4879-1583-4629.2 / 014358-1144




     littlar r.~m
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                                                                                  Littler Mendelson, P.C.
                         ~~~~~~                                                   333 Bush Street
                                                                                  34th Floor
                        P~~n ~y,.~~
                                 -                                                San Francisco, CA 94104
                               Y~~y~           .
                                   v q- ~o~v~~'

                                                                                  Laura Tovar
                                                                                  415.6773121 direct
                                                                                  415.433.1940 main
                                                                                  415.655.1187 fax
                                                                                  Itovar@littler.com



   January 20, 2022




   VIA EMAIL TO:(i) BIRGITTA.CROIL@DFEH.CA.GOV AND(2)CONTACT.CENTER@DFEH.CA.GOV

   Birgitta Croil
   Associate Governmental Program Analyst Investigator
   Department of Fair Employment &Housing
   2218 Kausen Drive, ~ite 100
   Elk Grove, CA 95758

    Re:       Dominique Woods v. Gary D. Nelson Associates
              DFEH Case No. 202107-14135812; EEOC Case No. 37A-2022-00379-C

    Dear Investigator Croil:

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   Ms. Woods' Complaint is tainted with factual inaccuracies and conveniently omits relevant information.
   This letter will provide the full sequence of events for you.

   First, please know Nelson is a family-run staffing firm,founded by Gary Nelson. Nelson endeavors to find
   temporary job assignments for its pool of workers.

   Nelson prohibits all forms of discrimination —including discrimination based on a person's disability—in
   accordance with applicable law. Nelson has clear policies prohibiting discrimination with clear instructions
   on how to report any such concerns. A copy of these relevant policies is attached as Exhibit A.




  ' This letter summarizes Nelson's current understanding of the facts. It is not intended to set forth all facts possibly
  related to the Complaint and does not constitute an affidavit or binding statement of Nelson's legal position, nor is
  it intended to be used as evidence of any kind in any administrative, court, or arbitration proceeding. Nelson in no
  way waives its right to present new or additional information at a later date,for substance or clarification. Moreover,
  by responding to this Complaint, Nelson does not waive, and hereby preserves, any and all substantive and
  procedural defenses that may exist to the Complaint and Ms. Woods' allegations. Nelson further requests that any
  efforts to contact its managers or employees be directed through me as legal counsel.



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                                             ~~~
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    Birgitta Croil
    January 20, 2022
    Page 2




    Dominique Woods applied for temp work through Nelson. See Ms. Woods' employment application at
    Exhibit B.

    On September 1, 2020, Nelson offered —and Ms. Woods accepted —temporary employment as an
    inventory associate (more commonly known as a "Packer") to work with its client, Coupang, at Coupang's
    warehouse in Riverside, California.

    Coupang is often described as "the Amazon of South Korea." Indeed, Coupang's very large warehouse in
    Riverside is filled with a wide variety of products to be picked, packed, and shipped to South Korea. The
    warehouse operates 24 hours a day and 7 days a week. It is a busy place.

    Like Amazon, Coupang delivers products to customers quickly. Accordingly, Coupang relies heavily on its
    workers to come to work and complete their assignments on a timely basis. Failing to do so requires
    Coupang to scramble to find a replacement to get the work done. What is especially troubling to Coupang
    is when workers provide no advance notice—they just do not show up for their assigned shift (known as
    a "no call/no show"i. This puts a huge strain on the other workers and the business. To this end, Coupang
    has implemented a clear attendance policy which in part requires employees to call a hotline in advance
    of any absence. The policy provides:

                   "As a temporary employee, you are expected to be punctual and regular
                   i n attendance. Our client depends on every single individual scheduled in
                   order to meet their production needs. A poor attendance record based
                   on habitual unexcused absences or tardiness may result in disciplinary
                   action, up to and including, termination of your assignment."

    The policy further provides:

                    "No Cail/No Show: Employees must report their absence or tardiness
                    each day; failure to do so prior to 2 hours before the scheduled shift start
                    time is considered a no/call no show (even if a call is made after the 2-
                    hourmark). Any employee who fails to call in and does not report to work
                    on 2 occasions is considered to be VOLUNTARILY ending their
                    assignment.

                    REPORTING REQUIREMENTS: Employees must call the attendance line 2
                    hours before the scheduled shift start time, or this will be considered a
                    no show/no call."

    A complete copy of this policy is attached as Exhibit C.

    This policy is disseminated to all employees at the time of hire. Ms. Woods acknowledged receipt of this
    policy on September 2, 2020. See Exhibit C. Coupang relies on Nelson to enforce this policy.




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 ■ DFEH Employment Information on COVID-19


  EMPLOYEES WITH COVID-19 SYMPTOMS OR INFECTION
 ~ How much information may an employer request from employees who report
   feeling ill at work?
     Employers may ask employees if they are experiencing COVID-19 symptoms, such as fever,
     chills, coughing, or a sore throat. That is because, consistent with guidance from the EEOC,
     an employee with COVID-19 is unable to perform the employee's essential duties in a manner
     that would not endanger the health or safety of others in the workplace even with reasonable
     accommodation there. Employers must keep confidential any employee health information
     obtained, including keeping employee medical files separate from the employee's personnel
     file. Sep FAD below for further information about what an employer may disclose if an
     employee tests positive for COVID-19 or is quarantining because of possible infection.

 ~   May an employer send employees home if they display COVID-19 symptoms?
     Yes. The CDC states that employees who become ilI with symptoms of COVID-19 at work
     should leave the workplace. Employers may send employees who exhibit COVID-19 symptoms
     home for the reasons stated in the previous FAQ. Employers must provide paid sick leave and
     compensate the employee under paid sick leave laws. If sick leave is exhausted, employees
     may be entitled to other paid leave (including vacation or paid time off) orjob-protected unpaid
     leave.

 ~ May an employer send employees home if they test positive for COVID-19?
     Yes. According to the CDC,"[p]ositive test results using a viral test indicate that the employee
     has COVID-19 end should not come to work and should isolate at home. Decisions to
     discontinue home isolation for workers with COVID-19 and allow them to return to work may
     follow either asymptom-based, time based, or a test-based strategy." Employers must maintain
     all test results as ~ confidential medical record.

 ~ What information may an employer reveal if an employee is quarantined,
   tests positive for COVID-19, or has come in contact with someone who has
   the virus?
     Employers should not identify any such employees by name in the workplace to ensure
     compliance with privacy laws. If an employee tests positive for or is suspected to have
     COVID-19, the employer will need to follow the most current local, state, or federal public
     health orders and guidance. Employers should take further steps at the direction of public
     health authorities that may include closing the worksite, deep cleaning, and permitting or
     requiring telework.
     Employers may notify affected employees in a way that does not reveal the personal health-
     related information of an employee. For example, the employer could speak with employees
     or send an email or other written communication stating : "[Employer] has learned that an
     employee at [office location] tested positive for the COVID-19 virus. The employee received
     positive results of this test on [date]. This email is to notify you that you have potentially been
     exposed to COVID-19 and you should contact your local public health department for guidance
     a nd any possible actions to take based on individual circumstances."
     Employers may not confirm the health status of employees or communicate about
     employees' health.


                                                   MARCH 4. 2021 i DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
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    Birgitta Croil
    January 20, 2022
    Page 3




    Ms. Woods, however, had attendance issues throughout her short tenure and almost from the very start.
    But Nelson was patient. Nelson reminded Ms. Woods of the policy requirements—especially the advance
    notice requirements—and gave her many chances. She was very familiar with the policy.

    Eventually, however, enough was enough as Nelson decided to end Ms. Woods' assignment after she
    accumulated four "no call/no shows" as well as other questionable conduct between May 25 to June 3,
    2021. A full chronology is outlined as follows:

        • Tuesday. May 25: Ms. Woods was scheduled to work but left early citing "personal reasons."
                                                                                 ~__~----
        •     Wednesday, May 26: Ms. Woods was scheduled to work, but called off because she said she was
              waiting for "clearance."z

        •     Thursday, Mav 27: Ms. Woods was scheduled to work, but called off because she still did not have
              a doctor's note.

        •     Friday, May 28: Ms. Woods was scheduled to work, but called off because she still did not have a
              doctor's note.

   ~•         Saturday, Mav 29: Ms. Woods was scheduled to work but failed to call the attendance line,
              resulting in a no call/no show.

        •     Tuesday,June 1: Ms. Woods was scheduled to work but failed to call the attendance line, resulting
              in a no call/no show.

       •      Wednesday, June 2: Ms. Woods was scheduled to work but failed to call the attendance line,
              resulting in a no call/no show.

  ~`•         Thursday, June 3: Ms. Woods was scheduled to work but failed to call the attendance line,
              resulting in a no call/no show.

     Pursuant to Coupang's attendance policy (see Exhibit C), wherein two no call/no shows warrants
     termination, Nelson ended Ms. Woods' assignment with Coupang on June 3, 2021, after four no call/no
     shows. Four no call/no shows were twice the limit set forth in Coupang's policy and, i an   g, s7iows
     Nelson was extra patient/lenient with Ms. Woods. Nelson's hope here was that Ms. Woods would comply
     with the policy and do a good job. Nelson was not looking for a reason to end her assignment, just the
     opposite, but once Ms. Woods got to four no call/no shows, Nelson could not look the other way any
  `~ t~nger: _                                _         --- —



    z Coupang implemented a Covid-19 safety protocol at the outset of the pandemic. Under this protocol, and in an
    abundance of caution, an employee who calls out sick must submit a doctor's note or negative Covid-19 test before
    returning to work.




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  ■ DFEH Employment information on COVID-19


        May an employer require employees to submit to a medical test to detect
        the presence of the C4VID-19 virus or antibodies to the virus before
        permitting employees to enter the workplace?
        U nder the FEHA, an employer may mandate a medical examination when it is "job-related
        and consistent with business necessity." Applying this standard in light of present guidance
        from the CDC,and consistent with uidance from the Equal Employment Opportunity
        Commission, employers may require employees to submit to viral testing but not antibody
        testing before permitting employees to enter the workplace, as explained below.

         Vira! Testing. Employers may require that employees submit to viral testing in order to
         determine whether an employee has COVID-19 infection, before allowing an employee
         to enter the workplace. That is because an employee with COVID-19 is unable to perform
         the employee's essential duties in a manner that would not endanger the health or safety
         of others in the workplace even with reasonable accommodation there. Employers should
         ensure that the testing used is accurate and reliable, and that any viral testing is part of a
         comprehensive plan for reducing transmission of COVID-19 in the workplace. Employers
         should be aware that viral tests can have false-negative results and that a negative viral
         test does not mean that an employee will not acquire COVID-19 in the future.

         Antibody Testing. The CDC's current guidance states that "[antibody] test results should
         not be used to make decisions about returning persons to the workplace:' Whereas viral
         testing directly tests for the presence of COVID-19, antibody testing indirectly detects
         past or waning COVID-19 infection by testing for immune response. Antibody testing is
         less accurate end reliable than viral testing for detecting COVID-19 infection. In light of the
         CDC's current guidance, antibody testing does not currently meet the FEHA's requirement
         that a medical examination be "jola-related and consistent with business necessity."

  ~     May an employer ask employees why they have been absent from work if
        the employer suspects it is for a medical reason?
         Yes. Asking why an individual did not report to work is not adisability-related inquiry. An
         employer is entitled to ask why an employee has not reported for work. If an employee
         discloses an illness or medically-related reason for absence, employers must maintain that
         i nformation as a confidential medical record.

  ~      May an employer require its employees to wear personal protective
         equipment (e.g., face masks, gloves, or gowns)designed to reduce the
         transmission of COVID-19?
         Yes. An employer may require employees to wear personal protective equipment during
         the COVID-19 pandemic. However, where an employee with a disability needs a related
         reasonable accommodation (e.g., non-latex gloves or gowns designed for individuals who
         use wheelchairs), the employer should provide these, absent undue hardship.




PAGE 3 OF 10                                            MARCH 4, 2021 i DEPARTMENT QF FAIR EMPLOYMENT AND HOUSING
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                                                                                                     ti



    Birgitta Croil
    January 20, 2022
    Page 4




    What is also mis~rom Ms. Woods' Complaint is the fact she made no request for medical leave or a
    request for a reasonable accommodation due to a "disability" at any point during her assig
                                                                                          -
                                                                                          ~or the
       —Teading up o t e en of her assignmen . nee
    days                                                       s. 1Noo~s omplaint i -se on a perceived"
    disa ility which implies she in fact does not even have a "disability."   ------____ _     _

    As explained above, Nelson really had no choice but to end Ms. Woods' assignment based on her failure
    to follow the Coupang attendance policy—a policy she knew well. And there is simply nothing to suggest
    a discriminatory motive as she never once indicated she suffered from a disability, much less, requeste
    a medical leave or a reasonable accaminodation. Indeed, even her Complaint doesd    not      ify or allege
                                                -
    sfie-has a "disability" as a matter of law. -- -                                       -

    Conclusion

    Ms. Woods'"disability" discrimination claim is a red herring. Indeed, she did not have a "disability" nor
                  «---
    did she ever request a medics eave. --" ~-~—                              -

    The truth is Ms. Woods' assignment ended because she violated the attendance policy again, and again,
    and again. She was given second, third and more chances to comply, but she failed to do so. Even_mot ,
    enough
        ~~— was enough• There are consequences for her actions, and she has no basis—factually or legally—
    to bt~me anyone but herself.

    Accordingly, Nelson respectfully requests that the DFEH dismiss Ms. Woods'claims.

   Sincerely,




    Laura Tovar

   LT/
   Enclosures

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                                                                                         180 Montgomery Street, Suite 600
                                                                                        San Francisco, CA 94104-4244
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                                                                                        www.legalaidatwork.org
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   ~isa~iiities in the Workplace: Reasonable Accommodation
   si ! legalaidatwork.org/factsheet/disabilities-m-the-workplace-reasonable accommodation


   Skip to content
   If you qualify as an employee with a disability, you may be entitled to a "reasonable
   accommodation" at work to enable you to perform your job and/or protect your health (See
   our Fact Sheet titled Disabilities in the Workplace: An Introduction to State and Federal Laws
   for general disability information). In California, employers with five or more employees must
   provide reasonable accommodations to employees and job applicants with disabilities under
   the Fair Employment and Housing Act ("FEHA"). Employers with fifteen or more employees
   must accommodate under the federal Americans with Disabilities Act ("ADA").

   This fiact sheet provides information about reasonable accommodations. It does not cover
   every employment situation but instead provides general guidance as to your rights to
   reasonable accommodations on the job.

          What is a reasonable accommodation?
         Reasonable accommodations are changes made to a job or the workplace to enable an
         employee or job applicant to successfully perform the position's basic duties,to protect
         health, and to obtain the same benefits of employment as other workers. A reasonable
         accommodation does not change the essential functions of the job. Whether a
         particular accommodation request is reasonable depends upon the situation and the
         type of job. The accommodation, however, may not be unduly costly or disruptive for
         the employer (an undue hardship).

         Do I have to already be an employee to request a reasonable
         accommodation?
          The ADA/FEHA applies equally to employees and job applicants. An employer must
          provide a reasonable accommodation to a qua►ified applicant with a disability that will
          enable the individual to have an equal opportunity to participate in the application
          process and to be considered for a job.
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                                                        destruction would have a debilitating effect on security, economic
                                                        security, public health or safety, or any combination thereof. I order
                                                        that Californians working in these 16 critical infrastructure sectors may
                                                        continue their work because of the importance of these sectors to
                                                        Californians' health and well-being.

                                                        This Order is being issued to protect the public health of Californians.
                                                        The California Department of Public Health looks to establish
                                                        consistency across the state in order to ensure that we mitigate the
                                                        impact of COVID-19. Our gppl is simple, we want to bend the curve,
                                                        and disrupt the spread of the virus.

                                                        The supply chain must continue, and Californians must have access to
                                                        such necessities as food, prescriptions, and health care. When people
                                                        need to leave their homes or places of residence, whether to obtain
                                                        or perform the functions above, or to otherwise facilitate authorized
                                                        necessary activities, they should at all times practice social distancing.

                                                    2~ The healthcare delivery system shall prioritize services to serving those
                                                       w ho are the sickest and shall prioritize resources, including personal
                                                       protective equipment, for the providers providing direct care to them.

                                                    3j The Office of Emergency Services is directed to take necessary steps to
                                                       ensure compliance with this Order.

                                                    4) This Order shall be enforceable pursuant to California law, including,
                                                       but not limited to, Government Code section 8665.



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Subject   Fuliy Executed Retainer Agreement
To:       [Dominique Woods <dominiquewoods316@yahoo.com>J
From      Tim Gonzales <tg(a~brockgonzales.com>
Date      Tue, Aug 24, 2021 at 1:12 PM


Hi Dominique. Attached please find the fully executed retainer agreement. Please keep a copy for your
records. Thanks.



--Tim



Timothy J. Gonzales, Esq.
Brock &Gonzales, LLP

6701 Center Drive West. Ste. 610

Los Angeles, CA 90045

t: 310.294.9595 ~ f: 310.961.3673

~g@brockgonzales.com

www.brockgonzaies.Cort~t




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                                                                  Provided Doctor's note Page    101 Woods
                                                                                         for Dominique of 150 Page ID #:101


     Re: Provided Doctor's note for Dominique Woods

     From: Aaron Brock (ab@brockgonzales.com)

     To:      dominiquewoods316@yahoo.com

     Cc:      Ib@brockgonzales.com
     Date     Saturday, September 24, 2022 at 10:39 AM PDT



     Ms. Woods,

     It was nice speaking with you this morning.

     This email will confirm that Brock &Gonzales, LLP will not move forward with a legal claim against Gary D.
     N elson, Inc. In short, even if we were to win your case, the amount of money we can recover for you is so
     limited that it does not make sense exposing you to the risks of litigation.

     Should you still wish to proceed with a legal claim, you must do so by April 27, 2023 or the claim will
     forever be ti me-barred.

       wish you the best in school and your new career.

     Sincerely,
     Aaron

       From: Dominique Woods <dominiquewoods316@yahoo.com>
       Sent: Friday, September 23, 2022 7:12 PM
       To: Aaron Brock <ab@brockgonzales.com>
       Subject: Provided Doctor's note for Dominique Woods

       Hello and Good Evening,

          want to add this document into the evidence for proof of treatment Referred for for the Medical condition during
       the time Frame of May 2021 through June 2021.

       The document also States if there is any additional information required please contact the office.

        believe the doctor will work with us if We need anything else. If need be.




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Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 102 of 150 Page ID #:102

Subject   Tim's Contact Info
Ta:       [Dominiquewoods316~n yahoo com <Dominiquewoods316(c~yahoo.com>]
From      Tim Gonzales <tg(a~brockgonzales.com>
Date      Mon, Aug 23, 2021 at 4:06 PM


Hi Dominique. It was great talking to you today. i look forward to representing you. Below is my contact
i nfo. Feel free to contact me anytime.



Thanks.



--Tim



Timothy J. Gonzales, Esq.
Brock &Gonzales, LLP

6701 Center Drive West, Ste. 610

Los Angeles, CA 90045

t: 310.294.9595 ~ f: 310.961.3673

tg@brockgonz~          tom

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Employment Lawyer /Follow-Up (Seeking Authorization to Request Personnel File)

From: Davtyan Law Firm (intake@davtyanlaw.com)
To:        dominiquewoods316@yahoo.com
Date: Monday, July 19, 2021, 12:02 PM PDT


Hi Dominique:

Thanks for providing information to our intake specialist as well as sending us some of the requested documents. Our
attorney has reviewed all of the information provided.

To complete our assessment of any potential claims against the Company, our attorney would like to see your complete
employee file maintained by the Company, other related entities, and any staffing agencies if you were employed
through one. We can request them on your behalf if you sign a simple authorization for us to do it. It costs you nothing,
and it takes about 30 days to get them.

Let us know if you would like to sign the authorization. We can send it to you for electronic signature, which will not
require ahand-signature.

Thanks,

Davtyan Law Firm
880 E. Broadway
Glendale, CA 91205
T:(818)875-2008
F:(818)722-3974
www.DavtyanLaw.com

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                                    Moises De Leon, and others v. Gary D. Nelson flssociates, Inc., and others
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IF YOU WORKED FOR GARY D. NELSON ASSOCIATES, INC. AS AN HOURLY EMPLOYEE AT THE
COUPANG FULFILLMENT CENTER IN RIVERSIDE,CALIFORNIA AT ANY TIME BETWEEN AUGUST
27, 2018 AND OCTOBER 16, 2020,THIS CLASS ACTION SETTLEMENT MAY AFFECT YOUR RIGHTS.

 Why shouldyou read this Notice?                                                                                                    ~
A proposed settlement (the "Settlem.ent") has been reached in a class and repre°sentative action lawsuit entitled Moises De
Leon, and others v. Gary D. Nelson ~4ssociates,1nc., and others, Riverside County Superior Court Case No. RIC1905472(the
"Action"). 'Ihe purpose of this Notice of Class and Representative Action Settlement ("Notice") is to briefly describe the
Action and to inform you of your rights and options in connection with the Action and the proposed Settlement. "Ihe
proposed Settlement will resolve all claims in the Action.
A hearing concerning the Settlement (the "Settlement Hearing") will be held before the Hon. Craig Riemer on Thursday,
January 10th, 2022 at 8:30 A.M.in Department 1 of the Riverside County Superior Court, located at 4050 Main Street,
Riverside, California 92501, to determine whether the Settlement is fair, adequate and reasonable.
AS A CLASS MEMBER,YOU ARE ELIGIBLE TO RECEIVE AN INDIVIDUAL SETTLEMENT PAYMENT
UNDER THE SETTLEMENT AND WILL BE BOUND BY THE RELEASE OF CLAIMS DESCRIBED IN
THIS NOTICE AND THE SETTLEMENT AGREEMENT FILED WITH THE COURT, UNLESS YOU
TIMELY REQUEST TO BE EXCLUDED FROM THE SETTLEMENT.
                                          YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:
 DO NOTHING                  If you do nothing, you will be considered part ofthe Class and will receive an Individual Settlement
                             Payment. You will also give up the right to pursue a separate legal action against defendants
                             Gary D. Nelson Associates, Inc. ("Nelson") and Coupang Global LLC (Coupang) (collectively,
                             "Defendants"), non-defendants Coupang LLC and Coupang USA,Inc.("Non-Defendants"), and
                             all of their officers, directors, and employees, as explained more fully below.
 EXCLUDE                      You have the option to pursue separate legal action against Defendants about the claims in this
 YOURSELF FROM                lawsuit. If you choose to do so, you must exclude yourself, in writing, from the Settlement. As
 THE SET"1'LEMENT             a result, you will not receive any benefits under the Settlement. If you exclude yourself from the
 Cress                        Settlement, you will not be able to object to the Settlement.
 OBJECT                       To object to the Settlement, you must either submit a written statement explaining why you do not
                              like the Settlement or explain your objections in person at the Settlement Hearing. 'This option is
                              available only if you do not exclude yourselffrom the Settlement.


                                                       QUESTIONS? CALL 1-(877) 347-6449
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  Who is a~fected by this ro osed Settlement
Zhe Court has determined that the following group of employees may proceed together as a "Class" for settlement purposes
only:
         All individuals employed by Nelson as hourly employees who were assigned to the Coupang fulfillment
         center in Riverside, California at any time during the period from August 27, 2018 through October 16,
         2020 (the "Class Period").
According to Nelson's records, you are a member of the Class ("Class Member").

  What is this case about?
In the Action, plaintiffs Moises De Leon, Joshua Landeros, and George Hill (collectively, "Plaintiffs") allege on behalf
of themselves and the Class the following claims against Defendants: (1) failure to provide meal periods; (2) failure to
authorize and permit rest periods;(3)failure to pay minimum wages;(4)failure to pay overtime wages;(5)failure to pay all
wages due to discharged and quitting employees;(6) failure to furnish accurate itemized statements;(7)failure to maintain
required records; (8) failure to indemnify employees for necessary expenditures incurred in discharge of duties; (9) unfair
and unlawful business practices; and (10) penalties under the Labor Code Private Attorneys General Act("PAGA"), as a
representative action. Plaintiffs seek unpaid wages, statutory penalties, restitution, interest, attorneys' fees, and costs.
Defendants deny all liability and are confident they have strong legal and factual defenses to these claims.
This Settlement is a compromise reached after good faith, arm's length negotiations between Plaintiffs and Defendants
(the "Parties"), through their attorneys, and is not an admission of liability on the part of Defendants. Both sides agree
 that in light of the risks and expenses associated with continued litigation, this Settlement is fair, adequate and reasonable.
Plaintiffs also believe the Settlement is in the best interests of all Class Members.
Zhe Court has not ruled on the merits of Plaintiffs' claims or Defendants' defenses.

  Who are the attorneys representing the Parties?
The attorneys representing the Parties in the Action are:

 Class Counsel                                                  Counsel for Nelson
 Matthew J. Matern                                              Tanja L. Darrow
 Launa Adolph                                                   Alecia Winfield
 Deanna S. Leifer                                               Cassidy C. Veal
 MATERN LAW GROUP,PC                                            LITTLER MENDELSON,P.C.
 1230 Rosecrans Ave., Suite 200                                 633 West 5th Street, 63rd Fl.
 Manhattan Beach, California 90266                              Los Angeles, California 90071
 310-531-1900                                                   213-443-4300
                                                                Counsel for Coupang
                                                                Steven L. Friedlander
                                                                Barbara L. Harris Chiang
                                                                SV EMPLOYMENT LAW FIRM PC
                                                                160 Bovet Rd.
                                                                San Mateo, California 94402
                                                                650-265-0222

  What are the Settlement terms?
Subject to final Court approval, Defendants will pay $1,400,000.00 (the "Maximum Settlement Amount") for: (a)
Individual Settlement Payments to Class Members who do not request to be excluded from the Settlement ("Settlement
Class Members");(b) the Court-approved Service Awards to Plaintiffs;(c) the Court-approved attorneys' fees and costs to
Class Counsel;(d) the costs of administering the Settlement; and (e) the "PAGA Payment," which is the PAGA penalties
to be paid to the State of California Labor and Workforce Development Agency("LWDA") and hourly employees who
worked for Defendants during the PAGA period, which is August 27,2018 to October 16,2020("Aggrieved Employees").
Individual Settlement Payments. After deduction from the Maximum Settlement Amount for Class Counsel's attorneys'
fees and costs, the Service Awards to Plaintiffs, the PAGA Payment, and the costs of administering the Settlement, there
will be a Net Settlement Amount. From the Net Settlement Amount, each Settlement Class Member will receive an

                                          QUESTIONS? CALL 1-(877) 347-6449
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    CaseDe5:22-cv-02036-SSS-SHK
  Moises                                    Document
             Leon v. Gary D. Nelson Associates Settlement1 Filed 11/16/22 Page 106 FOR
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                                                                                       OFFICIAL USE ONLY
  c/o Rust Consulting - 7446
  P.O. Box 54
  Minneapolis, MN 55440-0054                                                                08

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  19576 DAY ST
  PERRIS CA 92570-9250




                                  Moises De Leon, and others v. Gary D. Nelson Associates, lnc., and others
                                          Riverside County Superior Court Case No. RIC 1905472

                                              REQUEST FOR EXCLUSION FORM
 have read the Notice of Class and Representative Action Settlement and wish to be excluded from the Settlement. I understand
that by requesting to be excluded, I will not receive any money or benefits from the Settlement in this case.

Full Name (printed):

 Last 4 Digits of Social Security Number:
(for identification only)

Phone Number:

Address:

Street Address: _

City:                                                                                                      State:       Zip:

Signature:                                                                                              Date:       /             /
If you want to exclude yourself from the Settlement, you must complete and return this form by mail to the Settlement
Administrator at:

                                             Moises De Leon v. Gary D. Nelson Associates Settlement
                                                          c/o Rust Consulting - 7446
                                                                  P.O. Box 54
                                                         Minneapolis, MN 55440-0054

Your exclusion request must be postmarked no later than November 29th, 2021.

COMPLETE THIS FORM ONLY IF YOU DO NOT WANT TO PARTICIPATE IN THIS CLASS ACTION SETTLEMENT.




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  P.O. Box 54
  Minneapolis, MN 55440-0054
  I MPORTANT LEGAL MATERIALS

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  DOMINIQUE WOODS
  19576 DAY ST
  PERRIS CA 92570-9250




                                  Moises De Leon, and others v. Gary D. Nelson Associates, lnc., and others
                                          Riverside County Superior Court Case No. RIC1905472

                                                  N OTICE OF OBJECTION FORM
  have read the Notice of Class and Representative Action Settlement and I object to the Settlement.
Grounds for the Objection:

Full Name (printed):

 Last 4 Digits of Social Security Number:
(for identification only)

Phone Number:

Address:

Street Address: _

City:                                                                                               State:        Zip:

Signature:                                                                                       Date:       /            /

If you want to object to the Settlement, you must complete and return this form by mail to the Settlement Administrator at:
                                             Moises De Leon v. Gary D. Nelson Associates Settlement
                                                          c/o Rust Consulting - 7446
                                                                  P.O. Box 54
                                                         Minneapolis, MN 55440-0054
Your Notice of Objection must be postmarked no later than November 29th, 2021.




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                                              INFORMATION SHEET
                          Moises De Leon, and others v. Gary D. Nelson ~Issociates, Inc., and others
                               Riverside County Superior Court Case No. RIC1905472

Calculation ofIndividual Settlement Payments: Each employee's share of the Net Settlement Amount will be calculated
based upon his or her "Compensable Workweeks," or the total number of calendar days, inclusive of the first and last day,
that he or she worked for defendant Gary D.Nelson Associates,Inc.("Nelson") as an hourly employee while assigned to the
Coupang fulfillment center in Riverside, California from August 27,2018 through October 16,2020 (the "Class Period"),
divided by seven and rounded to the nearest whole number. In addition, all Aggrieved Employees will receive a proportional
share of the portion of the PAGA Payment allocated to Aggrieved Employees based on their Compensable Workweeks
from August 27,2018 through October 16,2020 (the "PAGA Period").
Your Com~ensable Workweeks and Estimated Individual Settlement Payment: According to Nelson's records, your
Compensable Workweeks are as follows:

 Compensable Workweeks during Class Period                     5.14

 Compensable Workweeks during PAGA Period                      5.14

Based on the number ofCompensable Workweeks,your estimated Individual Settlement Payment is $176.34.
Please note that this is only an estimate; your actual payment maybe greater or smaller than the amount reported above.
Procedure for Disputing Information: Ifyou disagree with the number ofCompensable Workweeks stated above,you must
send a letter to the Settlement Administrator stating the reasons why you dispute the number of Compensable Workweeks
and provide any supporting documentation that you have,such as paystubs. The information you provide should include the
estimated number ofworkweeks you claim you performed work as an hourly employee of Nelson at the Coupang fulfillment
center in Riverside, California at any time between August 27,2018 and October 16,2020. Any disputes and supporting
documentation must be mailed to the Settlement Administrator at the address listed below, postmarked no later than
November 29th,2021.

                                  Moises De Leon v. Gary D. Nelson flssociates Settlement
                                              c/o Rust Consulting - 7446
                                                      P.O. Box 54
                                             Minneapolis,MN 55440-0054
                                                     1-(877)347-6449
Ifyou dispute the number ofCompensable Workweeks stated above,the Settlement Administrator will evaluate any evidence
submitted by you and will make the final decision as to the number ofCompensable Workweeks that should be applied and/
or the Individual Settlement Payment to which you maybe entitled.




                                                                                                       Information Sheet
                                                                                                   DOMINIQUE WOODS


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Ifthe Court grants final approval ofthe Settlement, notice offinaljudgment will be posted on the Settlement Administrator's
website(www.rustconsulting.com/cases/DeLeon)within seven(7)calendar days after entry ofthe Final Order and Judgment.

 How can Iget additionalinformation ~
'This Notice summarizes the Action and the basic terms of the Settlement. More details are in the Amended Stipulation of
 Class and Representative Action Settlement("Settlement Agreement"), which is attached as Exhibit A to the Declaration of
 Launa Adolph in Support of the Renewed Motion for Preliminary Approval of Class Action Settlement, case name Moises
 De Leon v. Gary D. Nelson Associates, Inc., Case No. RIC1905472, filed on July 1, 2021 at the Riverside County Superior
 Court, located at 4050 Main Street, Riverside, California 92501. the case file may be viewed on the Court's website at
 www.riverside.courts.ca.gov. You may also request a copy ofthe Settlement Agreement from Class Counsel, at the address
 and telephone number listed above. If you have questions regarding the Settlement, you may contact the Settlement
 Administrator at 1- (877) 347-6449.

              PLEASE DO NOT CONTACT THE COURT REGARDING THIS SETTLEMENT.




                                        QUESTIONS? CALL 1-(877) 347-6449
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Individual Settlement Payment. The Net Settlement Amount shall be divided proportionally among all Settlement Class
Members based on the total number of workweeks worked ("Compensable Workweeks"), or the total number of calendar
days, inclusive of the first and last day, that he or she worked for defendant Nelson as an hourly employee while assigned
to the Coupang fulfillment center in Riverside, California, during the Class Period, divided by seven and rounded to the
nearest whole number.
In addition, all Aggrieved Employees shall receive a proportional share of the portion of the PAGA Payment allocated to
Aggrieved Employees based on their Compensable Workweeks during the PAGA Period.
Based on an estimated Net Settlement Amount of$815,333.33, it is estimated that Class Members will receive, on average,
$358.55. Your individual amount may be more or less. the lowest estimated Individual Settlement Payment is $4.81 and
the highest estimated Individual Settlement Payment is $3,832.33. Your estimated Individual Settlement Payment is listed
on the Information Sheet enclosed in this Notice Packet.
Settlement checks will remain valid for 180 days after issuance. If a settlement check remains uncashed after 180 days from
issuance, the Settlement Administrator will pay over the value of the uncashed check represented by the Class Member's
Compensable Workweeks during the Class Period to the California State Controller's Office Unclaimed Property Division,
with the identity of the Class Members to whom the funds belong. In such event, the Class Member will remain bound by
the terms of the Settlement and all Court orders.
The Settlement Administrator shall distribute the value of the uncashed check represented by the Aggrieved Employee's
Compensable Workweeks during the PAGA Period to the LWDA.
For t~ reporting purposes, the payments to Settlement Class Members will be allocated 1/3 as wages and 2/3 as non-wages.
the wage portion of the Individual Settlement Payments shall be subject to the withholding of applicable local, state, and
federal taxes, and the Settlement Administrator shall deduct applicable payroll taxes from the wage portion ofthe Individual
Settlement Payments. No deductions will be made for the non-wages portion of the payments.
None of the Parties or attorneys make any representations concerning the tax consequences of this Settlement or your
participation in it. Class Members should consult with their own tax advisors concerning the tax consequences of the
Settlement. Class Counsel is unable to offer advice concerning the state or federal tax consequences of payments to any
Class Member.
Class Counsel Attorneys' Fees and Costs, Service Awards, Settlement Administration Costs and PAGA Payment.
Class Counsel will ask the Court to award attorneys' fees up to $466,666.67 (one-third of the Maximum Settlement
Amount) and reimbursement of actual and reasonable costs incurred in the Action not to exceed $15,000.00. In addition,
Class Counsel will ask the Court to authorize Service Award payments of up to $5,000.00 to Plaintiff De Leon and up to
$2,500.00 each to Plaintiffs Landeros and Hill for their efforts in prosecuting the Action on behalfofthe Class. The Parties
estimate the cost of administering the Settlement will not exceed $18,000.00. In addition, $100,000.00 will be allocated to
penalties under PAGA,of which 75%, or $75,000.00, will be paid to the LWDA,and the remaining 25%, or $25,000.00,
will be distributed to Aggrieved Employees. Any amounts not requested or awarded by the Court will be included in the
Net Settlement Amount and will be distributed to Settlement Class Members, as set forth above.

 What claims are bein released by the ro osed SettlementP
Release by Settlement Class Members. Upon the settlement becoming final("Effective Date") Plaintiffs and all Settlement
Class Members shall be deemed to have fully, finally, and forever released the Released Parties from all claims that were
alleged in the operative complaint, the First Amended Complaint ("FAC"), as well as any and all claims that could have
been asserted based on the facts pleaded in the operative complaint or the FAC,arising at any time during the Class Period,
including, without limitation, claims under California Labor Code sections 201-203, 204,226,226.7, 510, 512,558, 1174,
1194, 1197, 1198, 2698 et seq., 2802, the applicable Industrial Welfare Commission Wage Order, or Section 17200 of the
California Business and Professions Code, and common law claims based on the foregoing, including, but not limited to,
conversion claims..
Release by the LWDA: In addition, upon the Effective Date, the LWDA shall be deemed to have released the Released
Parties of any and all claims and/or causes of action under PAGA which were pleaded or could have been pleaded based
upon the factual allegations set forth in the operative complaint or the FAC and arising at any time during the PAGA
period.
The "Released Parties" are Defendants, non-defendants Coupang LLC and Coupang USA,Inc., and all of their present or
former officers, directors, and employees.


                                        QUESTIONS? CALL 1-(877) 347-6449
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  Whatare my options in this matter?
You have two options under this Settlement, each of which is further discussed below. You may:(A)remain in the Class and
receive an Individual Settlement Payment; or(B)exclude yourselffrom the Settlement. If you do not exclude yourself(option
A), you may also object to the Settlement. If you exclude yourselffrom the settlement(option B), you cannot also object.
OPTION A. Remain in the Settlement Class. If you wish to remain in the Class and be eligible to receive an Individual
Settlement Payment, you do not need to take any acrion. By remaining in the Class, you consent to the release of claims
as described above.
If you remain in the Class, you will be represented at no cost by Class Counsel. Class Counsel, however, will not represent
you for purposes of objecting to the Settlement.
Ob~ecringto the Settlement: If you believe the proposed Settlement is not fair, reasonable or adequate in any way, you
 may object to it by either completing the Notice of Objection Form that is included in this Notice Packet, or by appearing at
 the Settlement Hearing to explain your objection in person. The Notice of Objection Form must:(1) state your full name;
(2) state the grounds for the objection;(3) be signed by you; and (4) be postmarked on or before November 29th, 2021 and
returned to the Settlement Administrator at the following address:
                                    Moises De Leon v. Gary D. Nelson Associates Settlement
                                                do Rust Consulting - 7446
                                                        P.O. Box 54
                                               Minneapolis, MN 55440-0054
You can hire an attorney to represent you in your objection. Any Class Member who does not object either in writing or in
person at the Settlement Hearing shall be deemed to have waived any objections and shall be foreclosed from making any
objections (whether by appeal or otherwise) to the Settlement. Even ifyou submit an objection, you will be bound by the
terms ofthe Settlement,including the release ofclaims as set forth above, unless the Settlement is not finally approved
by the Court.
OPTION B. IfYou Do Not Want to Be Bound By the Settlement. If you do not want to be part of the Settlement, you
must complete the Request for Exclusion Form that is included in this Notice Packet. In order to be valid, your Request for
Exclusion Form must(1)state your full name, address, and telephone number and the last four digits of yaur Social Security
Number (for identification purposes only);(2)contain a clear statement that you are requesting to opt out of, or be excluded
from, the Settlement in Moises De Leon v. Gary D. Nelson flssociates; (3) be signed by you;(4) be postmarked on or before
November 29th, 2021 and returned to the Settlement Administrator at the following address:
                                    Moises De Leon v. Gary D. Nelson Associates Settlement
                                                c/o Rust Consulting - 7446
                                                       P.O. Box 54
                                               Minneapolis, MN 55440-0054
If you do not submit a valid Request for Exclusion Form, you will be deemed a Settlement Class Member and you will be
bound by the release of claims as described above and all other terms of the Settlement. If you submit a valid Request for
Exclusion Form, you will have no further role in the Action, and you will not be entitled to any benefit as a result of the
Action and Settlement and will not be entitled to or permitted to object to the Settlement.
If you timely submit a Request for Exclusion Form but it is missing any of the information described above, the Settlement
Administrator will reach out to you by phone and mail once to request that you provide the required information. If the
Settlement Administrator does not receive the required information within 10 business days of mailing a request for additional
information, your Request for Exclusion will be considered invalid and you will be bound by the terms of the Settlement.

  What is the nextstep in the approvalofthe Settlement?
The Court has not made a final determination as to whether the Settlement is fair, adequate, and reasonable. The Court
will hold a hearing regarding the fairness, reasonableness and adequacy ofthe proposed Settlement, the plan of distribution,
and Plaintiffs' request for Service Awards to Plaintiffs and attorneys' fees and costs to Class Counsel on Thursday, January
10th,2022 at 8:30 A.M.in Department 1 ofthe Riverside County Superior Court,located at 4050 Main Street, Riverside,
California 92501. You may attend the hearing telephonically or by videoconference through WebEx. You will need
to access the Court's website (www.riverside.courts.ca.gov/PublicNotices/telephonic-appearances.php) to schedule your
remote appearance. "Ihe Settlement Hearing may be continued without further notice to Class Members. You are not
required to attend the Settlement Hearing to receive an Individual Settlement Payment.

                                         QUESTIONS? CALL 1-(877) 347-6449
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requeridos;(8)no indemnizaron a los empleados por gastos necesarios asumidos en el cumplimiento de deberes;(9) practicas
comerciales injustas e ilicitas; y (10) sanciones en virtud de la Ley de Demandas Laborales de Interes General del Codigo
Laboral (Private Attorneys General Act,"PAGA"),como una demanda representativa. Los Demandantes solicitan salarios
impagos, sanciones legates, restitucion, intereses, honorarios y costos de representacion legal.
Las Demandadas niegan toda responsabilidad y confian en que tienen defensas legates y factuales solidas ante estas
reclamaciones.
Este Acuerdo es un compromiso alcanzado despues de negociaciones entabladas de buena fe y en igualdad de condiciones entre
los Demandantes y las Demandadas(las "Partes"), a traves de sus abogados, y no constituye una admision de responsabilidad
por parte de las Demandadas. Ambas partes acuerdan que a la luz de los riesgos y gastos asociados con la continuacion del
litigio, este Acuerdo es justo, adecuado y razonable. Los Demandantes tambien consideran que el Acuerdo es to mejor para
los intereses de todos los Miembros del Grupo.
El Tribunal no se ha pronunciado sobre el fondo de las reclamaciones de los Demandantes ni las defensas de las Demandadas.

 ~ Quienes son los abogados que representan a laspanesP
Los abogados que representan a las Partes de la Demanda son:

 Abogados del Gru~o                                           Abogados de Nelson
 Matthew J. Matern                                            Tanja L. Darrow
 Launa Adolph                                                 Alecia Winfield
 Deanna S. Leifer                                             Cassidy C. Veal
 MATERN LAW GROUP,PC                                          LITTLER MENDELSON,P.C.
 1230 Rosecrans Ave., Suite 200                               633 West 5th Street, 63rd Fl.
 Manhattan Beach, California 90266                            Los Angeles, California 90071
 310-531-1900                                                 213-443-4300
                                                              Abogados de Cou~ang
                                                              Steven L. Friedlander
                                                              Barbara L. Harris Chiang
                                                              SV EMPLOYMENT LAW FIRM PC
                                                              160 Bovet Rd.
                                                              San Mateo, California 94402
                                                              650-265-0222

 aCuales son las disposiciones de111cuerdoP
 Sujeto a la aprobacion final del Tribunal, las Demandadas pagaran $1,400,000.00 (el "Monto maximo del Acuerdo") por:
(a) Pagos individuates del Acuerdo a los Miembros del Grupo que no soliciten ser excluidos del Acuerdo ("Miembros del
 Grupo del Acuerdo");(b) las Compensaciones por prestacion de servicios de los Demandantes aprobadas por el Tribunal;
(c)los costos y honorarios de representacion legal para los Abogados del Grupo aprobados por el Tribunal;(d)los costos de
 administrar el Acuerdo; y(e) el "Pago en virtud de la PAGA",que es las sanciones en virtud de la PAGA que se pagaran a
la Agencia de Desarrollo de Mano de Obra y Fuerza Laboral del Estado de California(Labor and Workforce Development
Agency,"LWDA")y a los empleados por horas que trabajaron para las Demandadas durante el periodo de la PAGA,que
va de127 de agosto de 2018 al lb de octubre de 2020("Empleados agraviados").
Pagos individuates del Acuerdo. Despues de deducir del Monto Maximo del Acuerdo los honorarios y costos de
representacion legal de los Abogados del Grupo,las Compensaciones por prestacion de servicios a los Demandantes,el Pago
en virtud de la PAGA y los costos de administracion del Acuerdo, habra un Monto neto del Acuerdo. Cada Miembro del
Grupo del Acuerdo recibira un Pago individual del Acuerdo que se extraera de este Monto neto del Acuerdo. El Monto neto
del Acuerdo se dividira proporcionalmente entre todos los Miembros del Grupo del Acuerdo con base en la cantidad total de
semanas de trabajo laboradas("Semanas de trabajo compensables"), o la cantidad total de digs calendario, incluidos el primer
y el ultimo dia, que el o ella trabajo para la demandada Nelson Como empleado por horas mientras estuvo asignado al Centro
de gestion de pedidos de Coupang en Riverside, California, durante el Periodo del Grupo, divida por siete y redondeada al
numero entero mas cercano.
Adicionalmente, todos los Empleados agraviados recibiran una pane proporcional de la porcion del Pago en virtud de la
PAGA asignado a los Empleados agraviados con base en sus Semanas de trabajo compensables durante el Periodo de la
PAGA.
                                zTIENE PREGiJNTAS? LLAME AL 1-(877) 347-6449
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                                Moises De Leon, y otros v. Gary D. Nelson flssaciates, Inc., y otros
                              Tribunal Superior del Condado de Riverside, caso n.° RIC1905472
           Un tribunal autorizo este Aviso. Ester no es una oferta de servicios de un abogado. No ester siendo demandado.
SI USTED TRABAJO PARR GARY D. NELSON ASSOCIATES,INC. COMO EMPLEADO POR HORAS EN
EL CENTRO DE GESTION DE PEDIDOS COUPANG EN RIVERSIDE, CALIFORNIA, EN CUALQUIER
MOMENTO ENTRE EL 27 DE AGOSTO DE 2018 Y EL 16 DE OCTUBRE DE 2020, ESTE ACUERDO DE
DEMANDA GRUPAL PUEDE TENER INCIDENCIA EN SUS DERECHOS.

 aPor que deberia leer este ~?viso ~
Se ha llegado a una propuesta de acuerdo (el "Acuerdo") en un litigio de demander colectiva y representativa titulado Moises
De Leon, y otros v. Gary D. Nelson ~4ssociates, Inc., y otros, Tribunal Superior del Condado de Riverside, n.° RIC1905472 (la
"Demander"). El proposito de este Aviso del Acuerdo de demander colectiva y representativa("Aviso") es describir brevemente
la Demander e informarle sobre sus derechos y opciones inherentes al Acuerdo propuesto. El Acuerdo propuesto resolvera
todas las reclamaciones de la Demander.
Se llevara a cabo una audiencia respecto al Acuerdo ("Audiencia del Acuerdo") ante el honorable juez Craig Riemer el
Jueves, 10 de enero de 2022 en 8:30 A.M.en el Departamento 1 del Tribunal Superior del Condado de Riverside, ubicado
en 4050 Main Street, Riverside, California 92501, parer determinar si el Acuerdo es justo, adecuado y razonable.
COMO MIEMBRO DEL GRUPO, USTED REiJNE LOS REQUISITOS PARR RECIBIR UN PAGO
INDIVIDUALDELACUERDO CONFORMEALACUERDOYESTARA OBLIGADO POR LA EXENCION
DERECI.AMACIONESDESCRITAENESTEAVISOYELACUERDO DECONCILIACIONPRESENTADO
ANTE EL TRIBUNAL,A MENOS QUE SOLICITE OPORTUNAMENTE SER EXCLUIDO.

                            SUS DERECHOS Y OPCIONES LEGALES EN ESTE ACUERDO DE CONCILIACION:
 NO HACER NADA       Si no hace nada, sera considerado pane del Grupo y recibira un Pago individual del Acuerdo. Usted
                     tambien renunciara al derecho a emprender una acci6n legal independiente contra las demandadas
                     Gary D. Nelson Associates, Inc. ("Nelson") y Coupang Global LLC (Coupang) (en conjunto,
                     "Demandadas"), las no demandadas Coupang LLC y Coupang USA, Inc. ("No Demandadas"), y
                     todos sus ejecutivos, directores y empleados, conforme se explica con mas detalle en el presente.
 EXCLUIRSE DEL        Usted tiene la opcion de iniciar una accion legal por separado contra las Demandadas en relacion
 GRUPO DEL            con las reclamaciones presentadas en ester demander. Si decide hacerlo, debe excluirse, por escrito,
 AcuExvo              del Acuerdo. Como resultado, usted no recibira ninguno de los beneficios que se contemplen en el
                      Acuerdo. No. Si usted se excluye del Acuerdo, no podra objetarlo.
 OBJETAR              Para objetar el Acuerdo, debe presenter una declaration escrita explicando sus rezones o plantear sus
                      objeciones en persona en la Audiencia del Acuerdo. Ester option solo ester disponible si no se excluye
                      del Acuerdo.

 ~Sobre quienes tiene incidencia ester pro1iuesta de~4cuerdo?
El Tribunal determine que el siguiente grupo de empleados puede proceder de manera conjunta Como un "Grupe"
unicamente a efectos del acuerdo:
        todas las personas empleadas per Nelson come empleados per horas que fueron asignados al centre de gestion
        de pedidos de Coupang en Riverside, California, en cualquier memento durante el periodo comprendido
        entre e127 de agosto de 2018 y e116 de octubre de 2020 (el "Periodo del Grupe").
De acuerdo a los registros de Nelson, usted es miembro del Grupe ("Miembro del Grupe")

 ~De que trata este case?
En la Demander, los demandantes Moises De Leon, Joshua Landeros y George Hill (en conjunto, los "Demandantes")
alegan en nombre propio y del Grupe las siguientes reclamaciones contra las Demandadas:(1) no suministraron periodos
de descanso parer comer; (2) no autorizaron ni permitieron periodos de receso; (3) no pagaron salaries minimos; (4) no
pagaron salaries per horns extras; (5) no pagaron todos los salaries correspondientes a los empleados despedidos o a los
que renunciaron;(6) no suministraron extractos desglosados precisos del page de salaries;(7) no mantuvieron los registros

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 Con base en una estimacion del Monto neto del Acuerdo, de $815,333.33, se estima que los Miembros del Grupo recibiran,
 en promedio, $358.55. Su monto individual puede ser superior o inferior. El pago minimo individual estimado del Acuerdo
 es $4.81 y el pago maximo individual estimado del Acuerdo es $3,823.33. Su estimation del Pago individual del Acuerdo
 se encuentra en la Hoja informativa que se incluye en este Paquete de aviso.
Los cheques del Acuerdo seguiran siendo validos durante 180 dias despues de su envision. Si no se cobra el cheque del
acuerdo despues de 1SO dias de la envision, el Administrador del Acuerdo pagara el valor del cheque no cobrado representado
por las Semanas de trabajo compensables del Miembro del Grupo durante el Periodo del Grupo a la Division de Bienes no
Reclamados de la Oficina del Controlador del Estado de California, con la identidad de los Miembros del Grupo a los que
pertenecen los fondos. En tal caso, el Miembro del Grupo permanecera obligado por los terminos del Acuerdo y por todas
las ordenes del Tribunal.
 El Administrador del Acuerdo distribuira el valor del cheque no cobrado representado por las Semanas de trabajo
 compensables del Empleado agraviado durante el Periodo de la PAGA a la LWDA.
 A los fines de la presentation de informes fiscales, los pagos a los Miembros del Grupo del Acuerdo se asignaran en 1/3 en
 concepto de salarios y en 2/3 en concepto de no salarios. La parte salarial de los Pagos individuates del Acuerdo estara sujeta
 a la retention de impuestos locales, estatales y federates aplicables, y el Administrador del Acuerdo deducira los impuestos
 de nomina aplicables de la parte del salario de los Pagos individuates del Acuerdo. No se haran deducciones para la portion
 no salarial de los pagos.
Ninguna de las panes ni los abogados emiten declaraciones con respecto a las consecuencias tributarias de este Acuerdo
o de su participation en el. Los Miembros del Grupo deben consultar con sus propios asesores tributarios acerca de las
consecuencias impositivas del Acuerdo. Los Abogados del Grupo no pueden ofrecer asesoria a ninguno de los Miembros
del Grupo, con respecto a las consecuencias tributarias estatales o federates de los pagos.
Honorarios y costos de re~resentacion legal Sara los Abogados del Gru~o,Com~ensaciones for ~restacion de servicios,
costos de administration del Acuerdo y el Pago en virtud de la PAGA. Los Abogados del Grupo solicitaran al Tribunal
que otorgue honorarios de representation legal por un monto de $466,666.67 (es decir, un tercio del Monto maximo del
Acuerdo) y el reembolso de los costos reales y razonables asumidos en la Demanda,los cuales no pueden superar $15,000.00.
Adicionalmente, los Abogados del Grupo pediran a1 Tribunal que autorice los pagos de Compensation por prestaci6n de
servicios de maximo $5,000.00 a1 Demandante De Leon y maximo $2,500.00 a cada uno a los Demandantes Landeros y
Hill por sus esfuerzos para emprender la Demanda en nombre del Grupo. Las Partes estiman que el costo de administrar
el Acuerdo no excedera los $18,000.00. Adicionalmente, se asignaran $100,000.00 para sanciones en virtud de la PAGA,
de los cuales un 75%,o $75,000.00, se pagaran a la LWDA,y e125% restante, o $25,000.00, se distribuira a los Empleados
agraviados. Cualquier cantidad que no haya sido solicitada o adjudicada por el Tribunal se incluira en el Monto neto del
Acuerdo y se distribuira a los Miembros del Grupo del Acuerdo, segun to establecido anteriormente.

 ~Que reclamaciones estan siendo eximidaspor la ro uesta dellcuerdo~
 FJconeracion for carte de los Miembros del Gru~o del Acuerdo. Luego de que el Acuerdo adquiera un caracter definitivo
("Fecha de entrada en vigencia"), se considerara que los Demandantes y todos los Miembros del Grupo del Acuerdo han
 exonerado de forma plena, definitive y perpetua a las Partes exoneradas de todas las reclamaciones que se alegaron en la
 demanda operative, la Primera Demanda Enmendada (First Amended Complaint,"FAC"), asi Como todas y cede una de
 las reclamaciones que podrian haberse afirmado con base en los hechos alegados en la demanda operative o la FAC, que
 surjan en cualquier momento durante el Periodo del Grupo, to que incluye, entre otros, reclamaciones en virtud de los
 articulos 201-203, 204, 226, 226.7, 510, 512, 558, 1174, 1194, 1197, 1198, 2698 y siguientes, 2802, la Orden de Salarios
 de la Comision de Bienestar Industrial, o el articulo 17200 del Codigo Comercial y de Profesiones de California, asi como
 las reclamaciones de derecho de common law basadas en to anterior, to que incluye, entre otras, reclamaciones de retention
 ilicita de bienes ajenos.
F~coneracion en virtud de la LWDA:Adicionalmente, tras la Fecha de entrada en vigencia, se considerara que la LWDA ha
exonerado a las Partes exoneradas de todas y cede una de las reclamaciones o pretensiones judiciales en virtud de la PAGA
que fueron alegadas o podrian haber sido alegadas con base en los alegatos factuales establecidos en la demanda operative o
la FAC y que surjan en cualquier momento durante el periodo de la PAGA.
Las"Panes exoneradas"son las Demandadas,las no demandadas Coupang LLC y Coupang USA,Inc., y todos sus ejecutivos,
directores y empleados presentes o pasados.




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 aCuales son mis opciones en este casoP
 Usted tiene dos opciones en virtud de este Acuerdo, cada una de las cuales se trata a continuation. Usted puede: (A)
 permanecer en el Grupo del Acuerdo y recibir un Pago individual del Acuerdo; o(B)excluirse del Acuerdo. Si no se excluye
(option A), tambien puede presentar objeciones al Acuerdo. Si usted se excluye del Acuerdo (option B), no podra presentar
 objeciones.
OPTION A.Permanecer en el Gru~o del Acuerdo. Si desea permanecer en el Grupo y ser elegible para recibir un Pago
individual del Acuerdo, no necesita tomar ninguna medida. Al permanecer en el Grupo, usted presta su consentimiento a
la exoneration de las reclamaciones Como se describio anteriormente.
Si permanece en el Grupo, sera representado sin costo alguno por los Abogados del grupo. Sin embargo, los Abogados del
Grupo no to representaran con el proposito de objetar el Acuerdo.
Ob~etar el Acuerdo: Si usted considera que el Acuerdo propuesto no es justo, razonable o adecuado de ninguna manera
puede objetarlo completando el Formulario de aviso de objecion que se incluye en este Paquete de aviso, o compareciendo
en la Audiencia del Acuerdo Para explicar su objecion en persona. El Formulario de aviso de objecion debe:(1) indicar su
nombre completo;(2) indicar los motivos de la objecion;(3) ser firmado por usted; y (4) llevar sello postal fechado a mas
tardar e129 de noviembre de 2021 y enviado a1 Administrador del Acuerdo a la siguiente direction:
                                 Moises De Leon v. Gary D. Nelson Associates Settlement
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                                             Minneapolis, MN 55440-0054
Puede contratar a un abogado para que to represente en su objecion. Se considerara que cualquier Miembro del Grupo que
no se oponga por escrito o en persona en la Audiencia del Acuerdo ha renunciado a cualquier objecion y se vera impedido
de hater objeciones (ya sea por apelacion o de otra manera) al Acuerdo. Aun si presents una objeci6n, quedara obligado
por los terminos del Acuerdo,incluida la liberation de reclamaciones como se esripula anteriormente, a menos que el
Acuerdo no sea aprobado finalmente por el Tribunal.
OPCION B.Si no desea c~uedar obligado for el Acuerdo. Si no desea ser parte del Acuerdo, debe completar el Formulario
de solicited ~e Pxclusion que se incluye en es±e PaquetP dP zviso. Para que sea va1_ido, su FormLlario de solicitlid de exci_usion
debe(1)indicar su nombre completo, direction y numero de telefono y los ultimos cuatro digitos de su numero de seguridad
social(unicamente pars fines de identification);(2)contener una declaration Clara en la que indique que usted esta solicitando
retirarse, o ser excluido de, el Acuerdo en el caso Moises De Leon v. Gary D. Nelson 1lssociates;(3) ser firmado por usted;(4)
llevar sello postal fechado a mss tardar e129 de noviembre de 2021 y enviado al Administrador del Acuerdo a la siguiente
direction:
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Si no presents un Formulario de solicited de exclusion valido, sera considerado un Miembro del Grupo del Acuerdo y
quedara obligado por la liberation de las reclamaciones Como se describe anteriormente y por todos los demas terminos
del Acuerdo. Si presents un Formulario de solicited de exclusion valido, no tendra ningun otro papel en la Demands, y no
tends derecho a ninguno de los beneficios de ells y del Acuerdo, ni tends derecho ni se le permitira objetar el Acuerdo.
Si presents un Formulario de solicited de exclusion dentro del plazo indicado, pero no incluye alguna parte de la information
antes descrita, el Administrador del Acuerdo se comunicara con usted por telefono y correo postal una vez pars solicitar
que suministre la information requerida. Si el Administrador del Acuerdo no recibe la information requerida dentro de los
10 digs habiles posteriores al envio de la solicited de information adicional, se considerara que su Solicited de exclusion es
invalids y quedara vinculado por las disposiciones del Acuerdo.

 ~Cuales elsiguiente1iaso en la aprobacidn delAcuerdo?
El Tribunal no ha tornado una determination final respecto a si el Acuerdo es justo, adecuado y razonable. El Tribunal
llevara a Cabo una audiencia respecto al caracter justo, razonable y adecuado del Acuerdo propuesto, el plan de distribution
y la solicited de los Demandantes pars Compensaciones por prestacion de servicios a los Demandantes y honorarios y
costos de representation legal a los Abogados del Grupo Jueves, 10 de enero de 2022 en 8:30 A.M.en el Departamento 1
del Tribunal Superior del Condado de Riverside, ubicado en 4050 Main Street, Riverside, California 92501. Puede asistir

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a la audiencia por via telefonica o videoconferencia mediante WebEx. Tendra que acceder al sitio web del Tribunal(www.
riverside.courts.ca.gov/PublicNotices/telephonic-appearances.php) para programar su comparecencia remota. Se podra
continuar la Audiencia del Acuerdo sin que medie el envio de otro aviso a los Miembros del Grupo. No es necesario que
usted asista a la Audiencia del Acuerdo para recibir un Pago individual del Acuerdo.
Si el Tribunal concede la aprobacion definitiva del Acuerdo, el aviso de la sentencia final se publicara en el sitio web del
Administrador del Acuerdo (vwvw.rustconsulting.com/cases/DeLeon) dentro de los siete (7) dias calendario siguientes a la
envision de la Orden y sentencia definitiva.

aC6mo1iuedo obtener information adicional?
Este Aviso resume la Demanda y los terminos basicos del Acuerdo. Encontrara information mas detallada en la Estipulacion
enmendada del Acuerdo de demanda colectiva y representativa ("Acuerdo de conciliation"), que se adjunta Como Anexo
A a la Declaration de Launa Adolph en respaldo de la Motion renovada pars Aprobacion preliminar del Acuerdo de
demands colectiva, caso nombrado Moises De Leon v. Gary D. Nelson 14ssociates, Inc., caso numero RIC1905472, registrado 1
de Julio de 2021 de 2021 en el Tribunal Superior del Condado, ubicado en 4050 Main Street, Riverside, California 92501.
El expediente del caso puede ser consultado en el sitio web del Tribunal en www.riverside.courts.ca.gov. Tambien puede
solicitar una copia del Acuerdo de conciliation a los Abogados del Grupo, a la direction y numero de telefono indicados
anteriormente. Si tiene alguna pregunta con respecto al Acuerdo, puede comunicarse con el Administrador del Acuerdo
llamando al 1-(877) 347-6449.

      NO SE PONGA EN CONTACTO CON EL TRIBUNAL EN RELACION CON ESTE ACUERDO.




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                                                HOJA INFORMI~TIVA
                             Moises De Leon,y otros v. Gary D. Nelson flssociates, Inc., y otros
                           Tribunal Superior del Condado de Riverside, caso n.° RIC1905472
Calculo de los Pagos individuates del Acuerdo: La parte del Monto neto del Acuerdo que corresponde a cada empleado
se calculara con base en las "Semanas de trabajo compensables", o la cantidad total de dias calendario,incluidos el primer y
el ultimo dia, que el o ella trabajo para la demandada Gary D. Nelson Associates,Inc.("Nelson") como empleado por horas
mientras estuvo asignado/a al Centro de gestion de pedidos de Coupang en Riverside, California, desde e127 de agosto de
2018 al 16 de octubre de 2020 (el "Periodo del Grupo"), divididas entre siete y redondeado al numero entero mas cercano.
Adicionalmente, todos los Empleados agraviados recibiran una parte proporcional de la porcion del Pago en virtud de la
PAGA asignado a los Empleados agraviados con base en sus Semanas de trabajo compensables desde e127 de agosto de 2018
x116 de octubre de 2020 (el "Periodo de la PAGA").
Sus semanas de trabajo compensables y el Pago individual del Acuerdo estimado: Conforme a los registros de Nelson,sus
Semanas de trabajo compensables son las siguientes:

 Semanas de trabajo compensables durante el Periodo del Grupo           5.14

 CSemanas de trabajo compensables durante el periodo de la PAGA         5.14

Segun la cantidad de Semanas de trabajo compensables,su Pago individual del Acuerdo estimado es $176.34.
Tenga en cuenta que esto unicamente es una estimation; su pago real puede ser superior o inferior al monto reportado en la
section anterior.
Procedimiento deim~ugnacion delainformacion: Si no esta de acuerdo con el numero de Semanas de trabajo compensables
indicadas, debe enviar una Carta al Administrador del Acuerdo indicando las razones por las que impugna el numero de
Semanas de trabajo compensables y presenter la documentation de respaldo que tenga, por ejemplo, talones de pago. La
information que suministre debe incluir la cantidad estimada de semanas de trabajo que segtin usted trabajo Como empleado
por horas de Nelson en el Centro de gestion de pedidos de Coupang en Riverside, California, en cualquier momento entre
el 27 de agosto de 2018 y el 16 de octubre de 2020. Las objeciones y la documentation de respaldo deben enviarse al
Administrador del Acuerdo a la siguiente direction, con sello postal fechado a mas tardar e129 de noviembre de 2021.

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                                                  1-(877) 347-6449

Si usted objeta la cantidad de Semanas de trabajo compensables indicadas en el presente, el Administrador del Acuerdo
evaluara las pruebas que usted presente y tomara la decision final en cuanto al numero de Semanas de trabajo compensables
que se deben aplicar o el Pago individual del Acuerdo al que usted pueda tener derecho.




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                                             Moises De Leon, y otros v. Gary D. Nelson Associates, lnc., y otros
                                             Tribunal Superior del Condado de Riverside, caso n.° RIC1905472

                                       FORMULARIO DE SOLICITUD DE EXCLUSION
He leido el Aviso del Acuerdo de demands colectiva y representativa y deseo ser retirado del Acuerdo. Comprendo que al
solicitar ser excluido, no recibire ningun dinero o beneficio a partir del Acuerdo en este caso.

Nombre completo (en tetra impress):

 Ultimos 4 digitos del numero de seguridad social:
(solo pars identificacion)

N umero de telefono:(                                 )                      -

Direccion:

Domicilio:

Ciudad: —                                                              Estado:                               Codigo postal:

Firma:

Fecha: —

Si desea retirarse el Acuerdo, debe completer y devolver este formulario por correo postal al Administrador del Acuerdo a la
siguiente direccidn:

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                                                                         P.O. Box 54
                                                                Minneapolis, MN 55440-0054

Su solicitud de exclusion debera contar con sello postal fechado a mss tardar el 29 de noviembre de 2021.

    SOLO COMPLETE ESTE FORMULARIO SI NO DESEA PARTICIPAR EN ESTE ACUERDO DE DEMANDA COLECTIVA.




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                                        Moises De Leon, y otros v. Gary D. Nelson Associates, lnc., y otros
                                        Tribunal Superior del Condado de Riverside, caso n.° RIC1905472

                                          FORMULARIO DE AVISO DE OBJECION
He leido el Aviso del Acuerdo de demands colectiva y representativa y objeto el Acuerdo.

Motivos de la objecion:




Nombre completo (en tetra impress):

 Ultimos 4 digitos del numero de seguridad social:
(solo pars identificacion)

N umero de telefono:(                           )                   -

Direccibn:

Domicilio:

Ciudad: —                                                      Estado:                              Codigo postal:

Firma: —

Fecha: —

Si desea objetar el Acuerdo, debe completar y devolver este formulario por correo postal al Administrador del Acuerdo a la
siguiente direction:
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                                                                   P.O. Box 54
                                                          Minneapolis, MN 55440-0054

Su Aviso de objecion debe Ilevar sello postal fechado a mss tardar el 29 de noviembre de 2021.


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                                                       EL~~N
            Toda~s Date:

            To Whom It May Concern,

            This letter Is confirming that,~~'Y1tY{i   WOD     worked on a temporary assignment through Neison,
            but It has ended, and they are no for er current►y employed through our agency. The company and
            dates of employment are below.


            Assignment Location, Company Name = ~~~CU StCrvq i~IG{G~f ~~Q.} Q~~¢~'C~C4i ~''~1 CC4'~•{Q~~})
                                                                        ~-                            ~   J
            Dates of Employment while at Company ~ - `'~"~~v =             ~ - 3 - a~~ J

            If there are any questions, contact information is below.

            Thank you,




            Ueison Representative Name: ~f ~GIGi~          p~C~"{r~`
            ContactNumber.~6l- $~d .~~SU
            branch location; N'~      ~E ~~ j ~.~~e~td~ i~Tf
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  Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 125 of 150 Page ID #:125


California Wage Act Notice

From: opsnotifications@nelsonhr.com

To:    dominiquewoods316@yahoo.com

Date: ~1lVednesday, January 13, 2021, 08:00 AM PST



 Hello,

 Please see attached information on your current assignment.

 This is simply for your records, feel free to contact your branch representative if you have
 any questions.

 Thank you,

 Nelson
 Employee Name: Dominique Woods

 Start Date: 01/12/2021
                                                           ~''~LOYER
 Legal Name of Employer: Gary D. Nelson Associates, Inc.

 Is hiring employer a staffing agency/business (e.g., Temporary Services Agency, Employee Leasing Company; or Professional
 Employer Organization)?

  X    Yes     No

 Other Names Hiring Employer is "doing business as" (if applicable): Nelson Staffing, Nelson Compliance, Nelson 8~
 Associates, and Nelson Technology

 Physical Address of Main Office: 19080 Lomita Ave., Sonoma, CA 95476

 Hiring Employer's Mailing Address (if different than above): Same

 Employer's Telephone Number:(707)935-6113
                             a ER ~i~ ~, i i r rvr. ~~vrIOM THI~      -~OYEE WILL PERFORM WORK


 Clients Name: Coupang

 Client's Physical Address of Main Office: 1560 Sierra Ridge Drive, Riverside, CA 92507

 Client's Mailing Address: 1560 Sierra Ridge Drive, Riverside, CA 92507

 Clients Telephone Number: 909.326.0077

                                                        ~Gt li'vrvi~fvIATION


 Rates) of Pay: $18.00 Overtime Rates) of Pay: $27.00                                                                        i

 Rate by (check box): X Hour     Shift     Day       Week          Salary   Piece rate   Commission                          ~
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 126 of 150 Page ID #:126




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Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 127 of 150 Page ID #:127


                                                                                                                                                                 Earnings Statement

                                      NELSON
                                      Gery D Nelson Associates,                                   Inc
                                                                                                                                                                 Period Beg/End
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                                                                                                                                                                 Advice Number:                                     0000670419
                                      Sonoma, CA 95476
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                                      1-886-466-3576
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Assignment/City/State/ZSp:Rlverside/CA/92507                                                                                                                CA                                                             6.57                                  20.18
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                               Sonoma,    CA 93478
                               1.886.488-3576




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  Woods, Dominique                                                                                       - ~.ine                                         7870                                                                                                   $




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 Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 128 of 150 Page ID #:128
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  Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 130 of 150 Page ID #:130


  From: Dominique Woods <dominiquewoods316@yahoo.com>
  Sent: Wednesday
  To: Benefits <benefits@nelsonjobs.com>
  Subject: Dominique Woods update of documented care




   was told I couldn't be compensated for covid-19 vaccine appointment and also symptoms related following the
 covid-19 shot. Although I have not received the benefits for the payday of the vaccine appointment on 05/12/2021.
 The doctor stated they are unable to write the requested information needed on the documented note but are willing
 to give explanatory description of my visit to the urgent care over the phone to my employer to assist with any
 inquiries. And this is not acceptable then please contact me. Thank you and have a nice day




This email has been scanned for email related threats and delivered safely by Mimecast.
For more information please visit
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 131 of 150 Page ID #:131




        Subject   Request for COVID-14 Supplemental Sick Leave Dom{pique Woods(1 G69825)
        Fo:       jdCminiquewoods3~6@yahoo.com<domin~quewoods316@yahoo.com>]
        From      Marycruz Sandoval <msandoval@nclsonstaffing.com>
        Cc:       {Benefrts <benefrts~Cnelscnjobs.com>, human Resources ~humanresources~u neisonjobs.ccm>, Coupang
                  <CoupangCnelsonjobs.com>J
        Date      Wed,May 12.2021 ai 1:55 PPA                                                                              ,

        Hi Dominique,



        Per our conversation you might be eligible for an Emergency COV1Q-19 Leave. Please complete the
        request form by selecting the following link:



        2021 CA COVID Paid Sick leave Request Form


        If you have any questions please contact the Nelson Benefits Team at benefits~a nelsonhr.com




       Thank you,




       Marycruz Sandoval I Human Resources Intake Representative




       ~~~~~~

       Sick Cal{Confidential Hotline: 1.800.996.9779 ~ ERT@nelsonjobs.com

       Office: 570.4402207 Main HR Line:800-996-9779

       Covid HR Efax: 1.844.361.9353




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Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 132 of 150 Page ID #:132




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    Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 133 of 150 Page ID #:133
Bioreference Laboratories           PATIENT INFORMATION              REPORT STATUS• FINAL
SPECIMEN INFORMATION                WOOd3~ Do~ainigne
                                                                     ORDERING PHYSICIAN
SPECIMEN: 109374347                 DOB: March 16, 1985
                                                                     Ramos, C.
REQUISITION: 73302488               AGE: 36
                                                                     NPI: 1447451323
Lab ref no:                         GENDER: Female                                              _
                                                                     CLIENT INFORMATION
                                    FASTING• Unknown
                                                                     Verily-COVID
COLLECTED: $4/30/2021 09:OOPM UTC
RECEIVED:                           C11rilCd1 Info:

REPORTED: 65/03/2021 03:23AM UTC


Test Name                                Result           Flag          Reference Range         Lab

Novel Coronavirus COVID-19 Nasal/Nasophargnz
 Novel Coronavirus COVID-19
                                      not detected        NORMAL        Not Detected                  O1
 Nasal/Nasopharynx
   ASSAY INFORMATION: Real Time RT-PCR

   Patient samples for this assay were pooled. All positive samples were

   individually repeated for confirmation. The pooling protocol using the cobas

   5ARS-CoV-2 assay has been added to EUA20009 on October 15,2020.

   NOTE: The COVID-19 assay is under Emergency Use Authorization (EUA) by the

   U.S. Food and Drug Administration. BioReference Laboratories is designated as

   a high complexity laboratory by the Clinical Laboratory Improvement

   Amendments of 1988(CLIA) and is qualified to perform this test.


Pezfoneing Laboratory Infonaation:

01: BioReference Laboratories, Inc., 481 Edward H. Ross Dr, Elmwood Park NJ, phone:       Director:




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            Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 135 of 150 Page ID #:135




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Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 136 of 150 Page ID #:136




     Dear Staffing Associate,
     The following is meant to serve as a guideline for attendance, as well as provide other
     pertinent information such as who to contact for absences.
     As a temporary employee, you are expected to be punctual and regular in attendance. Our
     client depends on every single individual scheduled in order to meet their production needs.
     A poor attendance record based on habitual unexcused absences or tardiness may result
     in disciplinary action, up to and including, termination of your assignment.


     DEFINITIONS

     b   Tardy/Early Departure: Tardiness occurs when an employee arrives later than 5 minutes
         past their scheduled start time and is not ready to begin working at his/her workstation at their
         scheduled time. More than 2 instances per week of tardiness of more than 1 minute, but less
         than 5 minutes will also result in a tardy.

     •   Early departure occurs when an employee leaves work (without pre-approval} with less than
         2 hours remaining in their shift ~includinq Overtime hours_~~~tien scheduled). This is not to be
         confused with a client mandated shift duration change.

     •   Absence: Absences occur when an employee is not present to work on a day when
         scheduled. This would include leaving work (without pre-approval) with more than 2 hours
         remaining in an employee's scheduled shift. Additional details are in the section "How Do
         Get Points" below.

     •    No CaII/No Show: Employees must report their absence or tardiness each day; failure to do
          so prior to 2 hours before the scheduled shift start time is considered a nocall/no show (even
          if a call is made after the 2-hour mark). Any employee who fails to call in and does not report
          to work on 2 occasions is considered to be VOLUNTARILY ending their assignment.


     EXCEPTIONS: Jury duty or any other subpoenaed court appearance,time off to vote, lack of work,
     and any paid sick leave or other time off which is protected under, or pursuant to, federal, state or
     local law, will not be used as the basis for any kind of disciplinary action and will be excluded from
     the point accrual system described herein ("Excepted Absences"). Any absence for illness that
     is not protected under, or pursuant to federal, state, or local law will also be included within
     Excepted Absences as long as timely, reasonable medical documentation is provided.


     Pre-approved time off requests, for absences other than Excepted Absences, will not
     accrue points as long as they have been requested with at least a 7 day WRITTEN notice
     and have been APPROVED by their manager.
      PROBATIONARY PERIOD: New employees are NOT allowed to reach _1 0 point in the first week
      or _2 0 paints in their first 30 days on assignment, which could result in up to and including
      termination of employment.
      REPORTING REQUIREMENTS: Employees must call the attendance line 2 hours before the
      scheduled shift start time, or this will be considered a no show/no call
  Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 137 of 150 Page ID #:137


RE: Dominique Woods update of documented care

       Benefits {benefits@nelsonjobs.com)
       dominiquewoods316@yahoo.com
       benefits@nelsonjobs.com




Hi Dominque,



Based on your hours worked over the past several months, you are eligible for upt~f2021 COVID
Supplemental Sick Pay.



All available hours were paid out on the following dates:



4/15 — 8-hrs

4/16 — 8-hrs

4/17 — 8-hrs

4/20 — 8-hrs

4/21 — 6-hrs



Please let me know if you have any additional questions or concerns.



Thank you,



Katie Schulz ~ Benefits Manager

Nelson I Higher Growth Search

Fax: 844.361.9353 ~ Linkedln

kschulz@nelsonhr.com ~ kschulz@highergrowthsearch.com




Sick Call Confidential Hotline: 1.800.996.9779 ~ ERT@nelsonjobs.com




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      Dominique Woods update of documented care

     From: Dominique Woods(dominiquetivoods316@yahoo.com)
     To:    benefits@neisonhr.com
     Date: Wednesday, May 19, 2021, 12;59 PM PDT


     f was told I couldn't be compensated for covid-19 vaccine appointment and also symptoms related following the covid-79
     shot. Although I have not received the benefits for the payday of the vaccine appointment on 05/12/2021. The doctor
     stated they are unable to write the requested information needed on the documented note but are willing to give
     explanatory description of my visit to the urgent care over the phone to my employer to assist evith any inquiries. And this
     is not acceptable then please contact me. Thank you and have a nice day

     Sent from Yahoo Mail on Android




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Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 139 of 150 Page ID #:139

Subject    Confirmed Covid-19 Case Notification- Coupang Riverside
To:        [Dominique Woods <DOMINIQUEWOODS316@YAHOO.COM>]
From       Ariddai Becerril <abecerril@nelsonstaffing.com>
Date       Thu, Dec 3~iipt9:26 AM                                                                                 ~ I
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                                                                                                                 ~  ~-
                                     Notification Regarding Confirmed COVID-19 Case                                 ~~
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Dear Nelson Associates,                                                                                 i'~,.r     ''




We have been informed that an individual who was on site at the Coupang Fulfillment Center has contracted ~.
COVID-19 virus.



The individual was tested on December 16, 2020 and we were notified today, December 30, 2020 that the test
results came back positive. The individual was last on site on December 16, 2020 and has been on home
q uarantine since then. Close communication will be maintained with the individual and we will be assisting them
in whatever ways possible.



Contact Tracing

We conducted preliminary contact tracing and identified anyone who may have had close contact with this
i ndividual. We will notify these individuals and place them on home quarantine while monitoring them closely.



Benefits

If you are required to take time off work to get tested and/or quarantine, the following benefits are offered:



Agency Associates



    Paid leave of up to 80 hours for full-time associates (prorated for part-time associates) at their regular rate of
pay (capped at $511 per day and $5,110 in the aggregate) under the California COVID Supplemental Paid Sick
Leave law.

   If the associate has exhausted California COVID Supplemental Paid Sick Leave, the associate may use any
accrued California paid sick leave.

    If the associate has exhausted both California COVID Supplemental Paid Sick Leave and California paid sick
leave, Coupang will provide up to an additional 80 hours of paid leave.

    If the associate has exhausted all of these paid leave options, additional paid leave will be provided as
required by applicable law.
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 140 of 150 Page ID #:140

Subject    Confirmed Covid-19 Case Notification- Coupang Riverside
To:        [Dominique Woods <DOMINIQUEWOODS316@YAHOO.COM>]
 From      Ariddai Becerril <abecerrilCnelsonstaffing.com>
 Date      Thu, Dec 31, 2020 at 927 PM


                                     Notification Regarding Confirmed COVID-19 Case



Dear Nelson Associates at Coupang in Riverside,



We have been informed that ten (10) individuals who were on site at the Coupang Fulfillment Center have
contracted the COVID-19 virus.



The individuals tested on December 28, 29 & 30, 2020 and we were notified today, December 31, 2020 that the
test results came back positive. The individuals were last on site on December 24, 27, 28, 30 & 31, 2020 and have
been on home quarantine since then. Close communication will be maintained with these individuals and we will
be assisting them in whatever ways possible.



Contact Tracing

We conducted preliminary contact tracing and identified anyone who may have had close contact with thess
i ndividuals. We will notify these individuals and place them on home quarantine while monitoring them closely.



Benefits

If you are required to take time off work to get tested and/or quarantine, the following benefits are offered:



Agency Associates



   Paid leave of up to 80 hours for full-time associates (prorated for part-time associates) at their regular rate of
pay (capped at $511 per day and S5,110 in the aggregate) under the California COVID Supplemental Paid Sick
Leave law.

   If the associate has exhausted California COVID Supplemental Paid Sick Leave, the associate may use any
accrued California paid sick leave.

   If the associate has exhausted both California COVID Supplemental Paid Sick Leave and California paid sick
leave, Coupang will provide up to an additional 80 hours of paid leave.

   tf the associate has exhausted all of these paid leave options, additional paid leave will be provided as required
by applicable law.
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 141 of 150 Page ID #:141

 Subject   Important COVID Updates Coupang in Riverside
 To:       [Dominique Woods <DOMINIQUEWOODS316@YAHOO.COM>]
 From      Elizabeth Davis <edavis@nelsonhr.com>
 Date      Mon,.Noar 2,.2020 at 7:17 PM


 Attention all associates at Coupang in Riverside,



 We have been informed that an individual has contracted the COVID-19 virus.



The individual was tested on October 30,2020 and we were notified today, November 2, 2020 that the test results
came back positive. The individual was last on site on October 29,2020 and has been on home quarantine since
then. Close contact will be maintained with the individual and we will be assisting them in whatever ways
possible.



 Contact Tracing

 We conducted preliminary contact tracing and identified anyone who may have had close contact with this
 individual. We will notify these individuals and place them on home quarantine while monitoring them closely.



 Next Steps

In accordance with our current procedures, all parts of the site are being cleaned and disinfected daily.
 Additionally, on October 29,2020 the site was deep cleaned and additional deep cleanings have occurred since
then. We will continue temperature screenings at the facility. Anyone who has a temperature of a determined
level(above 100.4 F) or who refuses to have their temperature checked will be turned back and cannot enter the
facility until cleared by your employer. Please continue to maintain social distancing during this process. We are
confident that we have applied appropriate protective measures.



 Importance of Personal Hygiene

 Going forward, it is important for all of us to continue to monitor our health carefully.

 If you are feeling unwell, particularly if you have fever or respiratory symptoms such as cough or shortness of
 breath, or if you believe you may have contracted the COVID-19 virus, please do not come into work, and call the
 attendance line at 866.804.6245.



 Remember that wearing a protective face covering is compulsory at the site and observing social distancing is
 required at all times. We also recommend that you continue to follow CDC guidance for protecting yourself from
 COVID-19 including regularly washing your hands, using the hand sanitizer provided, and avoid touching your
 eyes, nose and mouth.



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Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 142 of 150 Page ID #:142

 Subject   Important COVID Update-Coupang in Riverside
 To:       [Dominique Woods <DOMINIQUEWOODS316@YAHOO.COM>]
 From      Elizabeth Davis <edavis@nelsonhr.com>
 Date          .blov 23,2020 at 7:04 PM


 Dear all Associates at Coupang in Riverside,



 We have been informed that an individual has contracted the COVID-19 virus.



The individual was tested on November 2U,26~`~~id we were notified today,                ~~3;-~6~t3 that the test
results came back positive. The individual was last on site on F trnbefi°     2Q~a  and has been on home
quarantine since then. Close communication will be maintained    with the individual and we will be assisting them
in whatever ways possible_



 Contact Tracing

 We conducted preliminary contact tracing and identified anyone who may have had close contact with this
 individual. We will notify these individuals and place them on home quarantine while monitoring them closely.



 Next Steps

In accordance with our current procedures, all parts of the site are being cleaned and disinfected daily.
 Additionally, on November 18,2020 the site was deep cleaned and additional deep cleanings have occurred since
then. We will continue temperature screenings at the facility. Anyone who has a temperature of a determined
level (above 100.4 F)or who refuses to have their temperature checked will be turned back and cannot enter the
facility until cleared by their employer. Please continue to maintain social distancing during this process. We are
confident that we have applied appropriate protective measures.



 Importance of Personal Hygiene

Going forward, it is important for all of us to continue to monitor our health carefully.

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breath, or if you believe you may have contracted the COVID-19 virus, please do not come into work, and call the
attendance line at 866.804.6245.



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required at all times. We also recommend that you continue to follow CDC guidance for protecting yourself from
COVID-19 including regularly washing your hands, using the hand sanitizer provided, and avoid touching your
eyes, nose and mouth.



Pri~iary anil Mo~lia Fnnuirioc
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 143 of 150 Page ID #:143

 Subject   Important COVID Update- Coupang in Riverside
 To:       [Dominique Woods <DOMINIQUEWOODS316@YAHOO.COM>]
 From      Elizabeth Davis <edavis@nelsonhr.com>
 Date      p~lpn, Nov 2, 2020 at 7:17 PM


 Attention all associates at Coupang in Riverside,



 We have been informed that an individual has contracted the COVID-19 virus.



 The individual was tested onActober 30,2020 and we were notified today, ~              2,2~fl that the test results
 came back positive. The individual was last on site on October 29,2020 and has been on home quarantine since
 then. Close contact will be maintained with the individual and we will be assisting them in whatever ways
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 Contact Tracing

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attendance line at 866.804.6245.



Remember that wearing a protective face covering is compulsory at the site and observing social distancing is
required at all times. We also recommend that you continue to follow CDC guidance for protecting yourself from
COVID-19 including regularly washing your hands, using the hand sanitizer provided, and avoid touching your
eyes, nose and mouth.



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  Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 144 of 150 Page ID #:144



              HELLO AND GOOD MORNING,

              I WOULD LIKE TO INFORM NELSON STAFFING OF MY CURRENT
              STATUS OF THE COVID 19 TESTING FOR MYSELF AND MY SON.
              ALSO I HAVE INCLUDED MY CONFIRMATION OF APPOINTMENT FOR
              THE VACCINE.

              IN CLOSING, A LIST OF THE DOCUMENT I INCLUDED FOR
              VERIFICATION.



              THANK YOU AND GOOD JOURNEY,

              iF ANY QUESTIONS PLEASE CONTACT ME.

              DOMINIQUE WOODS (951)450-4899



              -DOMINIQUE WOODS TEST RESULT -NEGATIVE

              -CHRISTOPHER FERRO APPOINTMENT FOR TESTING ON 04/20/21.

              -DOMINIQUE WOODS CONFIRMATION OF APPOINTMENT TO
              RECEIVE VACCINE 04/21/2021.




This email has been scanned for email related threats and delivered safely by Mimecast.
For more information please visit
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 145 of 150 Page ID #:145

To: Human Resources <humanresources@nelsonjobs.com>
Subject: DOMINIQUE WOODS CONFIRMATION OF FUTURE APPOINTMENTS



CAUTION: This email is from outside of the organization. Do not click links or open attachments unless you recognize the sender. DO NOT
provide your username or password.
If the email looks like it originated from an employee within our company, it is probably fake and an attempt at phishing you. Please contact
them via phone or Support to verify the email validity.




              HELLO AND GOOD MORNING.

              i WOUL~J LIKE TO INFORM NELSON STAFFING OF MY CURRENT STATUS OF THE COVID 19 TESTING FOR
              MYSELF AND MY SON. ALSO I HAVE INCLUDED MY CONFIRMATION OF APPOINTMENT FOR THE VACCINE.

              !N CLOSING. A LIST OF THE DOCUMENT I INCLUDED FOR VERIF1CATi0N.



              THANK YOU AND GOOD JOURNEY,

              IF ANY QUESTIONS PLEASE CONTACT ME

              DOMINIQUE WOODS(951)450-4899



              -DOMINIQUE WOODS TEST RESULT -NEGATIVE

               CHRISTOPHER FERRO APPOINTMENT FOR TESTING ON 04/20/21.

              -DOMINIQUE WOODS CONFIRMATION OF APPOINTMENT TO RECEIVE VACCINE 04/21/2021.




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For more information please visit iht p://www.mimecast.com
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 146 of 150 Page ID #:146

Subject      Re: DOMINIQUE WOODS CONFIRMATION OF FUTURE APPOINTMENTS
To:         (Human Resources <humanresources@nelsonjobs.com>)
From         Dominique Woods <dominiquewoods316~a yahoo.com>
Date         Sat, Apr 24, 2021 at 5:36 PM




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              NELLO AND GGOD EVENING.
               HAVE ATTACHED CONFIRMED LAB RESULTS FOR MY SON AS AN ADDITION TO THE
              PREVIOUS EMAIL. THANK YOU. JUST IN CASE.




On Monday, April 19, 2021, 10:37:41 AM PDT, Human Resources <humanresources(a~nelsonjobs.com> wrote:



Hi Dominique,



Please call us back at 800-9969_ZZ@•



Thank you,



Best,

Jimmy Barrios ~ Human Resource


NELSON
   t~f~nq
        s
Sick Call Confidential Hotline: 1.800.996.9779 ~ ~~a nelsonjobs.com




From: Dominique Woods <dominiquewoods316@yahoo.com>
Sent: Monday, April 19, 2021 4:47 AM
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 147 of 150 Page ID #:147




                                                                                                  File Review -         Birgitta Croil   Birgitta Croil
                                                                                     01/04/2022
                                                                                                  transferred
                                                                                                  read cp email         Birgitta Croil   Birgitta Croil   From: Dominique Woods <dominiquewoods316@yahoo.com>
                                                                                     12/15/2021
                                                                                                                                                          Sent: Wednesday, December 15, 2021 2:58 PM
                                                                                                                                                          To: Croil, Birgitta@DEER <Birgitta.Croil@dfeh.ca.gov>
                                                                                                                                                          Subject: Regarding declined mediation from respondent
                                                                                                                                                          [EXTERNAL] This email originated from outside DFEH. Do not click links or open attachments unless you
                                                                                                                                                           recognize the sender and know the content is safe.
                                                                                                                                                          Hello Miss Birgitta,
                                                                                                                                                             received an email stating that the respondents decided to decline the mediation process I was
                                                                                                                                                          wondering if that means that they have 21 days to comply with the process of the investigation?
                                                                                                                                                          Sent from Yahoo Mail on Android
                                                                                     12/15/2021
                                                                                                  returned cp call      Birgitta Croil   Birgitta Croil
                                                                                     12/15/2021
                                                                                                  a bout when the
                                                                                                  response is due
                                                                                                  emailed rp rep        Birgitta Croil   Birgitta Croil   From: Croil, Birgitta@DEER
                                                                                     12/14/2021
                                                                                                  ODR                                                     Sent: Tuesday, December 14, 2021
                                                                                                                                                          To: Tovar, Laura <LTovar@littler.com>
                                                                                                                                                          Cc: Fish, John C. <JFish@littler.com>
                                                                                                                                                          Subject: RE: Dominique Woods v. Gary D. Nelson Associates, Case No. 202107-14135712 -Request for
                                                                                                                                                          Extension to Respond
                                                                                     12/09/2021
                                                                                                  file review - USPS    Birgitta Croil   Birgitta Croil
                                                                                     11/17/2021
                                                                                                  delivery
                                                                                     11/15/2021
                                                                                                  filed, eeoc,          Birgitta Croil   Birgitta Croil
                                                                                     11/12/2021
                                                                                                  supplemental
                                                                                                  q uestions, afs
                                                                                                  cplt language, case   Birgitta Croil   Birgitta Croil
                                                                                     11/10/2021
                                                                                                  outline, adobe
                                                                                                  called cp and left    Birgitta Croil   Birgitta Croil
                                                                                     11/10/2021
                                                                                                  message to sign
                                                                                                  cplt
                                                                                                                                                                                                                                    (7/6/2022)       Page 11
                                                                                                                                                                                                                                                   DFEH DRD 227
TN Search Report for Billing -Originating number for 9512381591                                                                              Spectrum►
Report Search Date :2021-06-03 to 2021-06-04

   originating number    terminating_number        call connect time       call disconnect_time      dialed_digits   time zone   call duration   Call duration
       9512381591            4053003800             2021-06-03 00:12:18      2021-06-03 00:12:24     +4053003800       GMT              6          00:00:06
       9512381591            9039527093             2021-06-03 04:26:49      2021-06-03 04:27:48     +9039527093       GMT             59          00:00:59
       9512381591            9512378928             2021-06-03 15:00:55      2021-06-03 15:02:08     +~g512378928      GMT             73          00:01:13
       9512381591            9513587940             2021-06-03 15:08:51      2021—O6-D3 15:09:43     +9513587940       GMT             52          00:00:52
       9512381591            8339762511             2021-06-0315:17:31       2021-06-0315:44:28      +8339782511       GMT           1,617         00:26:57
       9512381591            8339782511             2021-06-03162531         2021-06-031627:38       +~g339782511      GMT            127          00:02:07
       9512381591            8339762511             2021-06-0316:27:52       2021-06-0316:29:51      +18339782511      GMT            119          00:01:59
       9512381591            8339782511             2021-06-031632:16        2021-06-03 16:34:19     +~g339782511      GMT            121          00:02:01
       9512381591            8339782511            2021-06-0316:36:45        2021-06-0316:38:48      +8339782511       GMT            123          00:02:03
       9512381591            8339782511            2021-Ofi-Q3.1fi:40:41    2021-06-0316:42:27       +~g339782511      GMT            106          00:01:46
       9512381591            9512378928       ~   ~(XXX-XX-XXXX:29:21       _2027-06-03 17 30:31     +~9~378928        GMT             70          00:01:10
       9512381591            8009969779            2021-06-0~i802:07         2021-06-03`18'03c10     +180099697'79     GMT             63          00:01:03
       9512381591            9512458998            2021-06-03182131          2021-06-0318:21:37      +9512458998       GMT              6          00:00:06
       9512381591            9516096423            2021-06-0319:0127         2021-06-0319:01:50      +19516096423      GMT             23          00:0023
       9512381591            9512788870            2021-06-03 1926:52        2021-06-03 19:29:21     +~g512788870      GMT            149          00:02:29
       9512381591            4053003800            2021-06-03 2033:41        2021-06-03 2033:46      +4053003800       GMT              5          00:00:05
       9512381591            9096309587            2021-06-0400:1021         2021-06-0400:34:59      +9096309587       GMT           1,478         00:24:38
       9512381591            4053003800            2021-06-04012031          2021-06-040122:59       +4053003800       GMT            148          00:02:28
       9512381591            9514504899            2021-06-04 02:29:04       2021-06-04 02:29:09     +~ 9514504899     GMT              5          00:00:05
       9512381591            9516096423            2021-06-04 02:45:40      2021-06-04 02:46:18      +19516096423      GMT             38          00:0038
       9512381591            8009507328            2021-06-04 03:2929        2021-06-04 033126       +18009507328      GMT            117          00:01:57
       9512381591            9517580664            2021-06-04 05:33:47      2021-06-04 0533:47       +9517580664       GMT              0          00:00:00
       9512381591            9517580664            2021-06-04 05:34:11       2021-06-04 0534:19      +19517580664      GMT              6          00:00:06
       9512381591            9517580664            2021-06-0406:4538        2021-06-0406:45:52       +19517580664      GMT             14          00:00:14
       9512381591            9038059508            2021-06-0418:59:49       2021-06-0418:59:55       +9038059508       GMT              6          00:00:06
       9512381591            9039527093            2021-06-0419:0025        2021-06-0419:00:47       +~g039527093      GMT             22          00:00:22
       9512381591            9514504938            2021-06-0419:5939         2021-06-0419:59:41      +19514504938      GMT              2          00:00:02
       9512381591            9514504938            2021-06-04 20:00:12      2021-06-04 20:00:18      +~g514504938      GMT              6          00:00:06
       9512381591            9514504938            2021-06-04 20:01:02      2021-06-04 20:01:12      +19514504938      GMT             10          00:00:10
       9512381591            4053003800            2021-06-04 20:10:47      2021-06-04 20:10:47      +14053003800      GMT             0           00:00:00
       9512381591            4053003800            2021-06-04 20:1121       2021-06-04 20:14:43      +14053003800      GMT            202          00:03:22
       9512381591            9513917321            2021-06-04 23:5632       2021-06-04 23:57:01      +19513917321      GMT             29          00:00:29




            ~                     +~.o                                     ~ , ,~           ~,~    ` ,,-.. t- A
        .~.~'~          ,~ ~. ~ ~'lT D                      lam. '.
                                                                                                                                                                 Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 148 of 150 Page ID #:148




         ~                 ~~~
 Spestrum►
Case 5:22-cv-02036-SSS-SHK Document 1 Filed 11/16/22 Page 149 of 150 Page ID #:149

        4145 S Falkenburg Rd Riverview FL 33578



   Angela Woods

   19576 Day St
   Perris, CA 92570-9250




   11/04/2022



   Dear Angela Woods,


   Enclosed, please find copies of your requested Call Detail Record (s).



   For future inquiries, register your account online at www.spectrum.net or download the
   My Spectrum mobile app. Both options allow retrieval of up to 18 months of past Call
   Detail Records, for printing or electronic filing.


   We value your business and thank you for choosing Spectrum.




   Offline Customer Support
         TN Search Report for Billing -Terminating number for 9512381591                                                                                                   Spectrum►
         Report Search Date :2021-06-03 to 2021-06-04

               originating_number            terminating_number   call_connect_time                call_disconnect_time           dialed_digits    time zone   call duration    Call duration
                     4053003800                  9512381591       2021-06-03 00:05:22                 2021-06-03 00:0522          +9512381591        GMT             0            00:00:00       ~~'~
                 '~, 4422128846                  9512381591       2021-06-0302:14:08                  2021-06-0302:14:26          +~g512381591       GMT            18            00:00:18    ~ ~w ~
     ,5              9096309587                  9512361591       2021-06-03 04:32:02                 2021-06-03 04:3234          +19512381591       GMT            32            00:00:32          ~~
                     8003005616                  9512381591       2021-06-0316:09:36                  2021-06-0316:24:38          +~g512381591       GMT           902            00:15:02       _ _,E4
 O           ~       9512522624                  9512381597       2021-06-0316:43:21                  2021-06-0316:43:47          +19512381591       GMT            26            00:00:26       P~~
                     9512376928                  9512381591       2021-06-03 17:11:24                 2021-06-03 17:12:15         +19512381591       GMT            51            00:00:51
                       Private                   9512361591       2021-0&0317'33'36                   2021-06-0317:3622           +19512381591       GMT           166            Q~.Q~:+{6
  s                  7072384264                  9512381591       2021-06-0318:34:08                  2021-06-0318:39:39    '~"   ~4"Y9S72381591     GMT           331            00:0531
~v~              ~► 9516096423                   9512381591       2021-06-0318:47:06                  2021-06-0318:48:29          +19572381591       GMT            83            00:01:23    ~   ~~
     <               5167145451                  9512381591       2021-06-0318:48:29                  2021-06-0316:4829           +~g512381591       GMT             0            00:00:00    1   '~
                     5167145451                  9512381591       2021-06-0318:49:17                  2021-06-0318:50:01          +9512381591        GMT            44            00:00:44    ~   ~}
                     5167145451                  9512381591       2021-06-0318:51:19                  2021-06-0318:52:12          +~g512381591       GMT            53            00:00:53
    ''                 Privale                   9512381591       2021-06-0319:05:09                  2021-06-0319:0630           +9512381591        GMT            81            00:01:21
                     9516096423                  9512381591       2021-06-031929:26                   2021-06-0319:30:28          +9512381591        GMT            62            00:01:02        V~l1(.lY~
N~~.                   Private                   9512381591       2021-06-0319:36:59                  2021-06-0319:38:47          +9512381591        GMT           108            00:01:48
~~              +.   4079463250                  9512381591       2021-06-0319:45:00                  2021-06-0319:46:31          +9512381591        GMT            91            00:01:31        n~ L~
               =     9512572065                  9512361591       2021-06-0319:52:03                  2021-06-0319:52:34          +9512381591        GMT            31            00:00:31
 ~                   4053003800                  9512381591       2021-06-03 2225:51                  2021-06-03 22:26:03         +~g512381591       GMT            12            00:00:12
 0~              ~' 7149049332                   9512361591       2021-06-03 22:56:33                 2021-06-03 22:57:03         +9512381591        GMT            30            00:00:30
s ~~                 4053003800                  9512381591       2021-06-03 23:59:12                 2021-06-04 00:02:01         +~ 9512381591      GMT           169            00:02:49
           V         9096309587                  9512381591       2021-06-04 00:08:46                 2021-06-04 00:08:56         +9512381591        GMT            10            00:00:10
                     9514504899                  9512361591       2021-06-04 02:30:07                 2021-06-04 02:30:40         +19512381591       GMT            33            00:0033
 ; ~                 9517580664                  9512381591       2021-06-04 04:17:39                 2021-06-04 04:19:32         +~g512381591       GMT           113            00:01:53
    ~      ~,.QC + 8009557070                    9512381591       2021-06-0415:09:42                  2021-06-0415:09:45          +~g512381591       GMT            3             OO:OO:D3
    {~ ,3a           9038059508                  9512381591       2021-06-0418:45:54                  2021-06-0418:49:10          +~g512381591       GMT           196            00:03:16
  L~ ~           ~ 9094872114                    9512381591       2021-06-0418:5329                   2021-06-0418:53:46          +19512381591       GMT           17             00:00:17
3 4~ J\              9514983604                  9512381591       2021-06-0419:00:50                  2021-06-0419:00:54          +~g512381591       GMT            4             00:00:04
                     9098316141                  9512381591       2021-06-0419:49:12                  2021-0&0419:49:43           +~g512381591       GMT           31             00:00:31
                     9096309587                  9512381591       2021-06-04 22:47:08                 2021-06-04 22:47:57         +19512381591       GMT           49             00:00:49


            ~rv3~                                                                       ,, ,«;:,,~Ra~ .,~.,,.~.~. ..                      '                        ~~~„~,
            t~,~,~c,c~','"          ?
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     ~e. ~~ ~~~                     ~                                                                                                          :o.~                             ~~
       ^6~ ~~ ~~~                       `'
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